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                                                                                  FILED
                                                                             March 26, 2024
        United States Court of Appeals                                   CLERK, U.S. DISTRICT COURT
                                                                         WESTERN DISTRICT OF TEXAS

             for the Fifth Circuit                                                         klw
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                                                                United States Court of Appeals
                                                                         Fifth Circuit
                              No. 24-50149
                            ____________                               FILED
                                                                 March 26, 2024
United States of America,                                         Lyle W. Cayce
                                                                       Clerk
                                                        Plaintiff—Appellee,

                                   versus

State of Texas; Greg Abbott, in his official capacity as Governor of
Texas; Texas Department of Public Safety; Steven C.
McCraw, in his official capacity as Director of Texas Department of Public
Safety,

                                                   Defendants—Appellants,

______________________________

Las Americas Immigrant Advocacy Center; American
Gateways; County of El Paso, Texas,

                                                       Plaintiffs—Appellees,

                                   versus

Steven C. McCraw, in his official capacity as Director of the State of Texas
Department of Public Safety; Bill D. Hicks, in his official capacity as
District Attorney for the 34th District,

                                       Defendants—Appellants.
               ______________________________

               Appeal from the United States District Court
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                       for the Western District of Texas
                     USDC Nos. 1:23-CV-1537, 1:24-CV-8
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Before Richman, Chief Judge, and Oldham and Ramirez, Circuit
Judges.
Priscilla Richman, Chief Judge:
       In an effort to stem the tide of illegal immigration into Texas, the state
legislature passed a bill known as S. B. 4 that amended various statutes. The
new laws prohibit noncitizens from illegally entering or reentering the state
and set forth removal procedures.                 The United States, two nonprofit
organizations, and the county of El Paso sued to enjoin enforcement of
S. B. 4, arguing it is preempted by federal law. The district court granted a
preliminary injunction. 1 Applying the factors set forth in Nken v. Holder, 2 we
deny Texas’s motion to stay that injunction pending appeal. 3
                                              I
       In November 2023, the Texas legislature passed Senate Bill 4
(S. B. 4). 4 Its preamble reflects that its purpose is to prohibit the illegal entry
into or illegal presence in the state of a noncitizen, to “authoriz[e] or
requir[e] under certain circumstances the removal of persons who violate
those prohibitions,” and to create criminal offenses. 5 S. B. 4 amended the
Texas Penal Code to include new sections entitled: “Illegal Entry from




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       1
         United States v. Texas, No. 24-CV-8, 2024 WL 861526, at *43 (W.D. Tex. Feb.
29, 2024).
       2
           556 U.S. 418 (2009).
       3
           Fed. R. App. P. 8(a).
       4
           Senate Bill 4, 88th Leg., 4th Called Sess. (Tex. 2023).
       5
           Id.




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Foreign Nation” and “Illegal Reentry by Certain Aliens.” 6 Those and other
implementing laws are the primary focus of our analysis.
      The crime of “Illegal Entry from Foreign Nation” is codified at Texas
Penal Code § 51.02, and provides: “A person who is an alien commits an
offense if the person enters or attempts to enter this state directly from a
foreign nation at any location other than a lawful port of entry.” 7 That
section also enumerates affirmative defenses, including: (1) the federal
government has granted the defendant “lawful presence in the United
States”; (2) the federal government has granted the defendant asylum under
8 U.S.C. § 1158; (3) the defendant’s conduct does not constitute a violation
of 8 U.S.C. § 1325(a), which prohibits illegal entry into the United States;
and (4) the defendant was approved for benefits under the federal Deferred
Action for Childhood Arrival program (DACA) between certain dates. 8
      The crime of “Illegal Reentry by Certain Aliens” is codified at Texas
Penal Code § 51.03, and provides:
      A person who is an alien commits an offense if the person
      enters, attempts to enter, or is at any time found in this state
      after the person:
                (1) has been denied admission to or excluded, deported, or
                removed from the United States; or
                (2) has departed from the United States while an order of
                exclusion, deportation, or removal is outstanding. 9



      _____________________
      6
          Id. § 2 (codified at Tex. Penal Code §§ 51.02-03).
      7
          Tex. Penal Code § 51.02.
      8
          Id.
      9
          Id. § 51.03.




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       S. B. 4 also empowers Texas state judges and magistrates to order
noncitizens to return to the country from which they entered or attempted to
enter. 10 A state judge or magistrate “may” enter such an order if “the person
agrees to the order,” among other requirements. 11 A judge “shall” issue the
order “[o]n a person’s conviction of” a Chapter 51 crime (described
above). 12
       Another S. B. 4 provision relevant to this appeal is codified at Texas
Code of Criminal Procedure 5B.003. It directs: “A court may not abate the
prosecution of an offense under Chapter 51 . . . on the basis that a federal
determination regarding the immigration status of the defendant is pending
or will be initiated.” 13
       In December 2023, Las Americas Immigrant Advocacy Center and
American Gateways (collectively, “Nonprofit Plaintiffs”), and El Paso
County, sued the Director of the Texas Department of Public Safety, Steven
McCraw, and the District Attorney for the 34th Judicial District of Texas,
Bill Hicks.14 In January 2024, the United States sued Texas, Governor Greg
Abbott, the Texas Department of Public Safety, and Director McGraw. 15
The plaintiffs sought to enjoin Texas from enforcing S. B. 4. 16



       _____________________
       10
       Senate Bill 4, 88th Leg., 4th Called Sess., § 1 (Tex. 2023) (codified at Tex.
Code Crim. Proc. art. 5B.002).
       11
            Tex. Code Crim. Proc. art. 5B.002(c).
       12
            Id. art. 5B.002(d).
       13
            Id. art. 5B.003.
       14
            ROA.792.
       15
            ROA.17. We refer to the defendants collectively as “Texas.”
       16
            ROA.82, 906.




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       The district court consolidated the cases. In February 2024, days
before S. B. 4’s effective date, the district court granted a preliminary
injunction. 17 In the interlocutory appeal now before us, the defendants
moved for an administrative stay and a stay pending appeal. A motions panel
of this court granted an administrative stay. 18 Two days later, the Supreme
Court stayed that order. 19 On March 19, 2024, the Supreme Court vacated
its own stay. 20 That same day, we lifted this court’s administrative stay of
the district court’s preliminary injunction, and the following day, we heard
oral argument. For the reasons explained below, we conclude that Texas’s
motion for stay pending appeal should be denied.
                                          II
       We consider four factors in ruling on a motion for a stay pending
appeal: “(1) whether the stay applicant has made a strong showing that he is
likely to succeed on the merits; (2) whether the applicant will be irreparably
injured absent a stay; (3) whether issuance of the stay will substantially injure
other parties interested in the proceeding; and (4) where the public interest
lies.” 21 “The first two factors of the traditional standard are the most

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       17
          United States v. Texas, No. 24-CV-8, 2024 WL 861526, at *43 (W.D. Tex. Feb.
29, 2024).
       18
          United States v. Texas, No. 24-50149, 2024 WL 909612 (5th Cir. Mar. 2, 2024)
(per curiam) (unpublished), vacated, No. 24-50149, 2024 WL 1174226 (5th Cir. Mar. 19,
2024) (per curiam).
       19
         The Supreme Court granted the stay on March 4, 2024. No. 23A814, 2024 WL
909451 (U.S. Mar. 4, 2024). Subsequently, the Supreme Court extended the stay on March
12 and March 18. No. 23A814, 2024 WL 1055544 (U.S. Mar. 12, 2024); No. 23A814, 2024
WL 1151565 (U.S. Mar. 18, 2024).
       20
            No. 23A814, 2024 WL 1163923 (U.S. Mar. 19, 2024).
       21
          Nken v. Holder, 556 U.S. 418, 426 (2009) (internal quotation marks omitted)
(quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987)).




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critical.” 22 The third and fourth factors “merge when the Government is the
opposing party.” 23 A stay pending appeal “is not a matter of right, even if
irreparable injury might otherwise result.” 24
                                               III
        We begin with likelihood of success on the merits. When evaluating
the first factor, “[i]t is not enough that the chance of success on the merits
be ‘better than negligible.’” 25 Texas must make a “strong showing.” 26
                                                A
        Texas contends it is likely to succeed on the merits for several reasons,
the first of which is its assertion that there are two threshold obstacles to the
plaintiffs’ claims: (1) the Nonprofit Plaintiffs and El Paso County
(collectively, “Organization Plaintiffs”) lack standing; and (2) the plaintiffs
lack causes of action.
        Texas does not dispute the United States’ standing. 27 The Supreme
Court has recognized that one plaintiff’s successful demonstration of
standing is sufficient to satisfy Article III’s case-or-controversy
requirement. 28 Accordingly, we do not consider at this juncture whether the
Organization Plaintiffs have standing.

        _____________________
        22
             Id. at 434.
        23
             Id. at 435.
        24
             Id. at 427 (quoting Virginian R. Co. v. United States, 272 U.S. 658, 672 (1926)).
        25
             Id. at 434 (quoting Sofinet v. INS, 188 F.3d 703, 707 (7th Cir. 1999)).
        26
             Hilton, 481 U.S. at 776.
        27
             Texas Mot. at 5-7.
        28
           See, e.g., Massachusetts v. EPA, 549 U.S. 497, 518 (2007) (“Only one of the
petitioners needs to have standing to permit us to consider the petition for review.”);
Rumsfeld v. F. for Acad. & Institutional Rights, Inc., 547 U.S. 47, 52 n.2 (2006) (“The Court




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        In addressing whether the United States has identified a “cause of
action,” we turn first to the Supreme Court’s decision in Arizona v. United
States. 29 In that case, the United States filed suit against Arizona seeking to
enjoin state legislation that had been enacted to “discourage and deter the
unlawful entry and presence of aliens and economic activity by persons
unlawfully present in the United States.” 30 The Supreme Court did not
expressly address whether the United States had a cause of action, but it
expounded upon the longstanding recognition that the “Government of the
United States has broad, undoubted power over the subject of immigration
and the status of aliens,” which is grounded “in part, on the National
Government’s constitutional power to ‘establish an uniform Rule of
Naturalization,’ Art. I, § 8, cl. 4, and its inherent power as sovereign to
control and conduct relations with foreign nations.” 31 The Court then
proceeded to discuss at length the necessity for the United States’
sovereignty in immigration matters and the breadth of the scheme of
regulation Congress has adopted. 32 This discussion of the power of the
United States granted both by the Constitution and Congress preceded the
Court’s preemption analysis under the Supremacy Clause.




        _____________________
of Appeals did not determine whether the other plaintiffs have standing because the
presence of one party with standing is sufficient to satisfy Article III’s case-or-controversy
requirement.”).
        29
             567 U.S. 387 (2012).
        30
        Id. at 393 (internal quotation marks omitted) (quoting Note following Ariz.
Rev. Stat. Ann. § 11-1051 (West 2012)).
        31
             Id. at 394-95.
        32
             Id. at 394-97.




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        Texas asserts, quite rightly, that the Supremacy Clause does not
create a cause of action. 33 The Supreme Court explained in Armstrong v.
Exceptional Child Center, Inc., 34 that the Supremacy Clause “instructs courts
what to do when state and federal law clash, but is silent regarding who may
enforce federal laws in court, and in what circumstances they may do so.” 35
The Court explained, “[t]he ability to sue to enjoin unconstitutional
actions . . . is the creation of courts of equity, and reflects a long history of
judicial review of illegal executive action, tracing back to England.” 36 “It is
a judge-made remedy . . . .” 37 The Court recounted that “we have long held
that federal courts may in some circumstances grant injunctive relief against
state officers who are violating, or planning to violate, federal law” and “that
has been true not only with respect to violations of federal law by state
officials, but also with respect to violations of federal law by federal
officials.” 38 Because injunctive relief is available against federal officials, not
just state actors, the Court pointedly observed that the Supremacy Clause
“cannot be[] the explanation.” 39 “What our cases demonstrate is that, ‘in a




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        33
          Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 324-25 (2015) (explaining
that “the Supremacy Clause is not the source of any federal rights,” and “certainly does
not create a cause of action” (internal quotation marks omitted) (quoting Golden State
Transit Corp. v. Los Angeles, 493 U.S. 103, 107 (1989))).
        34
             575 U.S. 320 (2015).
        35
             Id. at 324-25.
        36
             Id. at 327.
        37
             Id.
        38
             Id. at 326-27.
        39
             Id. at 327.




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proper case, relief may be given in a court of equity . . . to prevent an injurious
act by a public officer.’” 40
        The Court further explained in Armstrong that “[t]he power of federal
courts of equity to enjoin unlawful executive action is subject to express and
implied statutory limitations.” 41 The remainder of the Armstrong opinion
analyzed whether the plaintiffs’ preemption claim could “proceed against
Idaho in equity” or whether the cause of action in equity was displaced by
statute. 42        The opinion ultimately concluded that, “[i]n our view the
Medicaid Act implicitly precludes private enforcement of § 30(A),” a broad,
non-specific “judgment-laden standard” conferring enforcement for
Medicaid plans “upon the Secretary alone,” “and respondents cannot, by
invoking our equitable powers, circumvent Congress’s exclusion of private
enforcement.” 43
        The United States has broad powers and rights granted by the
Constitution and Congress regarding immigration matters. Texas cites to no
constitutional or statutory provision that expressly or impliedly displaces an
action arising in equity to enjoin executive action with regard to the matters
at issue in this litigation.
        Texas asserts that “to the extent the United States seeks to rely on Ex
parte Young[44] to show it ‘has an equitable cause of action,’ it
cannot . . . because that cause of action may not be brought by


        _____________________
        40
             Id.
        41
             Id.
        42
             Id.
        43
             Id. at 328.
        44
             209 U.S. 123 (1908).




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governments—it is limited to ‘private parties.’” 45                     Texas cites Whole
Women’s Health v. Jackson 46 for this proposition, but the Supreme Court’s
decision in Jackson did not consider, top side or bottom, the question of
whether the United States or other governmental entities may seek judicial
orders in federal courts to obtain prospective relief against state officers.
        The Court’s decisions in Jackson and other cases mention “private
parties” when discussing Ex parte Young in the context of sovereign
immunity. 47 The decision in Ex parte Young created an exception to the
Eleventh Amendment’s grant of sovereign immunity, “less delicately called
a fiction,” that “permit[s] the federal courts to vindicate federal rights.” 48
That “fiction” permits private parties to obtain injunctive relief against state
officials notwithstanding the Eleventh Amendment.                        That “fiction” is
unnecessary, however, when the United States and other sovereigns bring an
action in equity to enjoin unlawful actions of state officials because “States
have no sovereign immunity as against the Federal Government.” 49 The
        _____________________
        45
          Texas Mot. at 9 (first quoting Freedom from Religion Found., Inc. v. Mack, 4 F.4th
306, 311 n.3 (5th Cir. 2021); and then quoting Whole Women’s Health v. Jackson, 595 U.S.
30, 39 (2021)).
        46
             595 U.S. 30 (2021).
        47
            See, e.g., id. at 39 (“[I]n Ex parte Young, this Court recognized a narrow exception
[to state sovereign immunity] grounded in traditional equity practice—one that allows
certain private parties to seek judicial orders in federal court preventing state executive
officials from enforcing state laws that are contrary to federal law.”); see also, e.g., City of
Austin v. Paxton, 943 F.3d 993, 998 (5th Cir. 2019).
        48
          Va. Off. for Prot. & Advoc. v. Stewart, 563 U.S. 247, 255 (2011) (internal quotation
marks omitted) (quoting Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 105, 114
n.25 (1984)).
        49
             West Virginia v. United States, 479 U.S. 305, 311 (1987); United States v.
Minnesota, 270 U.S. 181, 195 (1926) (“[T]he immunity of the state is subject to the
constitutional qualification that she may be sued in this Court by the United States, a sister
state, or a foreign state.”); see also EEOC v. Bd. of Supervisors for Univ. of La. Sys., 559 F.3d
270, 272 (5th Cir. 2009) (“[I]t is well-established that sovereign immunity under the




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“private parties” references are not linked to the part of Ex parte Young that
explains that an action to obtain an injunction against unlawful official action
arises in equity.             Courts using the “private party” language have not
suggested a limitation that excludes governmental entities from an Ex parte
Young action.          Indeed, in Virginia Office for Protection and Advocacy v.
Stewart, 50 the Supreme Court held that a state agency could bring an Ex parte
Young action. 51 The Court observed that “there is no warrant in our cases
for making the validity of an Ex parte Young action turn on the identity of the
plaintiff.” 52
        The United States, as distinguished from private parties, does not
need to rely on Ex parte Young to avoid a claim of sovereign immunity when
it sues a state or state official. Nothing in Ex parte Young indicates that an
action sounding in equity is available to private parties but not sovereigns.
Neither Texas nor the dissenting opinion 53 has cited a case that offers any
explanation as to why the United States would or should be barred from
asserting an equitable right against state actors who allegedly are about to
violate federal law. What logical basis is there for courts to say private parties
and government agencies or actors may bring an action sounding in equity
but not the United States? Neither Texas nor the dissenting opinion offers a
rationale that would support such a distinction.



        _____________________
Eleventh Amendment operates only to protect States from private lawsuits—not from
lawsuits by the federal government.”).
        50
             563 U.S. 247 (2011).
        51
             Id. at 256.
        52
             Id.
        53
             Post at 71-76.




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         Texas asserts that “[t]hough Congress may create public causes of
action . . . it has not done so here.” 54 Even if a statute “does not confer a
private right, a plaintiff is not prevented from gaining equitable relief on
preemption grounds.” 55 The “ability to sue to enjoin unconstitutional
actions by state and federal officers is the creation of courts of equity.” 56
         We see no basis in the precedent of this court or the Supreme Court
for concluding that the United States lacks a cognizable path for seeking to
enjoin an allegedly preempted state law. We bear in mind the United States
has asserted that the laws at issue may disrupt or interfere with its core
constitutional authority, including authority with regard to foreign policy and
relations with other countries, as well as its authority over immigration.
                                               B
         Texas asserts that it is likely to prevail on the merits of its argument
that S. B. 4 is not preempted under the Supremacy Clause. Alternatively, it
asserts that it is likely to prevail on the merits as to at least parts of S. B. 4.
We first consider field preemption.
                                                1
         Field preemption occurs when “States are precluded from regulating
conduct in a field that Congress, acting within its proper authority, has



         _____________________
         54
              Texas Mot. at 8.
         55
              Crown Castle Fiber, L.L.C. v. City of Pasadena, 76 F.4th 425, 434-45 (5th Cir.
2023).
         56
          Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015); see also Green
Valley Special Util. Dist. v. City of Schertz, 969 F.3d 460, 475 (5th Cir. 2020) (en banc)
(holding that the plaintiff “has a cause of action against [state officials] at equity, regardless
of whether it can invoke § 1983”).




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determined must be regulated by its exclusive governance.” 57 The Supreme
Court has indicated that courts should hesitate to infer field preemption
unless “the nature of the regulated subject matter permits no other
conclusion” or “Congress has unmistakably so ordained.” 58                            When
Congress has not expressly preempted state law, field preemption may still
“be inferred from a scheme of federal regulation so pervasive as to make
reasonable the inference that Congress left no room for the States to
supplement it.” 59 Field preemption may also be inferred “where an Act of
Congress touch[es] a field in which the federal interest is so dominant that
the federal system will be assumed to preclude enforcement of state laws on
the same subject.” 60 When analyzing field preemption, “the relevant field
should be defined narrowly.” 61 The operative question, therefore, is whether
Congress intended to “occupy the field” 62 of immigration policies
concerning entry into and removal from the United States.
        Here, the district court concluded that “the federal government has
both a dominant interest and a pervasive regulatory framework” to control




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        57
             Arizona v. United States, 567 U.S. 387, 399 (2012).
        58
           De Canas v. Bica, 424 U.S. 351, 356 (1976) (quoting Fla. Lime & Avocado Growers,
Inc. v. Paul, 373 U.S. 132, 142 (1963)).
        59
           English v. Gen. Elec. Co., 496 U.S. 72, 79 (1990) (internal quotation marks and
ellipsis omitted) (quoting Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230 (1947)).
        60
          Id. (alteration in original) (internal quotation marks omitted) (quoting Rice, 331
U.S. at 230).
        61
          City of El Cenizo v. Texas, 890 F.3d 164, 177 (5th Cir. 2018) (first citing Arizona,
567 U.S. at 400-01; and then citing De Canas, 424 U.S. at 360 n.8).
        62
           Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 372 (2000) (quoting
California v. ARC Am. Corp., 490 U.S. 93, 100 (1989)).




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immigration into the United States, “preclud[ing] state regulation in the
area.” 63
        For nearly 150 years, the Supreme Court has held that the power to
control immigration—the entry, admission, and removal of noncitizens—is
exclusively a federal power. 64 Despite this fundamental axiom, S. B. 4 creates
separate, distinct state criminal offenses and related procedures regarding
unauthorized entry of noncitizens into Texas from outside the country and
their removal.
        The Supreme Court’s decision in Arizona v. United States provides
considerable guidance as to whether Texas is likely to succeed on the merits
of the preemption issue. There, the relevant state-law provision—Section 3
of S. B. 1070, an Arizona bill—punished a noncitizen’s “willful failure to
complete or carry an alien registration document.” 65 The state provision

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        63
             United States v. Texas, No. 24-CV-8, 2024 WL 861526, at *11 (W.D. Tex. Feb.
29, 2024).
        64
           See, e.g., Plyler v. Doe, 457 U.S. 202, 228 n.23 (1982) (“[T]he State has no direct
interest in controlling entry into this country, that interest being one reserved by the
Constitution to the Federal Government . . . .”); De Canas, 424 U.S. at 354 (“Power to
regulate immigration is unquestionably exclusively a federal power.”); Galvan v. Press, 347
U.S. 522, 531 (1954) (“[T]hat the formulation of . . . policies [regarding the entry of
noncitizens and their right to remain here] is entrusted exclusively to Congress has become
about as firmly embedded in the legislative and judicial tissues of our body politic as any
aspect of our government.”); Truax v. Raich, 239 U.S. 33, 42 (1915) (“The authority to
control immigration—to admit or exclude aliens—is vested solely in the Federal
government.” (citing Fong Yue Ting v. United States, 149 U.S. 698, 713 (1893))); Chy v.
Freeman, 92 U.S. 275, 280 (1875) (“The passage of laws which concern the admission of
citizens and subjects of foreign nations to our shores belongs to Congress, and not to the
States.”); Henderson v. Mayor of New York, 92 U.S. 259, 271 (1875) (holding immigration is
a “power[], which, from [its] nature, [is] exclusive in Congress”).
        65
          Arizona v. United States, 567 U.S.387, 400 (2012) (quoting Ariz. Rev. Stat.
Ann. § 13-1509(A)). The Court analyzed four provisions of Arizona’s S. B. 1070. It
analyzed Section 3 of S. B. 1070 under the doctrine of field preemption. See id.




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adopted the same substantive standards as the federal law that required
noncitizens to carry proof of registration. 66 After analyzing the federal
regulations in the “field of alien registration,” the Court observed “[t]he
framework enacted by Congress leads to the conclusion . . . that the Federal
Government has occupied the field of alien registration.” 67 The Court noted
“[t]he federal statutory directives provide a full set of standards governing
alien registration, including the punishment for noncompliance.” 68 The
Court explained this national registration scheme “was designed as a
‘harmonious whole.’” 69
       Texas correctly observes the statutes at issue in Arizona did not
regulate unlawful entry and removal of noncitizens. But the Court’s holding
in Arizona provides guiding principles. The Court held: “Where Congress
occupies an entire field, as it has in the field of alien registration, even
complementary state regulation is impermissible. Field preemption reflects
a congressional decision to foreclose any state regulation in the area, even if
it is parallel to federal standards.” 70
       In 1952, Congress enacted the Immigration and Nationality Act (INA)
to establish a “comprehensive federal statutory scheme for regulation of
immigration and naturalization” and to set “the terms and conditions of
admission to the country and the subsequent treatment of aliens lawfully in




       _____________________
       66
            Id. at 402.
       67
            Id. at 401.
       68
            Id.
       69
            Id. (quoting Hines v. Davidowitz, 312 U.S. 52, 72 (1941)).
       70
            Id. (citing Silkwood v. Kerr–McGee Corp., 464 U.S. 238, 249 (1984)).




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the country.” 71 The Act’s “central concern” is the “entry and stay of
aliens” in the United States. 72 The Act makes it unlawful for any noncitizen
to enter the United States other than through a port of entry, 73 and punishes
any noncitizen who unlawfully reenters or remains in the United States. 74
These provisions—§§ 1325(a) and 1326(a)—closely resemble Sections 51.02
and 51.03 of S. B. 4. In fact, an affirmative defense under Section 51.02 is that
“the defendant’s conduct does not constitute a violation of 8 U.S.C.
Section 1325(a).” 75 Moreover, the language in Section 51.03 is similar to that
of § 1326(a).          These features make the Court’s analysis in Arizona
particularly salient. In the same way Arizona S. B. 1070 “add[ed] a state-law
penalty for conduct proscribed by federal law,” 76 S. B. 4 criminalizes
behavior already prohibited by the INA. Particularly applicable in the present
case, the Supreme Court held in Arizona that “[p]ermitting the State to
impose its own penalties for the federal offenses here would conflict with the
careful framework Congress adopted.” 77 That is just as true regarding the
Texas laws regarding entry and removal.
        It is also important to understand that as part of its field-preemption
analysis in Arizona, the Supreme Court pointed to the fact that the Arizona
law regarding noncitizen registration “rules out probation as a possible
sentence (and also eliminates the possibility of a pardon),” while federal law
        _____________________
        71
          De Canas v. Bica, 424 U.S. 351, 353, 359 (1976); Chamber of Com. v. Whiting, 563
U.S. 582, 587 (2011).
        72
             De Canas, 424 U.S. at 359.
        73
             8 U.S.C. § 1325(a).
        74
             8 U.S.C. § 1326(a).
        75
             Tex. Penal Code § 51.02(c)(2).
        76
             Arizona v. United States, 567 U.S. 387, 400 (2012).
        77
             Id. at 402.




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did not. 78 In the present case, a defendant may be removed before federal
proceedings that would permit her to remain in the United States lawfully
have been initiated or concluded. Sources of such relief include asylum, relief
based on a Convention Against Torture (CAT) claim, or dispensation from
the United States Attorney General. 79
       Equally importantly, in concluding there was field preemption, the
Supreme Court in Arizona relied on the fact that “[w]ere § 3 to come into
force, the State would have the power to bring criminal charges against
individuals for violating a federal law even in circumstances where federal
officials in charge of the comprehensive scheme determine[d] that
prosecution would frustrate federal policies.” 80 The same is true of the
Texas laws at issue here.
       The Supreme Court in Arizona spent considerable time and ink in
explaining how the removal procedures work under federal law. “Removal
is a civil, not criminal, matter.” 81 The Texas and federal laws are not
congruent on this score. The Supreme Court also explained that “[a]
principal feature of the [federal] removal system is the broad discretion
exercised by immigration officials.” 82 “Federal officials, as an initial matter,
must decide whether it makes sense to pursue removal at all.” 83 “If removal
proceedings commence, aliens may seek asylum and other discretionary


       _____________________
       78
            Id. at 403.
       79
            See, e.g., 8 U.S.C. §§ 1158, 1129b; 8 C.F.R. § 208.16.
       80
            Arizona, 567 U.S. at 402.
       81
            Id. at 396.
       82
            Id.
       83
            Id.




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relief allowing them to remain in the country or at least to leave without
formal removal.” 84
       Under federal law, a noncitizen who does not enter through a
designated port of arrival may nevertheless seek asylum. 85 A claim for asylum
can be pursued before, during, or after the conclusion of prosecution under
federal law for illegal entry. 86 In contrast, the Texas laws do not permit
abatement of prosecution and removal proceedings, 87 and as a result, a
noncitizen may be removed under Article 5B.002(d) before asylum
proceedings are concluded.
       Similarly, the Texas laws preclude a noncitizen from pursuing a CAT
claim once proceedings are commenced. Federal law markedly differs. A
noncitizen in removal proceedings with a reasonable fear of persecution or
torture in his home country may request relief from removal based on the
CAT. 88 “[T]he Attorney General has no discretion to deny relief to a
noncitizen who establishes his eligibility.                [Even a] conviction of an
aggravated felony has no effect on CAT eligibility . . . .” 89
       It is evident that the Texas entry and removal laws also significantly
impair the exercise of discretion by federal immigration officials. Though the
Texas laws carve out some room for instances in which the federal


       _____________________
       84
           Id. (citing 8 U.S.C. §§ 1229a(c)(4), 1158 (asylum), 1229b (cancellation of
removal), 1229c (voluntary departure)).
       85
            8 U.S.C. § 1158(a)(1).
       86
            See, e.g., United States v. Vasquez-Hernandez, 924 F.3d 164, 169 (5th Cir. 2019).
       87
            Tex. Code Crim. Proc. art. 5B.003.
       88
            See 8 C.F.R. §§ 208.16, 208.31.
       89
            Moncrieffe v. Holder, 569 U.S. 184, 187 n.1 (2013).




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government has exercised such discretion, 90 they limit others. For example,
Congress has given the Attorney General authority to waive various
requirements that would otherwise stand in the way of admission. 91
Noncitizens cannot pursue these avenues once Texas proceedings are
instituted against them. The dissenting opinion’s assertion that S.B. 4 “has
no impact whatsoever on which aliens Congress chooses to admit” 92 is
simply incorrect.
        The broadest exercise of federal discretion is the Executive’s decision
not to pursue either civilly or criminally the very noncitizens whom Texas
has drawn a bead upon in enacting new state laws. The discretion to pursue
these same noncitizens likely lies exclusively with the Executive.
        In United States v. Texas, 93 Texas and Louisiana challenged the Biden
Administration’s guidelines that “prioritize the arrest and removal from the
United States of noncitizens who are suspected terrorists or dangerous

        _____________________
        90
             See Tex. Penal Code § 51.02(c).
        91
           See, e.g., 8 U.S.C. § 1158(b)(2)(A)(v) (providing Attorney General discretion to
waive asylum eligibility requirements if he believes “there are not reasonable grounds for
regarding the alien as a danger to the security of the United States”); id. § 1227(a)(1)(H)
(providing Attorney General discretion, under certain circumstances, to waive removal
provisions for noncitizens deemed inadmissible because of misrepresenting material facts
when seeking admission); id. § 1182(a)(9)(B)(v) (providing Attorney General the “sole
discretion” to waive certain admissibility bars for noncitizens “unlawfully present” if
refusal to admit the noncitizen would result in “extreme hardship” to “lawfully resident
spouse or parent”); id. § 1182(d)(1) (providing Attorney General discretion to waive
admissibility requirements for noncitizens aiding law enforcement when the Attorney
General believes it is in the “national interest to do so”); id. § 1182(d)(14) (providing
Secretary of Homeland Security discretion to waive admissibility requirements for
noncitizens that are victims of certain crimes and helpful to law enforcement when the
Secretary considers it to be “in the public or national interest to do so”).
        92
             Post at 90.
        93
             599 U.S. 670 (2023).




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criminals, or who have unlawfully entered the country only recently.” 94
Texas and Louisiana also “contend[ed] that for certain noncitizens, such as
those who are removable due to a state criminal conviction, § 1226(c) of Title
8 says that the Department ‘shall’ arrest those noncitizens and take them into
custody when they are released from state prison.” 95 Though the Supreme
Court resolved the case based on standing, the reasoning supporting the
Supreme Court’s holding appears to be equally applicable in assessing
whether Texas’s enactment of laws aimed at increasing arrests and
prosecutions of illegally present noncitizens impinges on discretion granted
by the Constitution to the Executive. The Supreme Court held: “Article II
of the Constitution assigns the ‘executive Power’ to the President and
provides that the President ‘shall take Care that the Laws be faithfully
executed.’” 96 The Court said: “Under Article II, the Executive Branch
possesses authority to decide ‘how to prioritize and how aggressively to
pursue legal actions against defendants who violate the law.’” 97 “[T]he
Executive Branch has exclusive authority and absolute discretion to decide
whether to prosecute a case.” 98 The Supreme Court held that this exclusive
authority extended to enforcement of the immigrations laws at issue: “That
principle of enforcement discretion over arrests and prosecutions extends to
the immigration context, where the Court has stressed that the Executive’s
enforcement discretion implicates not only ‘normal domestic law


           _____________________
           94
                Id. at 673.
           95
                Id. at 674.
           96
                Id. at 678 (citing U.S. Const., art. II, § 1, cl. 1; § 3).
           97
                Id. (quoting TransUnion LLC v. Ramirez, 594 U. S. 413, 429 (2021)).
           98
                Id. at 679 (emphasis added) (quoting United States v. Nixon, 418 U.S. 683, 693
(1974)).




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enforcement priorities’ but also ‘foreign-policy objectives.’” 99                 The
exclusive authority over removal was expressly set forth: “In line with those
principles, this Court has declared that the Executive Branch also retains
discretion over whether to remove a noncitizen from the United States.” 100
This is likely quintessential field preemption.
       There is more. Congress has given the Executive statutory authority
to request help from the states in arresting and detaining, at least for short
periods of time, noncitizens who are illegally present. When states cooperate
in this way, their actions and officers are generally supervised by the
Executive Branch pursuant to federal law. These statutes are discussed at
39-40 infra. If it chose to do so, the Executive could rely upon statutory
authority to request Texas to assist, under the supervision of federal officers,
in arresting the very noncitizens whom Texas now says it has the authority to
arrest under state law, unsupervised by any federal officer or agency. The
Executive Branch has in fact sought Texas’s assistance under various
statutes, but the federal government has not utilized Texas’s resources to the
extent desired by Texas. Regardless of the wisdom of the Executive’s actions
and inactions, it is for the Executive to decide whether, and if so, how to
pursue noncitizens illegally present in the United States.
       It is worth noting that one root cause for the lack of action by the
Executive could well be the failure of Congress to spend the funds necessary
to address the massive increases in the numbers of noncitizens illegally
entering the United States. The Supreme Court’s decision in United States
v. Texas recited that “[f]or the last 27 years since § 1226(c) and § 1231(a)(2)

       _____________________
       99
          Id. at 679 (quoting Reno v. Am.-Arab Anti-Discrimination Comm., 525 U.S. 471,
490-91 (1999)).
       100
             Id. (citing Arizona v. United States, 567 U.S. 387, 396 (2012)).




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were enacted in their current form, all five Presidential administrations have
determined that resource constraints necessitated prioritization in making
immigration arrests.” 101 The results of the lack of funding coupled with the
lack of political will are apparent. Texas, nobly and admirably some would
say, seeks to fill at least partially the gaping void. But it is unlikely that Texas
can step into the shoes of the national sovereign under our Constitution and
laws.
        The Court observed in Arizona that “[r]eturning an alien to his own
country may be deemed inappropriate even where he has committed a
removable offense or fails to meet the criteria for admission.” 102 “The
dynamic nature of relations with other countries requires the Executive
Branch to ensure that enforcement policies are consistent with this Nation’s
foreign policy with respect to these and other realities.” 103
        When analyzing Section 3 of S. B. 1070, the Arizona Court explained
that “[f]ederal law makes a single sovereign responsible for maintaining a
comprehensive and unified system to keep track of aliens within the Nation’s
borders.” 104 Texas fails to explain why this logic does not apply to the
equally—if not more—sensitive topic of noncitizens entering the country.
Congress established a comprehensive framework to identify who may




        _____________________
        101
              Id. at 680.
        102
              567 U.S. at 396.
        103
              Id. at 397.
        104
              Id. at 401-02.




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enter, 105 how they may enter, 106 where they may enter, 107 and what penalties
apply for those who enter unlawfully. 108
        Field preemption of the entry and removal of noncitizens is indicated
by the breadth of the United States’ power “to control and conduct relations
with foreign nations,” and the reasons for the existence of that power. 109 The
Supreme Court said in Arizona:

     • “Decisions [regarding removal] touch on foreign relations and must
         be made with one voice.” 110
     • “Removal decisions, including the selection of a removed alien’s
         destination, may implicate [the Nation’s] relations with foreign
         powers and require consideration of changing political and economic
         circumstances.” 111


        _____________________
        105
           See, e.g., 8 U.S.C. § 1182 (establishing classes of noncitizens ineligible for visas
or admission).
        106
             See, e.g., id. § 1181 (establishing document requirements for admission); id.
§ 1225 (establishing noncitizens “who are applicants for admission or otherwise seeking
admission or readmission to or transit through the United States shall be inspected by
immigration officers”); id. § 1185 (“Unless otherwise ordered by the President, it shall be
unlawful . . . for any alien to depart from or enter . . . the United States except under such
reasonable rules, regulations, and orders, and subject to such limitations and exceptions as
the President may prescribe.”).
        107
           See, e.g., id. § 1224 (authorizing the Attorney General to designate ports of entry
for noncitizens arriving by aircraft); see also 8 C.F.R. § 100.4 (establishing different ports of
entry for different classes of noncitizens).
        108
           See, e.g., 8 U.S.C. § 1325(a) (establishing criminal penalties for improper entry
by noncitizens); id. § 1326(a) (establishing criminal penalties for improper reentry of
removed noncitizens).
        109
              See Arizona, 567 U.S. at 395.
        110
              Id. at 409.
        111
              Id. (quoting Jama v. ICE, 543 U.S. 335, 348 (2005)).




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    • “The federal power to determine immigration policy is well settled.
         Immigration policy can affect trade, investment, tourism, and
         diplomatic relations for the entire Nation, as well as the perceptions
         and expectations of aliens in this country who seek the full protection
         of its laws.” 112
    • “Perceived mistreatment of aliens in the United States may lead to
         harmful reciprocal treatment of American citizens abroad.” 113
    • “It is fundamental that foreign countries concerned about the status,
         safety, and security of their nationals in the United States must be
         able to confer and communicate on this subject with one national
         sovereign, not the 50 separate States.” 114
    • “This Court has reaffirmed that ‘[o]ne of the most important and
         delicate of all international relationships . . . has to do with the
         protection of the just rights of a country’s own nationals when those
         nationals are in another country.’” 115
        These considerations certainly auger in favor of concluding that
Congress intended to occupy the field regarding removal of noncitizens. The
Texas removal provisions bestow powers upon itself that are likely reserved
to the United States.



        _____________________
        112
              Id. at 395.
        113
              Id.
        114
           Id. (first citing Chy Lung v. Freeman, 92 U.S. 275, 279-80 (1876); and then citing
The Federalist No. 3, at 39 (John Jay) (C. Rossiter ed. 2003) (observing that federal
power would be necessary in part because “bordering States . . . under the impulse of
sudden irritation, and a quick sense of apparent interest or injury” might take action that
would undermine foreign relations)).
        115
              Id. (quoting Hines v. Davidowitz, 312 U.S. 52, 64 (1941)).




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       We outline in detail additional provisions of federal immigration law
that are relevant to noncitizen removal. If a noncitizen enters the United
States “at any time or place other than as designated by the Attorney
General” they are “inadmissible” and “removable” under 8 U.S.C.
§§ 1182(a)(6)(A)(i) and 1229a(e)(2). 116               The “usual removal process
involves an evidentiary hearing before an immigration judge.” 117 At that
hearing, the noncitizen may be represented by counsel, present evidence on
their behalf, and attempt to show why he or she should not be admitted. 118
Among other things, the noncitizen may claim asylum by expressing fear of
persecution or harm upon return to his or her home country. 119 If their claim
is rejected and the noncitizen is ordered removed, they can appeal the
removal order to the Board of Immigration Appeals. 120 If that appeal is
unsuccessful, the noncitizen is generally entitled to review in a federal court
of appeals. 121 There is also a more expedited procedure for removal. If an
immigration officer determines that a noncitizen who is arriving in the United
States is inadmissible because they misrepresented their admission status or
lack valid admission documentation, the officer must order the noncitizen
removed from the United States without further hearing or review. 122 Other
noncitizens who are already present in the United States are subject to the

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       116
          After the Homeland Security Act of 2002, many references in the INA to the
“Attorney General” are now read to mean the Secretary of Homeland Security. See 6
U.S.C. § 557; Clark v. Martinez, 543 U.S. 371, 374 n.1 (2005).
       117
             DHS v. Thuraissigiam, 140 S. Ct. 1959, 1964 (2020).
       118
             See 8 U.S.C. § 1229a(b)(4); 8 C.F.R. § 1240.11(c) (2020).
       119
             See 8 C.F.R. § 1240.11(c) (2020).
       120
             8 U.S.C. § 1229a(c)(5); 8 C.F.R. § 1003.1(b).
       121
             8 U.S.C. § 1229a(c)(5), 1252(a).
       122
             Id. §§ 1225(b)(1)(A)(i), 1182(a)(6)(C), 1182(a)(7).




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same expedited removal if they “(1) [are] inadmissible because he or she
lacks a valid entry document; (2) [have] not ‘been physically present in the
United States continuously for the 2-year period immediately prior to the
date of the determination of inadmissibility’; and (3) [are] among those
whom the Secretary of Homeland Security has designated for expedited
removal.” 123 All noncitizens subject to this expedited removal procedure can
avoid removal by claiming asylum or a fear of persecution, at which point they
are referred to an asylum officer. 124 If the asylum officer finds the applicant
does not have a credible fear, a supervisor will review the asylum officer’s
determination. 125 The supervisor’s review can be appealed to an immigration
judge. 126
        This system is comprehensive, complex, and national in scope. It
provides multiple procedural channels to determine whether a noncitizen
should be removed and establishes a detailed process for reviewing those
determinations. S. B. 4’s removal provision intrudes on this system by giving
state judges and magistrate judges the power to order a noncitizen removed
without an opportunity to avail himself of rights he has under federal law.
        Although state officers may “cooperate with the Attorney General in
the identification, apprehension, detention, or removal of aliens not lawfully
present in the United States,” 127 federal law does not authorize or
contemplate “cooperation” on removal decisions. By creating a complex,

        _____________________
        123
           DHS v. Thuraissigiam, 140 S. Ct. 1959, 1964-65 (2020) (citing 8 U.S.C.
§§ 1225(b)(1)(A)(i), 1225(b)(1)(A)(iii)(I)-(II)).
        124
              8 U.S.C. § 1225(b)(1)(A)(ii).
        125
              8 C.F.R. § 208.30(e)(8).
        126
              Id. § 1003.42.
        127
              8 U.S.C. § 1357(g)(10)(B).




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national system for determining whether a noncitizen should be removed,
there is strong evidence Congress intended to occupy the field for any
decision related to noncitizen removal.
          In De Canas v. Bica, 128 the Supreme Court observed that the
“comprehensiveness” of this scheme “was to be expected in light of the
nature and complexity of the subject.” 129 If every state could regulate the
unlawful entry and reentry of noncitizens, “[e]ach additional statute [would]
incrementally diminish[] the [federal government]’s control over
enforcement” and “detract[] from the ‘integrated scheme of regulation’
created by Congress.” 130
          Supreme Court authorities and the detailed statutory scheme
governing who will be permitted to remain in the United States and removal
procedures strongly indicate that Congress “occupies [the] entire field” of
unlawful entry and reentry of noncitizens as well as removal. 131
          Texas makes three counterarguments.                   First, Texas argues that
“[s]tate laws that ‘mirror[] federal objectives’ are more—not less—likely to
be upheld.” 132 The Supreme Court, however, rejected this exact argument

          _____________________
          128
                424 U.S. 351 (1976).
          129
           Id. at 359. The Court also noted that federal immigration law controls “who
should or should not be admitted into the country, and the conditions under which a legal
entrant may remain.” Id. at 355; cf. Truax v. Raich, 239 U.S. 33, 42 (1915).
          130
                Wis. Dep’t of Indus., Lab. & Hum. Rels. v. Gould Inc., 475 U.S. 282, 288-89
(1986).
          131
           See Arizona v. United States, 567 U.S. 387, 401 (2012); see also Hines v.
Davidowitz, 312 U.S. 52, 68 (1941) (“[I]t is of importance that this legislation is in a field
which affects international relations, the one aspect of our government that from the first
has been most generally conceded imperatively to demand broad national authority. Any
concurrent state power that may exist is restricted to the narrowest of limits . . . .”).
          132
                Texas Mot. at 13 (quoting Plyler v. Doe, 457 U.S. 202, 225 (1982)).




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in Arizona, stating it “ignores the basic premise of field preemption—that
States may not enter, in any respect, an area the Federal Government has
reserved for itself.” 133
       Second, Texas cites several federal statutes that it contends reflect
that federal immigration law “regularly encourages States to aid federal entry
and removal.” 134 It cites 18 U.S.C. § 758 for the proposition that it is a crime
for a noncitizen to “flee” from “State[] or local law enforcement” around
immigration checkpoints. 135 But that federal statute makes it a federal crime
when someone “flees Federal, State, or local enforcement agents in excess
of the legal speed limit.” 136 This statute would not prohibit Texas from
arresting or prosecuting a person for violating state-established speed limits
under state law. Indeed, a federal statute provides that state law extends over
immigration stations and that officers in charge of immigration stations shall
admit “State and local officers charged with law enforcement . . . in order
that such State and local officers may preserve the peace and make arrests for
crimes under the laws of the States and Territories.” 137 But it does not
authorize Texas to (1) enact a statute making it a state crime to flee a
checkpoint, or (2) arrest or prosecute anyone under § 758.                 Most
importantly, this statute does not pertain to whether someone should be
allowed to enter or remain in the United States or whether they should be
deported or removed if they enter illegally.



       _____________________
       133
             Arizona, 567 U.S. at 402.
       134
             Texas Mot. at 11-12.
       135
             Texas Mot. at 11-12.
       136
             18 U.S.C. § 758.
       137
             8 U.S.C. § 1358.




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        Texas points to 8 U.S.C. § 1324(c), arguing “States have authority to
make arrests for violations of alien smuggling prohibition[s].” 138 But, here
again, this statute has nothing to do with whether a noncitizen should be
prosecuted or deported for being in the United States illegally. Rather, this
statute makes it a crime for anyone, whether they are a noncitizen, a United
States citizen, or a person lawfully in the United States, to engage in
smuggling noncitizens into the United States or harboring or transporting
them.
        Texas argues that 22 U.S.C. § 7105(c)(3)(C)(i), 8 U.S.C.
§ 1101(a)(15)(T)(i), and 8 U.S.C. § 1101(a)(15)(U), contemplate state
prosecution or investigation of illegal trafficking. 139 But, here again, these
statutes do not authorize Texas to determine whether a person is illegally
present in the United States in order to take action to remove or deport that
person.
        Texas fails to explain how these laws are relevant to the entry or
removal provisions.           While Texas undoubtedly can assist the federal
government in arresting noncitizens who violate federal law when federal law
permits it to do so, 140 the question is not whether Congress intended to
occupy the entire field of immigration. 141 The laws cited by Texas do not
facilitate the inquiry pertinent in the present case, which is whether Congress


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        138
              Texas Mot. at 12.
        139
              Texas Mot. at 12.
        140
           See, e.g., 8 U.S.C. § 1357(g) (allowing a state to enter an agreement with the
federal government to aid in “the investigation, apprehension, or detention” of
noncitizens).
        141
           See City of El Cenizo v. Texas, 890 F.3d 164, 177 (5th Cir. 2018) (first citing
Arizona, 567 U.S. at 400-01; and then citing De Canas v. Bica, 424 U.S. 351, 360 n.8 (1976)).




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intended to “occupy the field” of immigration policies concerning entry into
or removal from the United States or both. 142
        In its merits briefing, Texas maintains the federal government has
“abandoned” the field because the Executive Branch has failed to enforce
immigration policy in dereliction of its statutory duties. 143 Regardless of
whether these claims are accurate, our task is to determine whether Congress
“‘legislated so comprehensively’ in a particular field that it ‘left no room for
supplementary state legislation.’” 144 “Evidence of pre-emptive purpose is
sought in the text and structure of the statute at issue,” not enforcement
decisions by the Executive. 145             Here, there is strong support for the
conclusion that Congress has “legislated so comprehensively” in the field of
noncitizen entry, reentry, and removal that it “left no room for



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        142
              See Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 372 (2000).
        143
              Texas Br. at 24.
        144
             Kansas v. Garcia, 140 S. Ct. 791, 804 (2020) (quoting R.J. Reynolds Tobacco Co.
v. Durham Cnty., 479 U.S. 130, 140 (1986)). Texas references Parker v. Brown, 317 U.S.
341, 358 (1943), for the proposition that the mere adoption of an act by Congress, without
executive action putting the legislation into effect, does not implicate field preemption.
However, Parker is distinguishable for two reasons. First, Parker did not involve the
Executive Branch allegedly abandoning a field but rather related to a congressional act (the
Federal Agricultural Marketing Agreement Act of 1937). Second, the Supreme Court held
there was no field preemption because the Act specifically “contemplate[d] the existence
of state programs at least until such time as the Secretary [of Agriculture] shall establish a
federal marketing program.” Parker, 317 U.S. at 354. Because the Secretary had not
adopted implementing regulations, the Court held there was no “occupation of the
legislative field.” Id. at 358. In contrast, the intersecting web of national immigration laws
does not contemplate state regulation.
        145
             See CSX Transp., Inc. v. Easterwood, 507 U.S. 658, 664 (1993); see also Va.
Uranium, Inc. v. Warren, 139 S. Ct. 1894, 1905 (2019) (opinion of Gorsuch, J., joined by
Thomas & Kavanaugh, JJ.) (noting “Congress’s authority to delimit the preemptive
effect of its laws”).




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supplementary state legislation.” 146 Texas has not demonstrated it is likely
to prevail on its argument that the district court erred by holding that S. B. 4
is likely field preempted.
                                            2
        Even if there is likely no field preemption, Texas has not
demonstrated that it is likely to succeed on the merits regarding conflict
preemption. Generally speaking, the Supreme Court has recognized that a
state statute may be preempted by federal law when (1) it is impossible for a
person to comply with both the state law and federal law, or (2) when the
state law “stands as an obstacle to the accomplishment and execution of the
full purposes and objectives of Congress.” 147 The Supreme Court has
described these concepts in this way:
        This Court, when describing conflict pre-emption, has spoken
        of pre-empting state law that “under the circumstances of th[e]
        particular case . . . stands as an obstacle to the accomplishment
        and execution of the full purposes and objectives of
        Congress”—whether that “obstacle” goes by the name of
        “conflicting; contrary to; . . . repugnance; difference;
        irreconcilability; inconsistency; violation; curtailment; . . .
        interference,” or the like. The Court has not previously driven
        a legal wedge—only a terminological one—between
        “conflicts” that prevent or frustrate the accomplishment of a
        federal objective and “conflicts” that make it “impossible” for
        private parties to comply with both state and federal law.



        _____________________
        146
           Kansas, 140 S. Ct. at 804 (internal quotation marks omitted) (quoting R.J.
Reynolds Tobacco Co., 479 U.S. at 140).
        147
          See Crosby, 530 U.S. at 372-73 (internal quotation marks omitted) (quoting Hines
v. Davidowitz, 312 U.S. 52, 67 (1941)).




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        Rather, it has said that both forms of conflicting state law are
        “nullified” by the Supremacy Clause. 148
        Two seminal cases that considered whether state laws addressing
immigration-related issues were preempted employed an “obstacle”
analysis, Arizona 149 and Hines. 150 Neither has been overruled or abrogated in
that regard.
        The Texas entry provisions make it unlawful for a noncitizen to enter
or reenter the state from outside the country. 151 Texas contends that these
provisions mirror federal-law standards, arguing “there can by definition be
no conflict” between federal and state law because they comport with one
another. 152 The mere fact that state laws “overlap” with federal criminal
provisions does not, by itself, make a case for conflict preemption. 153 But, as
the Supreme Court has cautioned, “conflict is imminent” when “two




        _____________________
        148
            Geier v. Am. Honda Motor Co., Inc., 529 U.S. 861, 873 (2000) (alterations and
omissions in original) (citations omitted) (first quoting Hines, 312 U.S. at 67; and then citing
Jones v. Rath Packing Co., 430 U.S. 519, 526 (1977)); see also Arizona v. United States, 567
U.S. 387, 399-400 (2012); Hines, 312 U.S. at 67 (“In the final analysis, there can be no one
crystal clear distinctly marked formula. Our primary function is to determine whether,
under the circumstances of this particular case, Pennsylvania’s law stands as an obstacle to
the accomplishment and execution of the full purposes and objectives of Congress.”).
        149
              Arizona, 567 U.S. at 410.
        150
              Hines, 312 U.S. at 67.
        151
              Tex. Penal Code §§ 51.02-03.
        152
              Texas Mot. (quoting Chamber of Com. v. Whiting, 563 U.S. 582, 601 (2011)).
        153
              See Kansas v. Garcia, 140 S. Ct. 791, 806 (2020).




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separate remedies are brought to bear on the same activity.” 154 The Texas
entry provisions are not congruent. 155
        First and foremost, Texas law punishes unlawful entry 156 while under
federal law, there are various avenues by which a noncitizen may ultimately
be admitted or receive absolution even though he or she initially entered
illegally. Second, relatedly, it does not appear there is any discretion given to
state officials to decline to prosecute those who commit the offense set forth
in Section 51.02. But even if state law afforded discretion, it would vest that
discretion in a state official, not the United States Attorney General or
another federal officer. That is in conflict with federal law.
        The INA provides the federal government discretion to decide
whether to initiate criminal proceedings or civil immigration proceedings
once a noncitizen is apprehended. The Texas scheme blocks this exercise of
discretion. A noncitizen apprehended illegally entering or remaining in
Texas is charged with a crime, and the federal government has no voice in
further proceedings. An arrest or conviction would interfere with federal law
because the Texas process for arrests and convictions suppresses or subverts
federal authority over a noncitizen’s status in the United States.
        S. B. 4 affects noncitizens whom Congress has assigned a federal
immigration status—that of a “applicant for admission” 157—and interferes

        _____________________
        154
           Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 380 (2000) (alterations and
internal quotation marks omitted) (quoting Wis. Dep’t of Indus. v. Gould, Inc., 475 U.S. 282,
286 (1986)).
        155
          Compare Tex. Penal Code §§ 51.02-03, with 8 U.S.C. § 1325(a); see also 8
U.S.C. § 1326(a) (stating the criminal punishment shall be a “fine[] under Title 18, or
imprison[ment] not more than 2 years, or both”).
        156
              See Tex. Penal Code § 51.02.
        157
              8 U.S.C. § 1225(a)(1).




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with federal immigration officials’ ability to determine the applicant’s
admissibility. The relevant statute provides: “An alien present in the United
States who has not been admitted or who arrives in the United States
(whether or not at a designated port of arrival . . . ) shall be deemed for
purposes of this chapter an applicant for admission.” 158 Congress directed
that all applicants for admission “shall” be inspected by a federal
immigration officer. 159 We described this process in more detail above and
we summarize it again here. First, the immigration officer must determine
whether the noncitizen falls into a category defined in part by statute and in
part by a designation by the Secretary of Homeland Security. 160 Second, if
the immigration officer determines that the noncitizen falls into that category
(or if the noncitizen is arriving in the United States), the officer must then
decide whether the noncitizen is inadmissible under two specified statutory
provisions. 161 Those noncitizens are generally subject to expedited removal,
unless they indicate an intention to apply for asylum. 162 Noncitizens who are
not subject to expedited removal (and who are not “clearly and beyond a
doubt entitled to be admitted”) are detained for further proceedings before


        _____________________
        158
              Id.
        159
              Id. § 1225(a)(3).
        160
          Id. §§ 1225(b)(1)(A), 1225(b)(2)(A); see DHS v. Thuraissigiam, 140 S. Ct. 1959,
1964-65 (2020).
        161
            8 U.S.C. § 1225(b)(1)(A)(i) (directing the federal immigration officer to
determine whether the noncitizen is inadmissible under either 8 U.S.C. §§ 1182(a)(6)(C)
or 1182(a)(7)), § 1182(a)(6)(C) (designating as inadmissible noncitizens who, by fraud or
willfully misrepresenting a material fact, procures or seeks to procure an immigration
document or other immigration benefit), § 1182(a)(7) (designating as inadmissible
noncitizens who did not have a valid entry document at the time they applied for
admission).
        162
              Id. § 1225(b)(1)(A)(i)-(ii); see Thuraissigiam, 140 S. Ct. at 1964-65.




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an immigration judge. 163 The immigration judge “shall” determine whether
the noncitizen is inadmissible. 164
        In light of this process, it is problematic that state courts will
determine if a noncitizen has entered illegally. In Villas at Parkside Partners
v. City of Farmers Branch, 165 a majority of our en banc court concluded that
state courts may not assess the legality of a noncitizen’s presence. 166 There,
the ordinance at issue allowed for state judicial review as to whether an
individual was lawfully present in the country. 167 The lead opinion concluded
that because of “the discretion and variability inherent in a determination of
whether an alien is ‘lawfully present in the United States’ . . . the judicial
review section of the Ordinance [] is preempted by federal law.” 168
        The Texas law regarding entry grants Texas judges significantly more
power than the ordinance at issue in Farmers Branch. 169 It allows Texas
courts to impose criminal sanctions, including significant terms of
imprisonment, and order removal if a noncitizen is found to have entered or

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        163
              8 U.S.C. §§ 1225(b)(2)(A), 1229a(a)(1).
        164
              Id. § 1229a(a)(1).
        165
              726 F.3d 524 (5th Cir. 2013) (en banc).
        166
           Although there was no majority opinion in Farmers Branch, ten judges agreed
that the judicial review sections of the ordinance were preempted in part by federal law.
See id. at 537 (Higginson, J., joined by Stewart, Davis, Southwick, and
Haynes, JJ.); id. at 542 (Reavley, J., joined by Graves, J.); id. at 547 (Dennis, J.,
joined by Reavley, Prado, and Graves, JJ.); id. at 559 (Richman, J.).
        167
              Id. at 536.
        168
              Id. at 537.
        169
           In Farmers Branch the ordinance indicated that a noncitizen’s unlawful presence
was to be “determined under federal law.” Id. at 536. S. B. 4 goes further, allowing state
judges to determine a noncitizen’s unlawful presence under state law. See, e.g., Tex.
Penal Code § 51.03(c).




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remained in Texas illegally. 170       As some jurists have recognized, “the
structure of the [federal] immigration statutes makes it impossible for [a]
State to determine which [noncitizens] are entitled to residence, and which
eventually will be deported.” 171
       The Texas unlawful entry and removal statutes also conflict with
federal law because they prohibit abatement of prosecutions under Chapter
51 of the Penal Code on the grounds that federal proceedings have been or
will be commenced regarding the immigration status of a noncitizen. S. B. 4
amended the Texas Code of Criminal Procedure to add Article 5B.003. It
provides:
       Art. 5B.003. Abatement of Prosecution on Basis of
       Immigration Status Determination Prohibited
       A court may not abate the prosecution of an offense under
       Chapter 51, Penal Code, on the basis that a federal
       determination regarding the immigration status of the
       defendant is pending or will be initiated. 172
       Federal law provides that a noncitizen may be permitted to remain in
the United States lawfully even if he has been convicted of illegal entry.
Removing a noncitizen before the federal government has made a decision as
to whether (1) that noncitizen is permitted to remain in the United States
because asylum should be granted, (2) a CAT claim is valid, or (3) the United
States Attorney General would exercise discretion to waive obstacles to
removal and admit a noncitizen would conflict with federal law.


       _____________________
       170
             See, e.g., Tex. Code Crim. Proc. art. 5B.002(d).
       171
        Plyler v. Doe, 457 U.S. 202, 236 (1982) (Blackmun, J., concurring); id. at 241
n.6 (Powell, J., concurring).
       172
             Tex. Code Crim. Proc. art. 5B.003.




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        The removal provision also appears to conflict with federal law
because, again, the provision authorizes Texas state judges and magistrate
judges to remove noncitizens from the United States without notice to or
consent from the federal government. 173 This appears to run headlong into
federal law.          Congress has identified the grounds for removal, the
requirements for commencing and administering removal proceedings, the
protections afforded to noncitizens throughout the removal proceedings, and
the process for selecting the country to which noncitizens may be removed. 174 A
“principal feature” of this complex removal system is the “broad
discretion” exercised by federal immigration officials. 175                    Contrast the
removal provision’s grant to Texas judges the unilateral power to make
removal decisions. The removal provision sidesteps the sensitive issues that
federal immigration officers are to consider. 176
        The Texas removal provisions will significantly conflict with the
United States’ authority to select the country to which noncitizens will be
removed. A large number of noncitizens who crossed into Texas from
Mexico are not citizen or residents of Mexico. Nevertheless, under Texas


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        173
              See Tex. Code Crim. Proc. art. 5B.002.
        174
              See, e.g., 8 U.S.C. §§ 1182(a), 1225, 1227, 1229, 1229a, 1231(a)-(b).
        175
              Arizona v. United States, 567 U.S. 387, 396 (2012).
        176
           But see, e.g., Plyler, 457 U.S. at 241 n.6 (Powell, J., concurring) (“But it is
impossible for a State to determine which aliens the Federal Government will eventually
deport, which the Federal Government will permit to stay, and which the Federal
Government will ultimately naturalize. Until an undocumented alien is ordered deported
by the Federal Government, no State can be assured that the alien will not be found to have
a federal permission to reside in the country, perhaps even as a citizen. Indeed, even the
Immigration and Naturalization Service cannot predict with certainty whether any
individual alien has a right to reside in the country until deportation proceedings have run
their course.”).




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law they would be removed to Mexico. The United States would have no
voice in the matter.
       It is evident that the Texas entry and removal laws significantly
eliminate the exercise of discretion by federal immigration officials, including
the United States Attorney General. 177 Though the Texas laws carve out
some room for instances in which the federal government has exercised such
discretion, 178 the Texas laws by no means afford a noncitizen the opportunity
to benefit fully from the broad discretion available under federal law.
       The State asserted at oral argument that at the very least, state law
allowing the arrest of noncitizens who are illegally present should not be
enjoined. First, the state laws at issue provide that state officers may
apprehend and detain noncitizens for unlawful entry and reentry for a
violation of state, not federal, law. If the entry and removal provisions are
preempted, nothing is left for state officers to enforce by arresting
noncitizens. S. B. 4 does not purport to authorize state law enforcement
officials to make arrests or detentions for violations of federal law.
       Second, allowing state law enforcement officers to arrest noncitizens
based on a preempted state offense, as the dissenting opinion suggests we
should, 179 “would allow the State to achieve its own immigration policy. The
result could be unnecessary harassment of some aliens (for instance, a
veteran, college student, or someone assisting with a criminal investigation)
who federal officials determine should not be removed.” 180 The dissenting
opinion recognizes that “[t]he principal concern motivating the Hines Court
       _____________________
       177
             See supra note 91.
       178
             See Tex. Penal Code § 51.02(c).
       179
             Post at 53-54.
       180
             Arizona, 567 U.S. at 408.




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was that a State might use registration requirements to harass admitted
aliens.” 181 Allowing state law enforcement officials to arrest noncitizens who
have not been admitted but who may be eligible for various status
determinations that would allow them to remain in the United States raises
the same concerns expressed in Hines.
        In any event, “[f]ederal law specifies [the] limited circumstances in
which state officers may perform the functions of an immigration officer.” 182
At all times, those circumstances require federal supervision or
authorization.        Under 8 U.S.C. § 1357(g), the Secretary of Homeland
Security “may enter into a written agreement with a State” or any of its
“political subdivision[s],” allowing state or local officers “to perform a
function of an immigration officer in relation to the investigation,
apprehension, or detention of [noncitizens] in the United States.” 183 In
performing those functions, the officers must “be subject to the direction and
supervision of the [Secretary].” 184 That federal law expressly provides that
an agreement is not required for any state or political subdivision of a state to
communicate with the Attorney General about the immigration status of an
individual, including “reporting knowledge that a particular alien is not
lawfully present in the United States.” 185 That same provision, §1357(g)(10),

        _____________________
        181
           Post at 89 (citing Hines v. Davidowitz, 312 U.S. 52, 74 (1941)); see Hines, 312 U.S.
at 74 (concluding that Congress manifested an intent to impose a uniform registration
system to leave noncitizen “free from the possibility of inquisitorial practices and police
surveillance”).
        182
              Arizona, 567 U.S. at 408.
        183
              8 U.S.C. § 1357(g)(1).
        184
          Id. § 1357(g)(3); see also City of El Cenizo v. Texas, 890 F.3d 164, 177 (5th Cir.
2018) (“Federal law,” including § 1357(g), “regulates how local entities may cooperate in
immigration enforcement.”).
        185
              8 U.S.C. §1357(g)(10)(A).




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further provides that an agreement is not necessary for a state or local
government “otherwise to cooperate with the Attorney General in the
identification, apprehension, detention, or removal of aliens not lawfully
present in the United States.” 186 This is not a grant of authority to a state to
enact a statute making it a state crime to be unlawfully present. Nor is it a
grant of authority to a state to enact a statute that gives authority under state
law to state officials to arrest or remove someone illegally present. This
provision does not even grant a state the authority to arrest or remove under
federal law. Similarly, other statutes expressly authorize state officers’ arrest
authority—but only in narrow circumstances. 187 The Texas laws at issue
permit state authorities to prosecute an individual for being unlawfully
present and remove individuals who are unlawfully present or removable,
without any consultation or cooperation with the Attorney General of the
United States.
        S. B. 4 also appears to permit an end-run around 8 U.S.C. § 1252c.
Section 1252c authorizes “State and local law enforcement officials” to
“arrest and detain” noncitizens “illegally present in the United States” only
if the noncitizen “has previously been convicted of a felony in the United
States and deported or left the United States after such conviction.” 188
S. B. 4, however, permits Texas law enforcement to arrest and detain

        _____________________
        186
              Id. § 1357(g)(10)(B).
        187
            See 8 U.S.C. § 1103(a)(10) (empowering the Secretary of Homeland Security to
“authorize any State or local law enforcement officer” to “perform or exercise the
powers . . . conferred” to federal immigration officers “[i]n the event the [Secretary]
determines that an actual or imminent mass influx of aliens arriving off the coast of the
United States, or near a land border, presents urgent circumstances requiring immediate
Federal response”), § 1324 (c) (permitting all officers “whose duty it is to enforce criminal
laws” to make arrests for the offense of bringing in or harboring certain aliens”).
        188
              8 U.S.C. § 1252c(a).




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noncitizens illegally present in Texas regardless of whether the noncitizen
has left the United States or been deported after being convicted of a
felony. 189 Compounding the problem, § 1252c contains another condition on
state officers’ arrest authority: the officer may arrest the noncitizen “only
after the State or local law enforcement officials obtain appropriate
confirmation from the Immigration and Naturalization Service of the status
of such individual and only for such period of time as may be required for the
Service to take the individual into Federal custody for purposes of deporting
or removing the alien from the United States.” 190 S. B. 4 clearly conflicts
with this statute.
        Texas contends that S. B. 4 regulates entry and reentry coterminously
with federal law, citing § 1357(g). But the Supreme Court addressed a similar
argument in Arizona when analyzing Section 6 of S. B. 1070, which
authorized state officers to arrest a person if the officer had probable cause to
believe that person was removable. 191 The Supreme Court explained that
“no coherent understanding of the term [cooperation] would incorporate the
unilateral decision of state officers to arrest an alien for being removable
absent any request, approval, or other instruction from the Federal
Government.” 192 Texas has not demonstrated why the same logic does not
apply to S. B. 4’s entry provisions. Allowing Texas to detain noncitizens
“without any input from the Federal Government about whether an arrest is
        _____________________
        189
            Tex. Penal Code §§ 51.02-03; see also 8 U.S.C. § 1182(a)(9)(B)(ii) (“For
purposes of this paragraph, an alien is deemed to be unlawfully present in the United States
if the alien is present in the United States after the expiration of the period of stay
authorized by the Attorney General or is present in the United States without being
admitted or paroled.”).
        190
              8 U.S.C. § 1252c(a).
        191
              Arizona v. United States, 567 U.S. 387, 408 (2012).
        192
              Id. at 410.




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warranted in a particular case . . . would allow the State to achieve its own
immigration policy.” 193
       Texas argues that “S. B. 4 also provides for return orders and, in lieu
of prosecution, permits an alien to depart voluntarily—something that no
federal law prohibits, and which aliens are free to do themselves.” 194
Relatedly, it asserts “[a]nd like federal law, S. B. 4 makes failure to comply
with a return order a crime.” 195 These laws are not preempted, Texas
maintains, because “[a]n alien can comply with both the federal immigration
code and S.B.4 by entering this country legally at a port of entry, not
reentering illegally, and complying with a valid return or removal order.” 196
But as discussed above, state courts would determine whether the defendant
is illegally present. The defendant would be prosecuted for a crime under
state law if he does not return to the country from which he illegally entered,
without the ability to avail himself of federal laws that might permit him to
remain in the United States. That conflicts with federal law.
       In sum, there are “significant complexities” in determining a
noncitizen’s immigration status. 197 Texas has failed to persuade us that it is
likely to show that the entry, removal, and arrest provisions do not “stand[]




       _____________________
       193
             Id. at 408.
       194
           Texas Mot. at 13 (first citing Tex. Code Crim. Proc. art. 5B.002(c)-(d);
and then citing 8 U.S.C. §§ 1225(b)(1)(A)(i), 1229a(d), 1229c(a)(1)).
       195
          Texas Mot. at 14 (first citing Tex. Penal Code §51.04(a); and then citing 8
U.S.C. §§ 1253(a)(1), 1229a(c)(5)).
       196
             Texas Mot. at 14 (emphasis omitted).
       197
             Arizona, 567 U.S. at 409.




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as an obstacle to the accomplishment and execution of the full purposes and
objectives of Congress.” 198
                                                 C
        In a facial challenge to a legislative act, “the challenger must establish
that no set of circumstances exists under which the Act would be valid.” 199
Texas posits that the district court erred by granting a preliminary injunction
in this facial challenge because some applications of S. B. 4 are valid. 200
Texas’s argument for why S. B. 4 would be valid relates to Texas’s
contention that it has been invaded and has the right to defend itself. Texas
asserts that Article I, § 10 of the Constitution (the State War Clause) permits
some applications of S. B. 4. The State War Clause provides:
        No State shall, without the Consent of Congress, lay any Duty
        of Tonnage, keep Troops, or Ships of War in time of Peace,
        enter into any Agreement or Compact with another State, or
        with a foreign Power, or engage in War, unless actually
        invaded, or in such imminent Danger as will not admit of
        delay. 201
Specifically, Texas contends that, at a minimum, S. B. 4’s application to
transnational cartel members is a constitutionally authorized response to an
“invasion.” 202



        _____________________
        198
              Hines v. Davidowitz, 312 U.S. 52, 67 (1941).
        199
              United States v. Salerno, 481 U.S. 739, 745 (1987).
        200
            Texas Mot. at 15 (asserting that “even if S.B.4 somehow conflicted with federal
statutory law or offended the dormant Commerce Clause, the district court erred because
at least some applications of S.B.4 are constitutional”).
        201
              U.S. Const. art. I, § 10, cl. 3.
        202
              Texas Mot. at 16.




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         But Texas does not demonstrate why it would be entitled to vacatur
of the preliminary injunction. Constitutional text, structure, and history
provide strong evidence that federal statutes addressing matters such as
noncitizen entry and removal are still supreme even when the State War
Clause has been triggered. Such statutes do not pertain to laying any duty of
tonnage; keeping troops or ships of war in time of peace; or entering into any
agreement or compact with another state or a foreign power.
         Texas has not identified any authority to support its proposition that
the State War Clause allows it to enact and enforce state legislation regulating
immigration otherwise preempted by federal law. One would expect a
contemporary commentator to have noticed such a proposition. Instead, in
The Federalist No. 44, James Madison glossed over the portion of the State
War Clause at issue here by writing: “The remaining particulars of this clause
fall within reasonings which are either so obvious, or have been so fully
developed, that they may be passed over without remark.” 203
         Thus, we cannot say Texas has persuaded us that the State War
Clause demonstrates it is likely to succeed on the merits.
         In sum, Texas has not shown that it is likely to succeed on the merits
of plaintiffs’ preemption claims. There is considerable authority supporting
that the core provisions of S. B. 4 are field, or alternatively, conflict
preempted by federal law. Texas has not persuaded us that the State War
Clause is likely to compel a contrary result.




         _____________________
         203
               The Federalist No. 44, at 283 (James Madison) (Clinton Rossiter ed.,
1961).




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                                               D
       The remaining Nken factors are “(2) whether the applicant will be
irreparably injured absent a stay; (3) whether issuance of the stay will
substantially injure other parties interested in the proceeding; and (4) where
the public interest lies.” 204 They weigh against a stay.
       We begin with “whether [Texas] will be irreparably injured absent a
stay.” 205 When a state is seeking to stay a preliminary injunction, it is
generally enough to say that “any time a State is enjoined by a court from
effectuating statutes enacted by representatives of its people, it suffers a form
of irreparable injury.” 206
       But we must also consider whether a stay would injure the United
States, Organization Plaintiffs, and the public interest. 207 Significantly, there
is a high risk that enforcement of S. B. 4 would cause international friction.
Mexico has already protested S. B. 4 and signaled that the statute’s
enforcement would frustrate bilateral efforts, including noncitizen
removals. 208 “In this case, repeated representations by the Executive Branch
supported by formal diplomatic protests and concrete disputes are more than




       _____________________
       204
          Nken v. Holder, 556 U.S. 418, 426 (2009) (internal quotation marks omitted)
(quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987)).
       205
             Id.
       206
       New Motor Vehicle Bd. of Cal. v. Orrin W. Fox Co., 434 U.S. 1345, 1351 (1977)
(Rehnquist, J., in chambers).
       207
             See Nken, 556 U.S. at 426.
       208
           See United States v. Texas, No. 24-CV-8, 2024 WL 861526, at *17 (W.D. Tex.
Feb. 29, 2024); Brief of the Government of the United Mexican States as Amicus Curiae
11-12; ROA.133-34 (Declaration of Eric Jacobstein).




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sufficient to demonstrate that the state Act stands in the way of Congress’s
diplomatic objectives.” 209
        Texas’s enforcement of S. B. 4 also risks taking the United States out
of compliance with its treaty obligations. Under the CAT, for example, “[n]o
State Party shall expel, return (‘refouler’) or extradite a person to another
State where there are substantial grounds for believing that he would be in
danger of being subjected to torture.” 210 S. B. 4 provides an affirmative
defense if the United States has granted asylum to the defendant. 211
However, a noncitizen whose meritorious CAT claim has not yet been
adjudicated may still be refouled under S. B. 4 in violation of the CAT.
        Finally, there are no doubt competing public interest considerations
in permitting S. B. 4 to go into effect as opposed to staying that legislation.
However, the Supreme Court explained in Hines v. Davidowitz 212 that state
and local interests are subservient to those of the nation at large, at least with
regard to matters regarding foreign relations:
        The Federal Government, representing as it does the collective
        interests of the forty-eight states, is entrusted with full and
        exclusive responsibility for the conduct of affairs with foreign
        sovereignties. “For local interests the several states of the
        Union exist, but for national purposes, embracing our relations
        with foreign nations, we are but one people, one nation, one
        power.” Our system of government is such that the interest of
        the cities, counties and states, no less than the interest of the

        _____________________
        209
              Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 386 (2000).
        210
            Convention against Torture and Other Cruel, Inhuman or Degrading
Treatment or Punishment art. 3, opened for signature Dec. 10, 1984, S. Treaty Doc. No. 100-
20 (1988), 1465 U.N.T.S. 85.
        211
              Tex. Penal Code § 51.02(c).
        212
              312 U.S. 52 (1941).




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        people of the whole nation, imperatively requires that federal
        power in the field affecting foreign relations be left entirely free
        from local interference. As Mr. Justice Miller well observed of
        a California statute burdening immigration: “If (the United
        States) should get into a difficulty which would lead to war, or
        to suspension of intercourse, would California alone suffer, or
        all the Union?” 213
        The harms counsel that the equities weigh against a stay.
                                                IV
        We part company with the dissenting opinion in a number of respects,
in addition to those discussed above.
        The dissenting opinion asserts that the district court should not have
granted a preliminary injunction because “Texas state officials should be
trusted at least to try sorting those constitutional applications from any
potentially unconstitutional ones.” 214 There is no authority cited for this,
and we are aware of none outside of the redistricting context. Which “Texas
state officials should be trusted” to do this sorting? 215 How long should a
federal district court stay its hand?
        The dissenting opinion suggests that “state officials” would include
state courts: “our federal system requires us to presume that state courts will
in good faith at least try to honor federal law,” citing a 1884 Supreme Court
decision. 216 The dissenting opinion then says, “I am aware of no authority
that authorizes a federal injunction on the assumption that state courts will
        _____________________
        213
          Id. at 63 (first quoting Ping v. United States, 130 U.S. 581, 606 (1889); and then
quoting Chy Lung v. Freeman, 92 U.S. 275, 279 (1875)).
        214
              Post at 54.
        215
              Post at 54.
        216
              Post at 109 (citing Robb v. Connolly, 111 U.S. 624, 637 (1884)).




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simply ignore federal law.” 217 Other than abstention doctrines, none of
which have been invoked in this case, we are aware of no authority that
suggests a federal court should decline to issue an injunction when a state
statute is otherwise preempted by federal law on the basis that the federal
court should wait to see if a state court proceeding will be filed and the state
court will decline to uphold federal law.
        We disagree that “this entire case is based on hypotheticals.”218
There is no doubt from the district court record that Texas stands ready to
commence arrests, removals, and prosecutions upon the new laws taking
effect. This case is no more “based on hypotheticals” than was Arizona.
Indeed, the Court in Arizona held that federal law preempted multiple
provisions of S. B. 1070 and affirmed a pre-enforcement injunction to
prevent those provisions from taking effect. 219 The dissent’s broad objection
to pre-enforcement injunctions overlooks this context and invites our court
to ignore Arizona’s mandate. That mandate, despite the opinions of two
dissenting Justices, 220 enjoined the preempted provisions of S. B. 1070 prior
to their enforcement. The Arizona Court did not wait and see. 221
        The dissenting opinion asks: “So what of the 1,292,830 aliens who
have been ordered removed by the federal government after having fully
        _____________________
        217
              Post at 109.
        218
              Post at 54.
        219
              Arizona v. United States, 567 U.S. 387, 416 (2012).
        220
            Id. at 426 (Scalia, J., concurring in part and dissenting in part) (“Of course
on this pre-enforcement record there is no reason to assume that Arizona officials will
ignore federal immigration policy . . . .”); id. at 457 (Alito, J., concurring in part and
dissenting in part) (“The trouble with this premature, facial challenge is that it affords
Arizona no opportunity to implement its law in a way that would avoid any potential
conflicts with federal law.”).
        221
              Post at 113.




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‘completed’ their ‘legal process?’ If one of those aliens otherwise violates
the provisions of S.B. 4, could Texas not constitutionally facilitate their
removal?” 222 The Supreme Court’s opinion in Arizona seems to have
answered this. It explains that under federal law, “if an alien is ordered
removed after a hearing, the Attorney General will issue a warrant.” 223 If
state law permitted state officers to arrest such noncitizens “without any
input from the Federal Government about whether an arrest is warranted in
a particular case . . . [t]his would allow the State to achieve its own
immigration policy.” 224 Justice Scalia’s dissenting opinion in Arizona
argued that “there is no reason Arizona cannot make it a state crime for a
removable alien . . . to remain present in Arizona.” 225 But a majority of the
Court rejected that proposition in Arizona.
       The dissenting opinion asserts that “S.B. 4’s arrest provisions mirror
the INA’s detention provisions.” 226 That may be so as far as prohibitions as
to the premises on which an arrest can occur. But what happens immediately
following an arrest is in striking conflict with federal law. Under the
challenged state law, a defendant would be taken before a state magistrate
who may order the defendant released from custody and order the defendant
to return to the foreign nation from which the person entered or attempted
to enter, if the defendant agrees to such an order and has not previously been
convicted under Chapter 51 of the Texas Penal Code, or previously obtained



       _____________________
       222
             Post at 106 (citation omitted).
       223
             Arizona, 567 U.S. at 408 (citing 8 C.F.R. § 241.2(a)(1)).
       224
             Id.
       225
             Id. at 427 (Scalia, J., concurring in part and dissenting in part).
       226
             Post at 52.




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a discharge order under the new state law. 227 A defendant has no opportunity
to seek asylum, to assert a CAT claim, or to seek waivers to admission bars
from the United States Attorney General. If a person is “removed” in this
manner, that removal will count under Texas law such that if the defendant
reenters the state, there are criminal consequences. 228 Under federal law, as
discussed above, a defendant arrested for illegal entry or reentry has the right
to pursue asylum and CAT claims, as well as to seek relief from the United
States Attorney General. Under the challenged S. B. 4, if a defendant does
not agree to return to the country from which he entered or attempted to
enter, prosecution will proceed without the opportunity seek any of the relief
described.
       Many of the arguments the dissenting opinion puts forth are similar if
not identical to those Justice Scalia discussed in his concurring and
dissenting opinion in Arizona. They did not carry the day in Arizona, and we
are not free to ignore the reasoning in Arizona.
       There is much more in the dissenting opinion with which we disagree.
But in the interest of deciding the motion for a stay in a timely manner, we
forego further discussion.
                                 *         *        *
       Texas’s motion for a stay pending appeal is DENIED.




       _____________________
       227
             Tex. Code Crim. Proc. art. 5B.002(b).
       228
             Tex. Penal Code § 51.03(c).




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Andrew S. Oldham, Circuit Judge, dissenting:
       I would grant the stay. The plaintiffs in this case won a facial, pre-
enforcement injunction against Texas’s Senate Bill 4. That injunction
prevents enforcement of any part of S.B. 4 against anyone at any time and
under any circumstances forever. To defend that global injunction, and to
take from Texas its sovereign prerogative to enact a law that its people and
its leaders want, plaintiffs must show that S.B. 4 is unconstitutional in every
one of its potential applications.
       Plaintiffs likely cannot make that showing. Start with field
preemption. The Supreme Court has never extended field preemption to any
part of the immigration laws beyond alien registration. Alien registration is of
course an exclusively federal prerogative. See Arizona v. United States, 567
U.S. 387, 400–03 (2012); Hines v. Davidowitz, 312 U.S. 52, 74 (1941). But
S.B. 4 does not have anything to do with alien registration. And it is hard to
see how every application of every provision of S.B. 4 interferes with some
other purportedly “exclusive” aspect of the Federal Government’s power
over immigration. One provision of the bill merely criminalizes something
Congress already criminalized in the Immigration and Nationality Act
(“INA”). Compare Tex. Penal Code § 51.02(a), with 8 U.S.C. § 1325(a).
And that provision applies only to aliens whom Congress has deemed
statutorily inadmissible. See 8 U.S.C. § 1182(a)(6). It is a mystery how the
majority can hold that two materially identical provisions can “conflict” in
every single one of their imaginable applications.
       Congressional intent is the touchstone of preemption. Cipollone v.
Liggett Grp., Inc., 505 U.S. 504, 516 (1992). The Department of Justice’s field
preemption argument thus boils down to the notion that Congress, by
banning aliens from entering the United States somewhere other than a
lawful port of entry, and by excluding aliens who attempt to enter the United




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States somewhere other than a lawful port of entry, intended to disable States
from taking action to prevent aliens from entering the United States
somewhere other than a lawful port of entry. That makes little sense. The
briefing and the record before us suggest this is the very first case in the
history of our Nation to extend field preemption beyond the INA’s alien-
registration provisions. That is a momentous step, and this case presents no
reason to take it.
       Next consider conflict preemption. On this the majority opinion and
the plaintiffs have much less to say. That is presumably because S.B. 4’s
arrest provisions mirror the INA’s detention provisions. And without a
conflict, of course, there can be no conflict preemption. The only other
conflict preemption argument the majority can muster is that Congress
affirmatively contemplated a role for states in enforcing federal immigration
law. See, e.g., 8 U.S.C. § 1252c; id. § 1357(g). The majority nowhere mentions
that the very same Justice Department that now says those provisions
preempt all state immigration laws once held precisely the opposite. See, e.g.,
Off. Legal Couns., Non-Preemption of the Authority of State and Local
Law Enforcement Officials to Arrest Aliens for Immigration Violations 11 (2002),
https://perma.cc/TS4N-J4D5.
       Today’s decision means that we’ll likely never know how Texas’s
state courts and its state law-enforcement officers would have implemented
S.B. 4. The law has not gone into effect because a federal district judge
entered a global injunction against it and against all of its hypothetical
applications. See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008)
(“A preliminary injunction is an extraordinary remedy never awarded as of
right.”). Today the majority denies the State’s request to stay that
injunction. In a about a week, our same panel will consider the preliminary
injunction under 28 U.S.C. § 1292(a)(1) and presumably affirm it for
substantially the same reasons given in the majority opinion above. Then the



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district court will presumably have a trial before entering a permanent
injunction. But it’s unclear what there is to try—both because of today’s
preemption holding and because then as now there will be zero applications
of the state law to anyone. If the case comes back to us for another appeal, it
will be controlled by our § 1292(a)(1) decision under the rule of orderliness.
So, absent intervention by the en banc court or the Supreme Court, that will
be that.
       There is real peril in this approach. In our federal system, the State of
Texas is supposed to retain at least some of its sovereignty. And its people
are supposed to be able to use that sovereignty to elect representatives and
send them to Austin to debate and enact laws that respond to the exigencies
that Texans experience and that Texans want addressed. The people of
Texas also elect state judges who are entrusted to interpret both state and
federal law. And much (all?) of the federal system depends on the
presumption of parity—that state courts are just as well-equipped and just as
capable as their federal counterparts at interpreting and implementing federal
law. See Henry M. Hart, The Power of Congress to Limit the Jurisdiction of
Federal Court: An Exercise in Dialectic, 66 Harv. L. Rev. 1362, 1363–64
(1953); Charles Warren, Federal Criminal Laws and the State Courts, 38
Harv. L. Rev. 545, 547 (1925); The Federalist No. 82, at 426–28
(Hamilton) (Carey & McClellan eds., 2001) (“[T]he inference seems to be
conclusive, that the State courts would have a concurrent jurisdiction in all
cases arising under the laws of the Union, where it was not expressly
prohibited.”).
       If S.B. 4 had been allowed to go into effect, there are at least some
applications of it that would have comported with the Constitution’s
Supremacy Clause. And even if a particular application of S.B. 4 raised
particular preemption problems, they could be solved with the scalpel of as-
applied relief in a future case as opposed to the machete of global invalidation



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in this one. For example, the majority’s principal concern—that aliens could
be subjected to S.B. 4 without the procedural and substantive federal rights
afforded to asylees, refugees, &c. under federal law—could be redressed by
as-applied injunctions against the state law’s non-abatement provision. That
would allow the state law to go into effect in at least some cases while
preserving the supremacy of federal law in all cases. The people of Texas are
entitled to the benefit of state law right up to the point where any particular
application of it offends the Supremacy Clause. And Texas state officials
should be trusted at least to try sorting those constitutional applications from
any potentially unconstitutional ones. That is the way federalism is supposed
to work. As this case illustrates, however, all of that is nullifiable by one
global, pre-enforcement injunction issued by a federal district judge.
       Worse, this entire case is based on hypotheticals. “Under Article III,
federal courts do not adjudicate hypothetical or abstract disputes. Federal
courts do not possess a roving commission to publicly opine on every legal
question.” TransUnion LLC v. Ramirez, 594 U.S. 413, 423 (2021). Yet when
it comes to a facial, pre-enforcement challenge and a global injunction like
the one issued by the district court, the federal judge ignores the plaintiffs in
this case—none of whom are the subjects of S.B. 4 and none of whom could
ever be injured by it directly. And the judge instead says, “I have channeled
my Nostradamusonian power to see every potential future application of this
State’s law to parties not before me, and I have imagined every conceivable
argument that every conceivable hypothetical party could ever make for and
against those imaginary applications of the State’s law to those imaginary
facts, and I hereby hold all of them are unconstitutional.” Today’s majority
opinion embraces that conception of the federal judicial power. Our
federalism is poorer for it. See 17B Vikram David Amar, Wright &
Miller’s Federal Practice and Procedure § 4251 (3d ed.; Apr.
2023 update) (“[T]he doctrine of ‘Our Federalism’ . . . “teaches that federal




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courts must refrain from hearing constitutional challenges to state action
under certain circumstances in which federal action is regarded as an
improper intrusion on the right of a [S]tate to enforce its laws in its own
courts.”).
       Much ink has been spilled about whether one federal district judge can
issue nationwide equitable relief pursuant to, for example, the Administrative
Procedure Act. The APA authorizes federal courts to “hold unlawful and set
aside” a federal agency’s administrative action in certain circumstances. 5
U.S.C. § 706(2). Our court, like the D.C. Circuit and others, interprets that
text to make vacatur the default administrative-law remedy. See, e.g., Brown
Exp., Inc. v. United States, 607 F.2d 695, 703 (5th Cir. 1979) (vacating rule);
Chamber of Com. of United States v. SEC, 88 F.4th 1115, 1118 (5th Cir. 2023)
(describing vacatur as APA’s “default rule” (quotation omitted)); United
Steel v. Mine Safety & Health Admin., 925 F.3d 1279, 1287 (D.C. Cir. 2019)
(“The ordinary practice is to vacate unlawful agency action.”). The vacatur
default rule might be right, or it might be wrong. But at a minimum, it’s
rooted in the text of a statute passed by Congress. And in any event, it’s a
remedy imposed by one federal branch (the judiciary) against another (the
executive branch) under a statute passed by another (the legislative branch).
The global, pre-enforcement remedy imposed by the district court and
embraced by today’s majority is based in no text. And it’s implied to vacate
a statute enacted by a sovereign State. So whatever concerns might surround
nationwide APA remedies, they presumably apply a fortiori to the Statewide
injunction here.
       One final point by way of introduction. Today’s majority opinion
repeatedly accuses me of recycling points that Justice Scalia made in his
dissenting opinion in Arizona. See ante, at 48, 49, 50. But that criticism is
misplaced. My concerns about the facial, pre-enforcement posture of the
injunction in this case come straight from the Arizona majority’s opinion:



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       The nature and timing of this case counsel caution in
       evaluating the validity of § 2(B) [in Arizona’s law]. The
       Federal Government has brought suit against a sovereign State
       to challenge the provision even before the law has gone into
       effect. There is a basic uncertainty about what the law means
       and how it will be enforced. At this stage, without the benefit
       of a definitive interpretation from the state courts, it would be
       inappropriate to assume § 2(B) will be construed in a way that
       creates a conflict with federal law. Cf. Fox v. Washington, 236
       U.S. 273, 277 (1915) (“So far as statutes fairly may be
       construed in such a way as to avoid doubtful constitutional
       questions they should be so construed; and it is to be presumed
       that state laws will be construed in that way by the state courts”
       (citation omitted)). As a result, the United States cannot
       prevail in its current challenge. See Huron Portland Cement Co.
       v. Detroit, 362 U.S. 440, 446 (1960) (“To hold otherwise would
       be to ignore the teaching of this Court’s decisions which enjoin
       seeking out conflicts between state and federal regulation
       where none clearly exists”). This opinion does not foreclose
       other preemption and constitutional challenges to the law as
       interpreted and applied after it goes into effect.
Arizona, 567 U.S. at 415. I would embrace those same points here; allow
Texas’s law to go into effect; wait for an actual conflict to arise between state
and federal law; and then consider an as-applied preemption challenge at the
appropriate time. Because the majority holds otherwise, I respectfully
dissent.
                                       I.
                                       A.
       According to President Biden, our Nation is beset by an
unprecedented immigration “crisis.” The White House, Statement from
President Joe Biden on the Bipartisan Senate Border Security Negotiations (Jan.
26, 2024), https://perma.cc/K9S8-TLZV. Congress estimates that more




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than 6 million aliens 1 unlawfully crossed the Southern border between
January 2021 and September 2023. See House Judiciary Comm., New
Data Reveal Worsening Magnitude of the Biden Border Crisis and Lack of Interior
Immigration Enforcement, at 2 (Jan. 18, 2024), https://perma.cc/5USD-
YX6F. The Department of Homeland Security (“DHS”) released 3.3 million
of those aliens into the country. Id. at 1. In the same period, another 1.7
million aliens—so-called “gotaways”—entered the country while evading
border security altogether. Id. at 2. As of January 18, 2024, DHS removed
approximately 0.3% of the aliens it caught during the first 33 months of the
Biden Administration and 0.175% of the estimated total who crossed illegally.
Id. at 4.
        Between FY2021 and FY2024, DHS encountered 336 aliens at the
border who were on the terrorist watchlist. Banks Decl. ¶ 21. That is a 2,140%
increase from the period FY2017 to FY2020. See ibid. DHS border personnel
also arrested 1,819 gang-affiliated aliens. Id. at ¶ 23. And Texas alone seized
461 pounds of fentanyl near its border with Mexico—enough to kill roughly
one-third of the entire American population. Id. at ¶ 31. That is on top of
27,800 pounds of marijuana, 6,000 pounds of cocaine, and 14,100 pounds of
methamphetamine. Ibid. That is why the FBI Director recently testified that
Border insecurity is “a source of great concern for [the FBI].” FBI Director
Wray Confirms the Border Crisis Poses Major Homeland Security Threat, DHS
Secretary Mayorkas Stonewalls, Homeland Sec. Comm.: Republican
(Nov. 15, 2023), https://perma.cc/9H4V-WCX7.


        _____________________
        1
         I use the term “alien” because that is the one Congress used throughout the INA.
And even those who have expressed concern about the term nonetheless use it “where
necessary to be consistent with the statutory language that Congress has chosen and to
avoid any confusion in replacing a legal term of art with a more appropriate term.” Trump
v. Hawaii, 585 U.S. 667, 746 (2018) (Sotomayor, J., dissenting) (quotation omitted).




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        The problems at the border stem—at least in part—from DHS’s
decision not to enforce the immigration laws Congress wrote. As Chief Judge
Moses observed from the frontline of the crisis in Del Rio, DHS is “obviously
derelict in enforcing” its “statutory duties.” Texas v. DHS, No. DR-23-CV-
00055-AM, 2023 WL 8285223, at *14 (W.D. Tex. Nov. 29, 2023). Take for
example, DHS’s decision to release 3.3 million aliens who illegally entered
the country. Congress affirmatively prohibited DHS from releasing those
aliens. That is because Congress expressly made each of those aliens
statutorily inadmissible. See 8 U.S.C. § 1182(a)(6)(A), (7). And Congress
told DHS it “shall” remove from the country any alien who is inadmissible
unless the alien “indicates either an intention to apply for asylum . . . or a fear
of persecution.” Id. § 1225(b)(1)(A)(i). If an alien indicates an intention to
apply for asylum or a fear of persecution, Congress told DHS it “shall”
detain that alien until DHS makes a final determination of the alien’s
admissibility. Id. § 1225(b)(1)(B)(iii)(IV). 2 Shall is a mandatory word, and
mandatory words impose a duty. Spivey v. Chitimacha Tribe of Louisiana, 79
F.4th 444, 447 (5th Cir. 2023) (citing Antonin Scalia & Bryan A.
Garner, Reading Law: The Interpretation of Legal Texts
112 (2012)). That means Congress imposed upon DHS a duty to remove
inadmissible aliens who arrive at the border unless those aliens indicate an
intention to apply for asylum or a fear of persecution. And in the event an
alien does either of those things, Congress imposed upon DHS a duty to
detain the alien pending evaluation of his claim to asylum or other relief from
removal. Nowhere did Congress authorize DHS to disregard those duties and
release millions of unauthorized aliens who have not yet been deemed

        _____________________
        2
         The sole statutory alternative to detention pending admissibility proceedings is
that DHS may temporarily return certain aliens to the country from which they entered the
United States. 8 U.S.C. § 1225(b)(2)(C).




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admissible. See Texas v. Biden, 20 F.4th 928, 993–96 (5th Cir. 2021), rev’d on
other grounds and remanded, 597 U.S. 785 (2022); see also Biden v. Texas, 597
U.S. 785, 803–04 (2022) (assuming “that the Government is currently
violating its obligations under [§ 1225(b)]” to detain covered aliens). The
Government might have its reasons for not following § 1225(b)’s detention
obligations, and would-be plaintiffs might not be able to use federal courts to
enforce those obligations. See Biden v. Texas, 597 U.S. at 813–14. But it cannot
be denied that Congress spoke clearly; that aliens covered by § 1225(b)
“shall” be detained in ways that prevent their release into the United States;
and that DHS has not followed Congress’s instructions.
       The effects of DHS’s non-enforcement fall disproportionately on
Texas because that State shares a 1,254-mile border with Mexico. The State
tells us the recent influx of unauthorized aliens has resulted in “an increase
in crimes against property owners and residents along the border,” and that
since 2021 there have been there have been 9,886 criminal trespass arrests
and 4,353 vehicle bailouts in the border region. ROA.285. It also tells us that
in the same time period it has made 39,054 criminal arrests near the border,
including 35,289 felony arrests, and that it has seized inordinate quantities of
illegal drugs. Ibid.
       In light of those and other problems, Texas has taken dramatic steps
to curb the flow of unauthorized aliens into the State. For example, Governor
Abbott declared Texas’s border with Mexico to be in a state of disaster on
May 31, 2021, and he has renewed that declaration 32 times. ROA.286. Since
the Governor’s first disaster declaration, Texas has spent $11.2 billion on
border security. Ibid. And it has deployed thousands of National Guard units
to the border.




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                                       B.
         Texas’s S.B. 4 is one part of Texas’s border security effort. The Texas
legislature passed S.B. 4 to prevent unlawful entry into Texas from a foreign
Nation. Three provisions are relevant here.
                                        1.
         First, S.B. 4 prohibits “[a] person who is an alien” from “enter[ing]
or attempt[ing] to enter [Texas] directly from a foreign nation at any location
other than a lawful port of entry.” Tex. Penal Code § 51.02(a). “Port of
entry” is defined by reference to federal regulations, see id. § 51.01(2), so
§ 51.02(a) simply criminalizes as a matter of state law something that is
already criminal as a matter of federal law. See 8 U.S.C. § 1325(a) (prohibiting
entry or attempted entry into “the United States at any time or place other
than as designated by immigration officers”).
         To ensure that the provision does not conflict with federal
immigration law, § 51.02 contains two express affirmative defenses: (1) That
the alien’s “conduct does not constitute a violation of 8 U.S.C. [§] 1325(a).”
Tex. Penal Code § 51.02(c)(2). And (2) that the federal government has
granted the alien lawful presence or asylum. Id. § 51.02(c)(1). Section
51.02(a)’s penalty provisions are similar to those of its federal law analog. A
violation of § 51.02(a) is a Class B misdemeanor punishable by up to $2,000
in fines and 180 days of imprisonment. Id. § 51.02(b); see id. § 12.22; cf. 8
U.S.C. 1325(a) (first offense punishable by fine or imprisonment of not more
than six months, or both). A repeat offense is a felony punishable by a fine of
up to $10,000 and imprisonment between 180 days and two years. Tex.
Penal Code § 51.02(b); see id. § 12.35; cf. 8 U.S.C. § 1325(a) (second
offense punishable by fine or imprisonment of not more than two years, or
both).




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                                      2.
       Second, S.B. 4 makes it unlawful for “[a] person who is an alien” to
“enter[], attempt[] to enter, or [be] found in this state after the person:
(1) has been denied admission to or excluded, deported, or removed from the
United States; or (2) has departed from the United States while an order of
exclusion, deportation, or removal is outstanding.” Tex. Penal Code
§ 51.03(a). Like § 51.02(a), § 51.02(b) simply criminalizes as a matter of state
law something that is already criminal as a matter of federal law. See 8 U.S.C.
§ 1326(a) (criminalizing entry or attempted re-entry by an alien into the
United States after that alien “has been denied admission, excluded,
deported, or removed or has departed the United States while an order of
exclusion, deportation, or removal is outstanding”).
       Ordinarily, a violation of § 51.03(a) is a Class A misdemeanor
punishable by fines up to $4,000 and imprisonment for up to one year. Tex.
Penal Code § 51.03(b); see id. § 12.21. But like its federal law analog,
§ 51.03(b) prescribes more severe punishments for aliens who re-enter or
attempt to re-enter Texas after being removed from the United States for
certain conduct. A violation of § 51.03(b) is a third-degree felony punishable
by a fine up to $10,000 and imprisonment between two and ten years in three
circumstances: First, “the defendant’s removal was subsequent to a
conviction for commission of two or more misdemeanors involving drugs,
crimes against a person, or both.” See id. § 51.03(b)(1)(A); cf. 8 U.S.C.
§ 1326(b)(1). Second, the defendant was removed or excluded for terrorist-
related activities. See Tex. Penal Code § 51.03(b)(1)(B)–(C); cf. 8
U.S.C. § 1326(b)(3). Third, the alien was removed while incarcerated for a
non-violent offense pursuant to 8 U.S.C. § 1231(a)(4)(B). Tex. Penal
Code § 51.03(b)(1)(D); see 8 U.S.C. § 1326(b)(4). A violation of § 51.03(b)
is a second-degree felony punishable by fines up to $10,000 and
imprisonment between two and twenty years if “the defendant was removed



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subsequent to a conviction for the commission of a felony.” Tex. Penal
Code § 51.03(b)(2); see 8 U.S.C. § 1326(b)(1).
                                       3.
       Lastly S.B. 4 provides for the removal of aliens by the State in two
circumstances. First, in most cases the bill allows a judge to dismiss a charge
brought against an alien under § 51.02 or § 51.03 if the alien consents to an
order requiring him “to return to the foreign nation from which [he] entered
or attempted to enter” Texas. Tex. Code Crim. Proc. art. 5B.002(a)–
(c). The practical effect of that provision is to allow an alien to voluntarily
remove himself to Mexico instead of facing prosecution under S.B. 4.
Second, if an alien is convicted of an offense defined by S.B. 4, the statute
requires the presiding judge to “enter in the judgment in the case an order
requiring the person to return to the foreign nation from which the person
entered or attempted to enter” Id. art. 5(B).002(d). It is unclear from the text
of S.B. 4 how precisely the State, its law-enforcement officials, and its courts
intend to effectuate those removals.
                                       C.
       This appeal consolidates suits brought by several plaintiffs to enjoin
enforcement of S.B. 4 before its effective date. The United States sued the
State of Texas, the Texas Department of Public Safety, Governor Abbott,
and Texas Director of Public Safety Steven McCraw. Separately, two
nonprofit legal organizations and a Texas county sued McCraw and District
Attorney for the 34th District of Texas Bill Hicks. The plaintiffs sought an
injunction against enforcement of S.B. 4—not a specific provision or set of
provisions but rather the whole law. Plaintiffs argued they are entitled to such
relief on the ground that S.B. 4 is preempted by federal immigration laws.
The United States also argued it was entitled to relief because S.B. 4 unduly




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discriminates against the movement of persons across an international border
in violation of the Dormant Foreign Commerce Clause.
       The district court agreed with the plaintiffs, so it granted a preliminary
injunction against S.B. 4 in its entirety. As a threshold matter, the court held
that all plaintiffs’ claims are justiciable. In doing so, it rejected five arguments
Texas lodged against justiciability: (1) that the non-profit plaintiffs lack
standing because S.B. 4 does not cause them any judicially cognizable injury;
(2) that the county lacks standing because counties lack standing to sue their
parent states; (3) that the non-profit plaintiffs’ and the county’s suits against
McCraw and Hicks are barred by sovereign immunity; (4) that the Federal
Government has an equitable cause of action under In re Debs, 158 U.S. 564
(1895), only to abate a public nuisance; and (5) that the equitable cause of
action under Ex parte Young, 209 U.S. 123 (1908), relied on by the non-profit
plaintiffs and the county does not extend to suits brought to remedy indirect
injuries.
       The district court then identified two constitutional flaws in S.B. 4.
       First, it held S.B. 4 violates the Supremacy Clause because it is
preempted by federal immigration law. The court reasoned S.B. 4 is field
preempted because the Federal Government “has a dominant and supreme
interest in the field of immigration” and “has enacted a framework of
regulation so pervasive that Congress left no room for the States to
supplement it.” Op. at 33–34. In the district court’s view, S.B. 4’s removal
provisions are “an especially problematic intrusion on federal prerogatives”
because removal “touches upon some of the most sensitive foreign affairs
considerations of federal immigration policy.” Id. at 38–39. The court also
found that even if S.B. 4 is not field preempted, it is conflict preempted for
four reasons: (1) S.B. 4 “provides state officials the power to enforce federal
law without federal supervision,” which conflicts with a purported




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congressional directive that DHS supervise all enforcement of any law in any
part of the nation touching on immigration. Id. at 54. (2) S.B. 4 “divests
federal immigration authorities of the discretion of the enforcement of
immigration laws,” which is problematic because immigration “touches on
delicate considerations of foreign affairs,” especially in the context of
removal. Id. at 55; see id. at 58. (3) S.B. 4 directs state judges “not [to] abate
the prosecution” of noncitizens on “the basis that a federal determination
regarding the immigration status of the defendant is pending or will be
initiated.” Tex. Code Crim. Proc. art. 5B.003. That means in some
circumstances S.B. 4 may direct state judges to enter a removal order
regarding a citizen to whom the federal government might eventually grant
lawful presence of some kind. Op. at 55–56. (4) S.B. 4 conflicts with a
provision in the federal immigration laws that specifies state officials may
“cooperate with the Attorney General in the identification, apprehension,
detention, or removal of aliens not lawfully present in the United States.” 8
U.S.C. § 1357(g)(10)(B); see Op. at 61.
       Second, the court held S.B. 4 violates the Dormant Foreign
Commerce Clause. The court explained that is so for two reasons: (1) S.B. 4
facially discriminates against the movement of persons across an
international border, which is commerce. Op. at 64. And (2) S.B. 4
undermines “the ability of the federal government to speak with one voice in
regulating commercial affairs with foreign states.” Id. at 64–65 (quotation
omitted).
       The court       proceeded to reject        Texas’s    argument     that—
notwithstanding the Supremacy Clause, the Foreign Commerce Clause, or
any other constitutional provision—Texas is constitutionally entitled to take
unilateral action to secure the border because a situation in which hundreds
of thousands of illegal aliens unlawfully cross into the United States through
Texas constitutes an “invasion.” See U.S. Const. art. I, § 10, cl. 3 (“No



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State shall, without the Consent of Congress, lay any Duty of Tonnage, keep
Troops, or Ships of War in time of Peace, enter into any Agreement or
Compact with another State, or with a foreign Power, or engage in War,
unless actually invaded, or in such imminent Danger as will not admit of
delay.”) (emphasis added); id. art. IV, § 4, cl. 2 (“The United States . . . shall
protect [every State in this Union] against Invasion[.]”).
        In doing so, the court quipped that “[t]o discuss ‘invasion’ at length
is to take [Texas’s] argument more seriously than it deserves.” Op. at 65.
Nevertheless, the court did discuss the argument at length. It first reasoned
the question of whether immigration constitutes an invasion such that Texas
is entitled to take action that would otherwise violate the Constitution is
justiciable. Id. at 98. It then reasoned the word “invasion” in the
Constitution is most naturally read to “refer to an armed, hostile, organized
force entering an area to conquer or plunder.” Id. at 69. Since the aliens
crossing the border generally are neither armed nor coming to conquer or
plunder, the court reasoned they are not invaders, which means Texas has no
constitutional authority to engage in border-related self-help.
       In sum, the court held plaintiffs were likely to succeed on the merits.
And it held the remaining Winter factors supported preliminary injunctive
relief. The court reasoned all plaintiffs would suffer irreparable harm if S.B.
4 were allowed to take effect. That is because in the court’s view, the United
States incurs per se irreparable harm any time a statute violates the
Supremacy Clause. Moreover, the district court explained allowing S.B. 4 to
take effect would interfere with federal immigration policy and could
jeopardize the Federal Government’s immigration-related talks with
Mexico. And the court contended the non-profit plaintiffs and the county
would suffer irreparable harm because they would incur monetary expenses
that could not easily be recovered. Finally, the court held the public interest
factor cut in favor of the plaintiffs because “a [S]tate’s frustration of federal



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statutes and prerogatives is not in the public interest.” Id. at 108 (quotation
omitted).
                                               II.
        To succeed on its stay application, Texas must first demonstrate that
it is likely to succeed on the merits in its appeal of the district court’s
preliminary injunction. Nken v. Holder, 556 U.S. 418, 426 (2009).
        In my view, Texas satisfied that burden. I (A) explain it is doubtful
that the claims in this suit are even justiciable. Then I (B) explain plaintiffs’
preemption arguments are likely to fail. Next, I (C) explain the United States’
Dormant Foreign Commerce Cause claim is likely to fail. Lastly, I
(D) respond to two assertions in the majority opinion.
                                               A.
        At the outset, it is unclear that any plaintiff has a right to bring this
suit. A plaintiff ordinarily cannot ask for relief in federal court unless it can
point to a statute authorizing it to bring suit—that is, unless it has a cause of
action. See Green Valley Special Util. Dist. v. City of Schertz, 969 F.3d 460, 494
(5th Cir. 2020) (en banc) (Oldham, J., concurring) (noting that a court
usually cannot act unless “Congress . . . empower[s] [the] specific parties to
invoke our jurisdiction and to seek their specified remedy.”). That is because
“[c]ourts are not legislatures with a free-ranging ability to correct mistakes.”
Ibid. (Oldham, J., concurring). The cause-of-action requirement exists to
“help[] courts stay in their lane.” Id. at 497 (Oldham, J., concurring).
        Here, no plaintiff alleges that Congress has authorized its suit.
Instead, each plaintiff invokes only an implied equitable cause of action. 3 But
        _____________________
        3
          This is a suit at equity, and it is technically incorrect to say that a plaintiff needs a
cause of action to bring a suit at equity. See Samuel L. Bray & Paul B. Miller, Getting into
Equity, 97 Notre Dame L. Rev. 1763, 1764 (2022). Nevertheless, a plaintiff cannot sue




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courts of equity, like courts of law, cannot create causes of action ex nihilo. In
fact, the Supreme Court has instructed that “the equity jurisdiction of the
federal courts is the jurisdiction in equity exercised by the High Court of
Chancery in England at the time of the adoption of the Constitution and the
enactment of the original Judiciary Act, 1789.” Grupo Mexicano de Desarrollo
S.A. v. All. Bond Fund, Inc., 527 U.S. 308, 318 (1999). That means if plaintiffs’
claims are cognizable, they must be grounded in “traditional equity
practice.” Whole Woman’s Health v. Jackson, 595 U.S. 30, 39 (2021).
        Notwithstanding the majority’s assertion to the contrary, see ante, at
9, it is plaintiffs’ burden to establish a right to bring this suit. See, e.g., Wilson
v. Birnberg, 667 F.3d 591, 595 (5th Cir. 2012); see also Hochendoner v. Genzyme
Corp., 823 F.3d 724, 730 (1st Cir. 2016) (“[T]he plaintiff bears the burden of
plausibly alleging a viable cause of action.”). The United States alleges that
its claim is authorized by the Supreme Court’s decision in In re Debs. And the
non-profit plaintiffs and the county allege their suit is authorized by Ex parte
Young. I consider each contention in turn. Then I consider the majority’s
assertion that, if all else fails, DOJ can invoke Ex parte Young as if it were a
private party.
                                            1.
        First, Debs. That case concerned the lawfulness of an order issued by
a federal court to enjoin a labor strike. The case arose after the United States
sought an injunction against strikers in federal district court. Aditya Bamzai
& Samuel L. Bray, Debs and the Federal Equity Jurisdiction, 98 Notre
Dame L. Rev. 699, 721 (2022). The United States had no statutory cause
        _____________________
at equity unless his suit comes within some traditional head of “equitable jurisdiction.”
Ibid. That is, to invoke equitable jurisdiction, a plaintiff is required to show that his
grievance is the kind of grievance that equity has traditionally remedied. For simplicity, I
refer to that requirement as a cause of action.




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of action; it simply invoked the district court’s equitable jurisdiction. In any
event, the district court granted an injunction. See Debs, 158 U.S. at 581.
Eugene Debs violated the injunction, so a district judge held him in contempt
and sentenced him to six months imprisonment. Bamzai & Bray, supra, at
721.
           Debs then sought a writ of habeas corpus from the Supreme Court.
Ibid. He argued in relevant part that his imprisonment was invalid because
the district court was without authority to enjoin him. Most importantly,
Debs argued that federal courts are powerless to grant equitable relief to
parties who do not have a property interest at stake in the proceedings. Ibid.
That argument was grounded in the fact that, traditionally, courts of equity
could not grant relief in suits that had no connection to a property interest.
See id. at 714–16. Thus, the essence of the habeas claim was that the United
States may not invoke the equitable jurisdiction of federal courts without
statutory authorization unless the suit implicates some property interest held
by the United States.
           The Supreme Court rejected the habeas claim and upheld the district
court’s order granting injunctive relief. In re Debs, 158 U.S. at 600. But the
Court’s reasoning was ambiguous. On the one hand, the Court paid homage
to the traditional limitations on its equitable jurisdiction. It explained the
Federal Government’s suit was authorized by the fact that one of its purposes
was to protect its property interest in the mails. See id. at 583 (“It is said that
equity only interferes for the protection of property, and that the government
has no property interest. A sufficient reply is that the United States have a
property in the mails, the protection of which was one of the purposes of this
bill.”).
           On the other hand, the Court explained that it did “not care to place
[its] decision upon this ground alone.” Id. at 584; see id. at 586 (“[T]he mere




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fact that the government has no pecuniary interest in the controversy is not
sufficient to exclude it from the courts, or prevent it from taking measures
therein to fully discharge those constitutional duties.”). The Court noted
that the labor strike obstructed the public highways. Id. at 587. And it
explained that obstruction of the highways constitutes “a public nuisance,
[which] has always been held subject to abatement at the instance of the
government.” Ibid. So for that additional reason, the Court held the United
States’ suit was justified, notwithstanding the lack of statutory authorization.
See id. at 592; see also United Steelworkers of Am. v. United States, 361 U.S. 39,
61 (1959) (Frankfurter, J., concurring) (“The crux of the Debs decision” was
“that the Government may invoke judicial power to abate what is in effect a
nuisance detrimental to the public interest.”).
       The United States apparently reads Debs to suggest that it has
unlimited power to seek nonstatutory equitable relief to remedy violations of
the Supremacy Clause. But Debs does not say that. Instead, the Debs Court
contemplated that there are limits on the Federal Government’s power to
seek nonstatutory equitable relief. The Federal Government was able to
invoke equity jurisdiction in Debs only because (1) traditional equitable
principle allowed the United States to protect its property interests, and
(2) the United States brought the suit to abate a public nuisance in
accordance with longstanding equitable principles.
       Even that limited conception of the implied cause of action under Debs
is peculiar. Ordinarily when the executive branch acts on behalf of the United
States it acts pursuant to some congressional authorization: An executive
branch “agency literally has no power to act . . . unless and until Congress
confers power upon it.” Louisiana Pub. Serv. Comm’n v. FCC, 476 U.S. 355,
374 (1986). By definition a Debs suit does not rest on congressional
authorization. Rather, in seeking nonstatutory equitable relief under Debs,
the Justice Department is asserting some unwritten implied power to seek



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relief on behalf of the whole Federal Government. Under our system of
separated powers, however, one administrative agency (even an important
one like DOJ) is not the Federal Government. See, e.g., Mila Sohoni, Equity
and the Sovereign, 97 Notre Dame L. Rev. 2019, 2029 (2022) (noting
that in Debs “the Court seemingly equated the executive branch with ‘the
government’; it neither broached nor answered the question of why the
executive branch was entitled to seek an equitable remedy without being
authorized to do so by Congress.”).
        Supremacy Clause violations do not implicate the Federal
Government’s property interests, nor do they constitute public nuisances. It
is thus unclear that Debs helps the Federal Government here. Nor does the
United States point to any case in which the Supreme Court or this court has
expanded the Debs cause of action to encompass nonstatutory Supremacy-
Clause-based suits for equitable relief. It can only muster that no one
questioned the Federal Government’s right to bring suit in Arizona. See ante,
at 7 (embracing this argument). But Arizona is of no help to the United States
or today’s majority because the Arizona Court did not address its equitable
jurisdiction at all. Cf. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 91
(1998) (“[D]rive-by jurisdictional rulings . . . have no precedential effect.”). 4
Thus, the Federal Government has not grounded its invocation of our
equitable jurisdiction in any precedent. And that matters because the
Supreme Court has made clear that our equitable jurisdiction is constrained

        _____________________
        4
           At oral argument, the United States invoked United States v. American Bell
Telephone Co., 128 U.S. 315 (1888). There, the Court held the United States had the power
to bring a nonstatutory suit at equity to revoke a patent on the ground that it was obtained
by fraud. But the American Bell Court explained it had equitable jurisdiction over the United
States’ suit because the King had the power to seek revocation of fraudulently granted
patents in the court of chancery. See id. at 361. That obviously provides no support for the
Federal Government’s roving-Supremacy-Clause conception of equity jurisdiction.




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by traditional equitable practice. See Grupo Mexicano, 527 U.S. at 318; Whole
Woman’s Health, 595 U.S. at 53; see also Boise Artesian Hot & Cold Water Co.
v. Boise City, 213 U.S. 276, 285 (1909) (noting that an injunction must fall
“within some clear ground of equity jurisdiction”). It is hard to see how a
suit without precedential support could be justified by traditional principles.
                                      2.
       For their part, the non-profit plaintiffs and the county contend they
may seek equitable relief under Ex parte Young. That case establishes that
“federal courts have jurisdiction over suits to enjoin state officials from
interfering with federal rights.” Shaw v. Delta Air Lines, Inc., 463 U.S. 85, 96
n.14 (1983).
       But not all plaintiffs may invoke Ex parte Young. Instead, that case
allows only “certain private parties to seek judicial orders in federal court
preventing state executive officials from enforcing state laws that are
contrary to federal law.” Whole Woman’s Health, 595 U.S. at 39 (emphasis
added). The traditional Ex parte Young plaintiff is a person who is “about to”
be subject to proceedings brought by a state official. Ex parte Young, 209 U.S.
at 156. The Ex parte Young Court merely authorized those plaintiffs to
preemptively assert “in equity of a defense that would otherwise have been
available in the State’s enforcement proceedings at law.” Douglas v. Indep.
Living Ctr. of S. Cal., Inc., 565 U.S. 606, 619–20 (2012) (Roberts, C.J.,
dissenting, joined by Scalia, Thomas, and Alito, JJ.); Virginia Off. for
Protection & Advoc. v. Stewart, 563 U.S. 247, 262 (2011) (Kennedy, J.,
concurring, joined by Thomas, J.).
       The non-profit plaintiffs and the county are nothing like the
traditional Ex parte Young plaintiff. Texas is not “about to” commence
proceedings against them. In fact, Texas will never commence proceedings
against them because they are not people, and only people could possibly




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engage in conduct covered by S.B. 4. These plaintiffs allege only that they
will indirectly incur monetary harm as a result of Texas’s potential
enforcement of S.B. 4 against other unidentified people.
       It is true that this court has assumed the Ex parte Young cause of action
encompasses more than plaintiffs who are about to be on the receiving end of
a suit brought by state officials. For example, in Texas Democratic Party v.
Abbott, 978 F.3d 168 (5th Cir. 2020), we assumed plaintiffs affected by mail-
in voting restrictions could sue to enjoin enforcement of those restrictions.
Id. at 178. But the plaintiffs in that case were at least directly affected by the
regulations they sought to enjoin. Put differently, the challenged law affected
their rights. They did not—like plaintiffs here—file suit on the basis that the
law could injure unidentified third parties and then indirectly inflict costs on
the plaintiffs. Cf. Warth v. Seldin, 422 U.S. 490, 499 (1975) (“[E]ven when
the plaintiff has alleged injury sufficient to meet the ‘case or controversy’
requirement, this Court has held that the plaintiff generally must assert his
own legal rights and interests, and cannot rest his claim to relief on the legal
rights or interests of third parties.”); Richard M. Re, Relative Standing, 102
Geo. L.J. 1191, 1223–25 (2014) (describing courts’ skepticism to indirect-
injury plaintiffs and preference for “superior” plaintiffs).
       Plaintiffs do not point to a single case in which the Supreme Court or
this court has held that plaintiffs indirectly injured by a state enactment may
sue under Ex parte Young for pre-enforcement relief. See Las Americas PI Br.
10–11. And that is true notwithstanding the fact that Texas raised the issue
before the district court. See Texas PI Br. 40–41. The best they can muster is
Stewart. But the agency plaintiff in that case alleged a violation of its own
rights—the right to information it was entitled to under federal law. See 563
U.S. at 251.




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       Again, all this matters because our equitable jurisdiction is limited by
traditional principles. Ex parte Young was at least arguably grounded in
traditional equitable practice. See John Harrison, Ex Parte Young, 60 Stan.
L. Rev. 989, 999 (2008). A nonstatutory cause of action brought by
plaintiffs who stand to incur only indirect injuries from enforcement of a state
law is far afield from Ex parte Young. Indeed, if plaintiffs are right, it seems
anyone could sue for a pre-enforcement injunction of a state law so long as
they could plausibly allege enforcement of the law against unidentified third
parties would cost them a dollar. Plaintiffs have not grounded that maximalist
theory of the Ex parte Young cause of action in history or precedent, so it
accordingly appears they have not properly invoked our equitable
jurisdiction.
                                       3.
       DOJ also contends, as its last line of defense, Ex parte Young provides
its cause of action. The majority embraces this argument. See ante, at 10–11.
But it is wrong.
       As noted, the Supreme Court has made clear that any exercise of the
federal equity jurisdiction must be grounded in traditional equitable practice.
See, e.g., Grupo Mexicano, 527 U.S. at 318. To the extent the Ex parte Young
cause of action is consistent with traditional equitable practice, it is because
courts of equity sometimes issued anti-suit injunctions to restrain actions at
law. See Harrison, supra, 60 Stan. L. Rev. at 997 (citing 4 John
Norton Pomery, Jr., Equity Jurisprudence § 1360 (3d ed.
1905)). For example, a defendant in legal proceedings could sometimes ask a
court of equity to restrain those proceedings if he had a legal defense that,
“though technically available, would not do full justice[.]” Id. at 999. Thus,
when Minnesota enacted a confiscatory railroad rate regulation statute, the
Supreme Court held that an inferior court had jurisdiction to entertain a suit




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in equity by which plaintiffs preemptively sought an injunction against
enforcement of the statute’s unconstitutionally confiscatory penalties.
       Unlike private parties, the United States cannot be sued without its
consent. See, e.g., Lehman v. Nakshian, 453 U.S. 156, 160 (1981) (“[T]he
United States, as sovereign, is immune from suit save as it consents to be
sued[,] and the terms of its consent to be sued in any court define that court’s
jurisdiction to entertain the suit.” (quotation omitted)). So the United States
cannot contend that it needs a court of equity to protect it from suit. Thus,
allowing the United States to rely on the Ex parte Young cause of action would
sever that cause of action from its roots in the traditional anti-suit injunction.
Indeed, it would transform Ex parte Young cause of action into a license for
the United States to compel federal courts to take sides in any and every legal
dispute. It is hard to think of something more inconsistent with the Supreme
Court’s recent admonition that “[f]ederal courts do not possess a roving
commission to publicly opine on every legal question.” TransUnion, 594 U.S.
at 423. That is reason enough to dispense with the DOJ’s Ex parte Young
argument. Contra ante, at 11 (contending the dissenting opinion offers no
“logical basis” for concluding that the United States may not bring an Ex
parte Young action).
       But there is more. Just two years ago, the Supreme Court told us that
Ex parte Young authorizes only “certain private parties to seek judicial orders
in federal court preventing state executive officers from enforcing state laws
that are contrary to federal law.” Whole Woman’s Health, 595 U.S. at 39
(emphasis added). The Court’s admonition that the Ex parte Young cause of
action is limited to private parties makes sense because, as the Court has
repeatedly explained, the Ex parte Young cause of action works together with
the other, more famous holding of that case, which allows private parties to
get around state sovereign immunity. See, e.g., id. at 39; see also Richard
H. Fallon, Jr., et al., Hart and Wechsler’s The Federal



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Courts and The Federal System 927–35 (7th ed. 2015) [“Hart
& Wechsler”]. The Federal Government is not a private party, so state
sovereign immunity is no obstacle to its suits. See West Virginia v. United
States, 479 U.S. 305, 311 (1987) (“States have no sovereign immunity as
against the Federal Government.”). It is unclear why the Federal
Government would be able to pick just half of the Ex parte Young doctrine.
       The majority purports to avoid this problem by pointing to the
Supreme Court’s decision in Stewart, 563 U.S. at 256. In that case the Court
allowed a state agency to invoke Ex parte Young’s exception to state sovereign
immunity. But the state agency in that case did face a sovereign immunity
defense. See id. at 252–54. That crucial difference means Stewart is
inapposite; the “judge-made remedy” of Ex parte Young does not fit in a
context where the litigant relies on one half of the case and not the other. Cf.
Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015).
       DOJ’s position seems to be that it can take the equitable “cause of
action” part of Ex parte Young and leave the exception to sovereign immunity
behind. But as the Supreme Court has reminded us, courts cannot mix and
match parts of the Ex parte Young doctrine. See Whole Woman’s Health, 595
U.S. at 39–45 (rejecting a novel application of Ex parte Young). Ex parte Young
must be taken as a whole, consistent with its “traditional” limitations and the
“historical practice” of courts in equity. See ibid. That history and tradition
does not encompass suits by one sovereign against another. So Ex parte Young
is inapplicable.
       The majority does not meaningfully dispute any of this. It instead
holds that DOJ may sue because Congress never said it could not. Ante, at 11.
That is not how equitable causes of action work. If DOJ can sue, it is because
there is some analogue for its suit in traditional equity practice. It is DOJ’s
obligation (and the majority’s) to point to such an analogue. And the absence




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of such evidence means no suit—the absence does not mean that we get to
simply assume justiciability and move along to the merits.
       Instead, the majority explains that the Federal Government has lots of
power over immigration. Ante, at 7–9. And given that power, the majority
assumes the power to prevent state immigration laws from taking effect
simply must exist. Id. at 9. But that is an obvious non-sequitur. Even if S.B. 4
does interfere with the immigration scheme Congress created, it does not
necessarily follow that DOJ may ask the federal courts to do something about
it. Cf. Biden v. Texas, 597 U.S. at 813–14 (even if Federal Government does
not enforce the INA, it does not follow that federal court can order
enforcement). The question of whether S.B. 4 is preempted is entirely
distinct from the question of whether DOJ may sue to enjoin its enforcement.
By conflating distinct issues, the majority comes dangerously close to
embracing a theory that DOJ has a roving commission to seek judicial
invalidation of state statutes. There is no basis for that theory of our equitable
jurisdiction.
                                       B.
       Even assuming plaintiffs’ claims are cognizable, plaintiffs are unlikely
to succeed on the merits of their preemption claim.
       This is a facial challenge to S.B. 4 in its entirety. Plaintiffs have not
asked for an injunction against any single provision or set of provisions but
rather against the whole bill. And the district court did not enjoin
enforcement of any single provision or set of provisions but rather the whole
bill. See United States v. Texas, 2024 WL 861526, at *43 (W.D. Tex. Feb. 29,
2024) (“Defendants are preliminarily enjoined from enforcing SB 4.”
(quotation omitted)).
       Pause for a moment to consider what that means. The elected
representatives of the people of the State of Texas passed a law. Before that




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law went into effect, a federal district court enjoined its enforcement. The
Texas courts had no opportunity even to consider, let alone to cure, any of
the bill’s alleged constitutional defects. Cf. O’Sullivan v. Boerckel, 526 U.S.
838, 845 (1999) (noting state courts should have the first opportunity to cure
unconstitutional state action). And that is true even though the bill has an
express and robust severability provision. See S.B. 4, § 8 (“It is the intent of
the legislature that every provision, section, subsection, sentence, clause,
phrase, or word in this Act, and every application of the provisions in this Act
to every person, group of persons, or circumstances, is severable from each
other.”). We are thus bound to give effect to every word of S.B. 4 that has a
constitutional application. See Leavitt v. Jane L., 518 U.S. 137, 139 (1996)
(noting that interpreting a severability provision in a state statute is “a matter
of state law”). See also infra, Part IV (further considering S.B. 4’s severability
provision).
       “It is axiomatic that a ‘statute may be invalid as applied to one state
of facts and yet valid as applied to another.’” Ayotte v. Planned Parenthood of
N. New England, 546 U.S. 320, 329 (2006) (quoting Dahnke–Walker Milling
Co. v. Bondurant, 257 U.S. 282, 289 (1921)). That is why facial challenges are
“disfavored.” Washington State Grange v. Washington State Republican Party,
552 U.S. 442, 450 (2008). As the Supreme Court has explained, facial
challenges may seem efficient in the abstract, but “any gain is often offset by
losing the lessons taught by the particular, to which common law method
normally looks. Facial adjudication carries too much promise of ‘premature
interpretatio[n] of statutes’ on the basis of factually barebones records.”
Sabri v. United States, 541 U.S. 600, 608–09 (2004) (quoting United States v.
Raines, 362 U.S. 17, 22 (1960)). Thus the Court has repeatedly warned of the
dangers of invalidating statutes on the basis of “hypothetical cases” like this
one. Raines, 362 U.S. at 22; see also Yazoo & Mississippi Valley R. Co. v. Jackson
Vinegar Co., 226 U.S. 217, 219–20 (1912) (same); Re, supra, at 1226 (“Outside




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the First Amendment context, a plaintiff normally has standing to challenge a
statute only if she contends that the statute is unconstitutional as applied in
her own case. This rule encourages ‘as-applied’ claims, whereby courts sever
and invalidate only the unconstitutional applications of otherwise
constitutional laws.” (emphasis added; footnote omitted)).
       Thus, because of plaintiffs’ litigation choices, they “bear a heavy
burden of persuasion.” Crawford v. Marion Cnty. Election Bd., 553 U.S. 181,
200 (2008). That burden is especially heavy in this case. It is one thing for
plaintiffs to bring a facial challenge. See Gillian E. Metzger, Facial and As-
Applied Challenges Under the Roberts Court, 36 Fordham Urb. L.J. 773,
773 (2009) (noting the Supreme Court has expressed a strong “preference
for as-applied over facial challenges”). It is an altogether different thing for
plaintiffs to bring that challenge before the State has even attempted to
enforce S.B. 4 against a single person. See Vill. of Hoffman Ests. v. Flipside,
Hoffman Ests., Inc., 455 U.S. 489, 497–504 (1982) (declining to entertain a
pre-enforcement facial challenge, in large part due to a lack of evidence
regarding how the challenged law would be enforced). And it is still another
thing where the plaintiffs bringing the pre-enforcement facial challenge
cannot show that the law could ever be enforced against them. Cf. Virginia v.
Am. Booksellers Ass’n, Inc., 484 U.S. 383, 392–93 (1988) (considering a facial
challenge where the plaintiffs “alleged an actual and well-founded fear that
the law will be enforced against them”). And it is yet another thing where the
plaintiffs’ suit rests on a novel, non-statutory source of equitable relief. Cf.
Armstrong, 575 U.S. at 327–28 (discussing constraints on such forms of
equitable relief); see also Whole Woman’s Health, 595 U.S. at 44 (“The
equitable powers of federal courts are limited by historical practice.”).
       Put another way, plaintiffs may (sometimes) bring facial challenges.
See, e.g., Roemer v. Bd. of Pub. Works of Maryland, 426 U.S. 736 (1976).
Plaintiffs may (sometimes) bring pre-enforcement challenges. See, e.g.,



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Abbott Labs. v. Gardner, 387 U.S. 136 (1967). Plaintiffs may (sometimes) bring
challenges when the relevant law is not directly enforced against them. Cf.
Lujan v. Defs. of Wildlife, 504 U.S. 555, 561–62 (1992). And plaintiffs may
(sometimes) base their challenge on an equitable cause of action, as in Debs
and Ex parte Young. But a legal challenge that combines all these
characteristics runs the risk of embroiling the federal courts in the
adjudication of an abstract controversy with untold numbers of hypothetical
and unforeseen permutations. Cf. Ala. State Fed’n of Lab., Loc. Union No.
103, United Bhd. of Carpenters & Joiners of Am. v. McAdory, 325 U.S. 450, 461
(1945) (reiterating the federal courts’ deeply rooted policy against deciding
“abstract, hypothetical or contingent questions”).
       That means in order to affirm the district court’s injunction, we would
have to conclude that plaintiffs demonstrated a likelihood “that no set of
circumstances exists under which” any provision—indeed, any word—of S.B.
4 “would be valid.” United States v. Salerno, 481 U.S. 739, 745 (1987); see also
ibid. (“A facial challenge to a legislative Act is, of course, the most difficult
challenge to mount successfully.”). So when we eventually consider the
preliminary injunction under 28 U.S.C. § 1292(a)(1), we will be able to affirm
only if we hold that S.B. 4—the whole bill—“is unconstitutional in all of its
applications.” Washington State Grange, 552 U.S. at 449. That is because if
even a single provision of S.B. 4 is constitutional, a state court confronting
the bill would be required to give effect to that provision, no matter the
constitutionality of any of the bill’s other provisions. See S.B. 4, § 8.
Obviously, state courts are allowed to apply provisions of state laws that do
not violate the Constitution. To affirm an injunction of the entire bill, then—
even if some of its provisions could be validly applied—would be to affirm an
injunction prohibiting a sovereign from doing something it is entitled to do
under our Constitution. The Constitution does not vest district courts with
power to do that, so we cannot affirm an injunction that does that.




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       The majority contends I make too much of the facial pre-enforcement
posture of this suit because the Supreme Court granted pre-enforcement
relief in Arizona. Ante, at 48, 49, 50. But the injunction before the Arizona
Court was nothing like the injunction before us. In Arizona, the Court
considered an injunction against enforcement of four provisions of S.B. 1070.
It analyzed each provision in isolation, asking whether that provision had any
conceivable constitutional applications. And it let one provision of the law—
§ 2(B)—go into effect. See 567 U.S. at 415. The Court’s analysis of that
provision is worth re-quoting at length:
       The nature and timing of this case counsel caution in
       evaluating the validity of § 2(B). The Federal Government has
       brought suit against a sovereign State to challenge the provision
       even before the law has gone into effect. There is a basic
       uncertainty about what the law means and how it will be
       enforced. At this stage, without the benefit of a definitive
       interpretation from the state courts, it would be inappropriate
       to assume § 2(B) will be construed in a way that creates a
       conflict with federal law. As a result, the United States cannot
       prevail in its current challenge. This opinion does not foreclose
       other preemption and constitutional challenges to the law as
       interpreted and applied after it goes into effect.
Ibid. (quotations omitted).
       The Arizona Court was thus sensitive to the problems with pre-
enforcement relief. And the concerns the Court espoused apply a fortiori here
because, as explained above, the district court enjoined S.B. 4 in its entirety.
To affirm that injunction is to hold that no provision of S.B. 4 could possibly
be applied in a manner consistent with the Constitution. But of course
“[t]here is a basic uncertainty about what [S.B. 4] means and how it will be
enforced”—including whether state courts might sever certain provisions.
Ibid. It is therefore untrue that my objection to enjoining enforcement of S.B.




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4 in this pre-enforcement posture “invites our court to ignore Arizona’s
mandate.” Ante, at 48.
       In sum, to show a likelihood of success on the merits of plaintiffs’
preemption claim, Texas need only demonstrate a likelihood that the district
court erred in finding that no provision of S.B. 4 has any constitutional
application. Texas has made that showing. I (1) explain preemption doctrine.
I then (2) explain that, at the very least, Texas has shown the provisions
contained in Texas Penal Code § 51.02—providing for the arrest and
detention of aliens who enter the United States at a location other than a
lawful port of entry—are lawful in at least some (indeed, most)
circumstances. Finally, I (3) explain S.B. 4’s removal provisions likely have
at least some constitutional applications.
                                        1.
       Plaintiffs’ principal argument is that S.B. 4 is preempted. In other
words, they argue S.B. 4 is “in conflict or at cross-purposes” with federal
immigration law. Arizona, 567 U.S. at 399. And since the Supremacy Clause
provides that the Constitution, federal statutes, and treaties “shall be the
supreme Law of the Land . . . any Thing in the Constitution or Laws of any
state to the Contrary notwithstanding,” U.S. Const. art. VI, cl. 2,
plaintiffs argue that S.B. 4 falls to this supposed conflict.
       Preemption analysis starts from the premise that under our federalist
system “States retain substantial sovereign authority.” Wyeth v. Levine, 555
U.S. 555, 584 (2009) (Thomas, J., concurring in the judgment) (citing U.S.
Const., amend. X (“The powers not delegated to the United States by the
Constitution, nor prohibited by it to the States, are reserved to the States
respectively, or to the people.”)). In fact, States “possess sovereignty
concurrent with that of the Federal Government, subject only to limitations
imposed by the Supremacy Clause.” Tafflin v. Levitt, 493 U.S. 455, 458




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(1990). That means state laws are valid unless they are displaced by federal
law.
       Federal law may displace state law in several different ways. Most
obviously, “Congress may preempt state authority by so stating in express
terms.” Pacific Gas & Elec. Co. v. State Energy Resources Conservation and
Development Comm’n, 461 U.S. 190, 203 (1983). Equally obvious is that state
law must yield when a court could not possibly give effect to both state and
federal law—e.g., where “compliance with both federal and state [law] is a
physical impossibility.” Florida Lime & Avocado Growers, Inc. v. Paul, 373
U.S. 132, 142–143 (1963). But plaintiffs do not point to any federal statute
that expressly proscribes States from adopting laws like S.B. 4. And since
each of the substantive provisions of S.B. 4 has a near-exact analog in the
federal immigration statutes, plaintiffs do not argue that it is somehow
impossible to give effect to both S.B. 4 and federal law.
       Instead, plaintiffs argue that S.B. 4 is preempted by implication from
congressional purpose. It is unclear that the original public meaning of the
Constitution countenances that kind of preemption. See, e.g., Wyeth, 555 U.S.
at 583 (Thomas, J., concurring in the judgment) (“[I]mplied pre-emption
doctrines that wander far from the statutory text are inconsistent with the
Constitution.”); Caleb Nelson, Preemption, 86 Va. L. Rev. 225, 260–261
(2000) (“Under the Supremacy Clause, preemption occurs if and only if
state law contradicts a valid rule established by federal law, and the mere fact
that federal law serves certain purposes does not automatically mean that it
contradicts everything that might get in the way of those purposes.”).
       Nevertheless, the Supreme Court has held that state laws are
preempted by implication in two circumstances. First, the Court has held a
state law is preempted when it appears that Congress intended to displace
States from regulating in an entire field—so-called field preemption. A state




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law may be field preempted where a federal interest in the relevant field is
especially dominant or where Congress enacts a regulatory framework so
pervasive that it leaves no room for state supplementation. See, e.g., Arizona,
567 U.S. at 399. Second, the Court has held a state law is preempted when it
appears to a court that the law “stands as an obstacle to the accomplishment
and execution of the full purposes and objectives of [the United States]
Congress”—a variant of so-called conflict preemption. Hines, 312 U.S. at 67.
       These categories—implied field preemption and implied conflict
preemption—“are not rigidly distinct.” Virginia Uranium, Inc. v. Warren,
139 S. Ct. 1894, 1900 (2019) (Lead Opinion of Gorsuch, J.). In applying them,
“the purpose of Congress is the ultimate touchstone.” Cipollone, 505 U.S. at
516 (quotation omitted). But since “only federal laws made in pursuance of
the Constitution, through its prescribed processes of bicameralism and
presentment, are entitled to preemptive effect . . . any [e]vidence of pre-
emptive purpose . . . must [] be sought in the text and structure of the statute
at issue.” Virginia Uranium, 139 S. Ct. at 1907 (Lead Opinion of Gorsuch, J.).
“Invoking some brooding federal interest or appealing to a judicial policy
preference does not show preemption.” Kansas v. Garcia, 140 S. Ct. 791, 801
(2020) (quoting Virginia Uranium, 139 S. Ct. at 1901 (Lead Opinion of
Gorsuch, J.)). Rather, in holding that a law is preempted, courts “must point
specifically to . . . a federal statute that does the displacing or conflicts with
state law.” Virginia Uranium, 139 S. Ct. at 1901 (Lead Opinion of Gorsuch,
J.); see Garcia, 140 S. Ct. at 804 (“[A]ll preemption arguments[] must be
grounded in the text and structure of the statute at issue.” (quotation
omitted) (quoting CSX Transp., Inc. v. Easterwood, 507 U.S. 658, 664 (1993)).
       Moreover, the Supreme Court has repeatedly explained that “courts
should assume that the historic police powers of the States are not
superseded unless that was the clear and manifest purpose of Congress.”
Arizona, 567 U.S. at 400 (emphasis added) (quotation omitted). States



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historically exercised their police powers to regulate immigrants crossing into
their territory from foreign nations. See Gerald L. Neuman, The Lost Century
of American Immigration Law (1776-1875), 93 Colum. L. Rev. 1833, 1846–
59 (1993) (cataloging examples from eight States of measures regulating the
immigration of “foreign paupers” between 1776 and 1875); see also Arizona,
567 U.S. at 417–421 (Scalia, J., concurring in part and dissenting in part). So
this “presumption against preemption” applies to state laws like S.B.4.
Arizona, 567 U.S. at 448 (Alito, J., concurring in part and dissenting in part)
(quotation omitted). 5
        In light of the Supreme Court’s preemption cases, plaintiffs must
establish—by reference to the text of the federal immigration statutes—that
it was the clear and manifest purpose of Congress to overcome the
presumption against preemption and to displace state laws empowering state
officials to arrest and prosecute aliens who cross the border at places other
than those by designated federal officials in every circumstance. Plaintiffs
cannot shoulder that burden.
                                              2.
                                              a.
        I begin with the argument that the provisions of § 51.02 are implicitly
field preempted. At the outset, it bears emphasis that field preemption is rare:
“Only a demonstration that complete ouster of state power including state
        _____________________
        5
           The Federal Government contends the presumption does not apply in areas in
which “there is a history of federal presence.” The origin of that notion is United States v.
Locke, U.S. 89, 108 (2000), which held the presumption does not apply in cases that “bear
upon national and international maritime commerce.” Ibid. The reason, the Court
explained, was not merely that there was a history of federal presence but that “Congress
has legislated in the field from the earliest days of the Republic.” Ibid. The same is not true
of immigration. See Neuman, supra, at 1838 (noting the first federal immigration statute
was enacted in 1875).




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power to promulgate laws not in conflict with federal laws was the clear and
manifest purpose of Congress” justifies a finding of field preemption.
DeCanas v. Bica, 424 U.S. 351, 357 (1976). We must first define the field from
which Congress allegedly displaced state laws. On plaintiffs’ telling, the
relevant field is the field of entry and removal of aliens. DOJ FRAP 8 Opp. at
6. While the plaintiffs’ reasoning is not pellucid, I can distill four distinct
arguments in their FRAP 8 submissions. I take each in turn.
                                        i.
       First, plaintiffs contend the Supreme Court has recognized that
Congress’s interest in the field of entry and removal is so dominant that there
is no room for state regulation. True, the Supreme Court has often said
Congress has certain powers over immigration that are exclusive. See, e.g.,
DeCanas, 424 U.S. at 354. It is also true that the Supreme Court has held
Congress entirely displaced States from regulating in one field related to
immigration—namely alien registration. See Hines, 312 U.S. at 62; see also
Garcia, 140 S. Ct. at 806 (explaining Hines held that “federal immigration
law occupied the field of alien registration”). Plaintiffs apparently take these
two propositions as evidence that the Supreme Court has recognized States
may not regulate the entry and removal of unauthorized aliens.
       But even accepting plaintiffs’ premises, the conclusion does not
follow. The fact that Congress has implicitly exercised field preemption in
one area of immigration law does not mean States may never pass laws
touching on immigration. To the contrary, the Supreme Court has blessed
state laws touching on immigration—in the very case plaintiffs invoke to say
S.B. 4 is entirely field preempted. See Arizona, 567 U.S. at 414 (upholding a
state law requiring officers to check the immigration status of every person
stopped, detained, or arrested if reasonable suspicion exists that the person
is unlawfully present in the United States); see also Plyler v. Doe, 457 U.S. 202,




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225 (1982) (“As we recognized in De Canas . . . the States do have some
authority to act with respect to illegal aliens, at least where such action
mirrors federal objectives and furthers a legitimate state goal.” (quotation
omitted)); Chamber of Comm. v. Whiting, 563 U.S. 582, 588, 600 (2011)
(noting the federal interest in immigration does not completely supersede
States’ “broad authority under their police powers” to enact immigration-
related laws).
       Nor does the reasoning undergirding the Supreme Court’s
immigration-related preemption cases support a finding that state laws
touching on the entry and removal of unauthorized aliens are all somehow
field preempted. In fact, the Court’s cases stand for two much more modest
propositions.
       First, States have no power over the terms upon which an alien is
admitted to the United States. See Chy Lung v. Freeman, 92 U.S. 275, 280
(1875) (“The passage of laws which concern the admission of citizens and
subjects of foreign nations to our shores belongs to Congress, and not to the
States.”). That is for the obvious reason that state laws respecting admission
cannot possibly co-exist with federal laws respecting the same subject. If a
State purports to admit an alien Congress excluded, the State by definition
undermines Congress’s decision to exclude that alien. And if a State purports
to exclude an alien Congress admitted, the State by definition undermines
Congress’s decision to admit that alien. Thus, States must be preempted
from determining the terms of alien admission.
       Second, States have no power to enact laws that regulate aliens on the
basis of their alien status. Consider Hines. There the Court considered a state
law that required:
       every alien 18 years or over, with certain exceptions, to register
       once each year; provide such information as is required by the




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       statute, plus any ‘other information and details’ that the
       Department of Labor and Industry may direct; pay $1 as an
       annual registration fee; receive an alien identification card and
       carry it at all times; show the card whenever it may be
       demanded by any police officer or any agent of the Department
       of Labor and Industry; and exhibit the card as a condition
       precedent to registering a motor vehicle in his name or
       obtaining a license to operate one.
312 U.S. at 56. The question presented was whether that law was preempted
by a federal statute providing for less stringent alien registration
requirements. See id. at 60–61.
       The Court held yes because Congress expressly set one uniform
standard for alien registration. Then the State attempted to impose more
burdensome obligations upon aliens, after Congress determined they should
be admitted to the United States, for no reason except their alien status. Put
differently, the State was attempting to impose conditions—over and above
the conditions imposed by Congress—on the ability of aliens to reside within
its borders. As the Court put it, the state law “imposed distinct, unusual and
extraordinary burdens and obligations upon aliens—such as subjecting them
alone, though perfectly law-abiding, to indiscriminate and repeated
interception and interrogation by public officials.” Id. at 65–66; see id. at 68
(“[I]t is . . . of importance that this legislation deals with the rights, liberties,
and personal freedoms of human beings . . . .”). That kind of burden on “the
rights, liberties, and personal freedoms” of authorized aliens was
inconsistent with Congress’s decision to admit those aliens into the country
because it is Congress’s job alone to regulate “the conduct of an alien before
naturalization . . . .” Id. at 66 (citation omitted). Moreover, the United States
has obligations—via treaty and the law of nations—to protect the aliens
residing in its borders. See id. at 65, 68; see id. at 69 (“Numerous
treaties . . . have pledged the solemn obligation of this nation to the end that




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aliens residing in our territory shall not be singled out for the imposition of
discriminatory burdens.”). In the Court’s view, a state law discriminating
against aliens previously admitted by Congress risked putting the United
States in violation of those obligations, which risked “provok[ing] questions
in the field of international affairs.” Id. at 66.
       Hines obviously means States are preempted from the field of alien
registration. But the Court made clear that is not because States are
powerless over the field of immigration. Rather, it is because alien
registration requirements are inherently prone to be abused for
discriminatory ends. See id. at 73–74 (noting registration requirements treat
aliens “as a thing apart”). That suggests to the extent Hines has any
application beyond alien registration, it stands for the proposition that once
Congress decides to admit an alien, States may not impose burdensome
obligations on that alien solely because of his alien status. Since that alien has
come under the protection of the United States, it is Congress’s job to
determine the conditions upon which he may reside in this country. Hines
says nothing about a State’s power to regulate aliens Congress decided to
exclude.
       Next consider Arizona. There, the Court held the State of Arizona was
field preempted from enacting a state-law penalty for violations of a federal-
law registration requirement. The INA requires aliens registered under
congressionally prescribed standards to carry alien-registration cards. See 8
U.S.C. § 1304(e). Arizona passed a statute making it a state-law misdemeanor
for aliens to violate § 1304(e) by failing to carry their federal registration
cards. See Arizona, 567 U.S. at 400. As in Hines, the Arizona Court held that
States are field preempted from regulating alien registration. Because States
are preempted from regulating in the field of alien registration, it did not
matter that Arizona’s state-law penalty was consistent with the INA’s
federal-law penalty. See Arizona, 567 U.S. at 402. Congress’s occupation of



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the field of alien registration means no state law in that field—period. See id.
at 402–03.
        The fact that Congress occupied the field of aliens who must register
to seek admission says nothing about the field of aliens whom Congress
deemed inadmissible. And Arizona certainly does not suggest States may
never supplement any federal immigration laws. Rather, its holding followed
logically from Hines. The principal concern motivating the Hines Court was
that a State might use registration requirements to harass admitted aliens. See
312 U.S. at 408 (noting Congress intended “to leave [admitted aliens] free
from the possibility of inquisitorial practices and police surveillance”). But a
State need not necessarily impose new registration obligations to do that. A
State could achieve the same end by overzealously prosecuting violations of
federal alien registration statutes, or by imposing exceptional penalties on
aliens caught without a federal registration card. The effect of those actions
might be less dramatic than the effect of a State-enacted parallel alien
registration scheme, but the difference would be one of degree and not kind.
Both tactics might be used by States to impose burdens on aliens whom
Congress admitted and hence to undermine Congress’s decision to admit
them.
        The Court’s other cases suggesting some degree of immigration-
related field preemption are similar. For example, in Truax v. Raich, 239 U.S.
33 (1915), the Court held that States lack “authority to deny to aliens the
opportunity of earning a livelihood when lawfully admitted to the [S]tate”
because “the practical result would be that those lawfully admitted to the
country under the authority of the acts of Congress, instead of enjoying in a
substantial sense and in their full scope the privileges conferred by the
admission, would be segregated in such of the [S]tates as chose to offer
hospitality.” Id. at 42. Likewise in Takahashi v. Fish & Game Comm’n, 334
U.S. 410 (1948), the Court held States may not deny resident aliens the ability



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to engage in commercial fishing in state-controlled ocean waters. In doing so,
the Court explained “[t]he Federal Government has broad constitutional
powers in determining what aliens shall be admitted to the United States, the
period they may remain, regulation of their conduct before naturalization,
and the terms and conditions of their naturalization,” which means States
“can neither add to nor take from the conditions lawfully imposed by
Congress upon admission, naturalization and residence of aliens in the
United States or the several [S]tates.” Id. at 419. Both those cases establish
that Congress alone has the power to admit aliens, and that a State may not
subvert that power by enacting discriminatory laws.
       In sum, plaintiffs appear to misunderstand the scope of the Federal
Government’s “exclusive power” over immigration. DeCanas, 424 U.S. at
354. Congress has exclusive power to determine which aliens may enter the
country and the terms of their admission. See Chy Lung, 92 U.S. at 280. And
when Congress deems an alien admitted, that alien comes within the
protection of the United States. See, e.g., Takahashi, 334 U.S. at 420 (“The
Fourteenth Amendment and the laws adopted under its authority [] embody
a general policy that all persons lawfully in this country shall abide ‘in any
[S]tate’ on an equality of legal privileges with all citizens under non-
discriminatory laws.” (emphasis added)). If States could enact laws
regulating persons Congress admitted simply because those persons are
aliens, States could deny aliens the privileges and protections Congress
meant to confer through admission. That is why registration is an exclusively
federal domain.
       But § 51.02 says nothing about alien registration and has no impact
whatsoever on which aliens Congress chooses to admit, the terms under
which Congress chooses to admit them, or any part of the INA even
tangentially related to admission. Section 51.02 says only that Texas may
arrest aliens when they cross the border somewhere other than a lawful port



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of entry. That section therefore falls outside the bounds of Hines, Arizona,
and the Court’s field-preemption precedents. 6
                                            ii.
        Second, plaintiffs contend States are preempted from the field of alien
entry and removal because those matters implicate important federal
interests. In their view, we should infer a congressional intent to preempt the
entry and removal fields for two reasons: (1) immigration enforcement
involves discretionary choices that are intertwined with foreign policy, and
(2) border-control policies are important to national security and foreign
policy. Plaintiffs do not point to the text of any federal law to support this
argument.
        Instead, plaintiffs rely principally on dicta from Arizona. For example,
plaintiffs make much of the Arizona Court’s statement that a decision about
removability “requires a determination whether it is appropriate to allow a
foreign national to continue living in the United States,” which means it
“touch[es] on foreign relations and must be made with one voice.” See 567
U.S. at 409.
        There are several problems with plaintiffs’ argument. First, even as
the Arizona Court acknowledged that removal decisions affect foreign policy,
        _____________________
        6
          The majority contends S.B. 4 interferes with the executive branch’s discretion to
waive various requirements that would otherwise stand in the way of an alien’s admission.
Ante, at 18. Even assuming that is a viable theory of preemption, only S.B. 4’s removal
provisions could interfere with executive discretion in that manner. Absent the removal
provisions, § 51.02 merely allows Texas to imprison aliens for up to six months for the
offense of crossing the border somewhere other than a lawful port of entry. A law allowing
Texas to temporarily detain an alien who crosses the border unlawfully could not possibly
interfere with the executive’s discretion to waive admission requirements because the
executive could waive admission requirements while or after the alien is detained. And
since the removal provisions are severable, see supra, at 76–77, and infra Part IV, this
argument does not justify the district court’s sweeping facial injunction.




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it did not hold that Congress preempted states from the field of entry and
removal. Instead, the Court held States may not arrest aliens for being
removable because such arrests would stand as an obstacle to the removal
system Congress created. See id. at 410. That makes sense. Congress said
that, after an alien is admitted, it is the Attorney General’s federal prerogative
to remove him or her in accordance with the INA’s deportability
instructions. See 8 U.S.C. § 1227(a) (governing removal of an alien who is “in
and admitted to the United States”) (emphasis added). And Congress
similarly vested the Attorney General with discretion to determine whether
and when an alien should be detained in the removal proceedings. See id.
§ 1226(a) (“On a warrant issued by the Attorney General, an alien may be
arrested and detained pending a decision on whether the alien is to be
removed from the United States.”). If a State could make warrantless arrests
of aliens solely on the ground that they were removable, States could
undermine the Attorney General’s exercise of his congressionally conferred
discretion over the removal process with respect to admitted aliens. Thus,
the Arizona Court did not hold—as plaintiffs seem to believe—that the State
was preempted from the field of removal because of “some brooding federal
interest” like foreign policy or national security. Garcia, 140 S. Ct. at 801
(quoting Virginia Uranium, 139 S. Ct. at 1901 (Lead Opinion of Gorsuch, J.)).
Rather, the Court held that Arizona’s law was conflict preempted because it
undermined     and    hence    conflicted    with   the   Attorney     General’s
congressionally authorized powers. And the Arizona Court reached that
result based on the text of Title 8. See 567 U.S. at 408–10.
       Plaintiffs here by contrast point to nothing in the INA that vests
Federal Government officials with discretion to arrest an alien for crossing
the border at an unlawful location. See 8 U.S.C. § 1325 (“Any alien who []
enters or attempts to enter the United States at any time or place other than
as designated by immigration officers . . . shall, for the first commission of




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any such offense, be fined under title 18 or imprisoned not more than 6
months, or both, and, for a subsequent commission of any such offense, be
fined under title 18, or imprisoned not more than 2 years, or both.” (emphasis
added)). True, executive branch officials have “traditional enforcement
discretion” over whether to take action against violators of federal law.
United States v. Texas, 599 U.S. 670, 683 (2023). It might also be true that
some particular hypothetical future application of S.B. 4 could interfere with
discretionary choices made by federal officials. But “the possibility that
federal enforcement priorities might be upset is not enough to provide a basis
for preemption. The Supremacy Clause gives priority to ‘the Laws of the
United States,’ not the criminal law enforcement priorities or preferences of
federal officers.” Garcia, 140 S. Ct. at 807 (citation omitted). Thus, an
invocation of enforcement discretion is not enough to show preemption
unless there is a specific textual basis for inferring that Congress intended to
confer discretion upon a particular federal official. Contra ante, at 19
(contending S.B. 4 is preempted because it might interfere with the
enforcement priorities of the executive branch).
       Plaintiffs’ “brooding interest” theory of field preemption suffers from
two additional problems. First, if plaintiffs are correct that brooding federal
interests are sufficient to trigger field preemption, the Arizona opinion would
have been much shorter. The Court would have simply said immigration
implicates important federal interests, so the Arizona law was field
preempted in its entirety.
       And second, plaintiffs’ “brooding interest” theory of field
preemption would radically undermine States’ sovereignty. That is because
immigration is hardly the only area of state regulation that implicates
important federal interests. See Garcia, 140 S. Ct. at 801 (quoting Virginia
Uranium, 139 S. Ct. at 1901 (Lead Opinion of Gorsuch, J.)). For example, the
Federal Government has important interests in drug safety and even has an



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administrative agency dedicated to promoting it—but that does not preempt
state law from the field. See Wyeth, 555 U.S. at 573–81. The Federal
Government has important interests in antitrust law and even has two
administrative agencies dedicated to it—but that does not preempt state law
from the field. See California v. ARC America Corp., 490 U.S. 93, 101–02
(1989). The Federal Government has important interests in the foreign-
affairs and national-security consequences of drug trafficking—but that does
not preempt state law from the field. See Daniel Raisbeck & Ian Vásquez, The
International War on Drugs, Cato Inst. (2022), https://perma.cc/8653-
FX9Y. And so on and so forth.
       Plaintiffs’ atextual “brooding interests” theory therefore must be
rejected. See Garcia, 140 S. Ct. at 804 (“[A]ll preemption arguments[] must
be grounded in the text and structure of the statute at issue.” (quotation
omitted) (quoting CSX Transp., 507 U.S. at 664)).
                                       iii.
       Plaintiffs next contend the federal framework governing alien entry
and removal is so pervasive that Congress left no room for States to
supplement it. Put differently, plaintiffs argue that States may not pass laws
relating to the entry and removal of aliens because Congress has passed many
laws related to that subject. The basis for this argument is the Supreme
Court’s decision in Hines. As explained above, the Court in that case held
States are preempted from legislating in the field of alien registration. In part,
that was because the Court concluded Congress designed the federal alien
registration as a “harmonious whole.” 312 U.S. at 72.
       The Court reaffirmed that the federal alien registration system
constitutes a “harmonious whole” in Arizona. See 567 U.S. at 401. But it did
not say any other provisions in the immigration statutes constitute a




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harmonious whole. And outside of Hines, the Court has only “rare[ly]”
found field preemption on this ground. Garcia, 140 S. Ct. at 804.
       For good reason. The Court’s finding in Hines was based on “[t]he
Congressional purpose, as announced by the chairman of the Senate sub-
committee which drafted the final bill.” 312 U.S. at 72. As several members
of the Court have since recognized, “only federal laws made in pursuance of
the Constitution, through its prescribed processes of bicameralism and
presentment, are entitled to preemptive effect.” Virginia Uranium, 139 S. Ct.
at 1907 (Lead Opinion of Gorsuch, J.); see also Wyeth, 555 U.S. at 587–88
(Thomas, J., concurring in the judgment). That is because stray statements
from individual legislators—even committee chairs—do not necessarily
evince the intent of the whole Congress, which “is the ultimate touchstone”
in implied preemption analysis. Cipollone, 505 U.S. at 516. In fact, members
of Congress may hold “many other disparate or conflicting goals in mind
when they vote[] to enact” a statute. Virginia Uranium, 139 S. Ct. at 1908
(Lead Opinion of Gorsuch, J.). “If polled, they might have reached very
different assessments, as well, about the consistency of [a] law with their own
purposes and objectives. The only thing a court can be sure of is what can be
found in the law itself.” Ibid.; cf. Dep’t of Agric. Rural Dev. Rural Hous. Serv.
v. Kirtz, 144 S. Ct. 457, 471 (2024) (noting sovereign immunity may not be
displaced by “inferences from legislative history without clear statutory
direction”). Thus, it is not clear the “harmonious whole” theory of field
preemption is viable outside the context of alien registration.
       In all events, plaintiffs do not point to anything—not even legislative
history—suggesting Congress intended the immigration statutes to operate
as a “harmonious whole.” They merely explain that Congress has already
legislated against the conduct that S.B. 4 proscribes. Put differently, plaintiffs
contend S.B. 4 is unlawful because it coincides with federal law.




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       But “there is no basis for inferring that federal [] statutes preempt
state laws whenever they overlap. Indeed, in the vast majority of cases where
federal and state laws overlap, allowing the States to prosecute is entirely
consistent with federal interests.” Garcia, 140 S. Ct. at 806. As the Court has
explained:
       Respondents’ automatic ‘coincidence means invalidity’
       theory . . . would lead us to the conclusion that a state may not
       make a dealer in perishable agricultural commodities respect its
       laws on the fraudulent nonpayment of an obligation, if that
       fraud occurred after an interstate shipment . . . . We would
       hold, too, that extortion or robbery from interstate commerce
       under is immune from state action; that the wrecking of a
       bridge over an interstate railroad is an ‘exclusively federal’
       offense, that the transmittal of a ransom note in interstate
       commerce cannot be punished by local authorities. In short, we
       would be setting aside great numbers of state statutes to satisfy
       a congressional purpose which would be only the product of
       this Court’s imagination.
People of State of Cal. v. Zook, 336 U.S. 725, 733 (1949).
       Thus, absent some concrete evidence of a congressional intent to
confer enforcement discretion, the only possible inference from the fact that
Congress proscribed certain conduct related to the entry and removal of
unauthorized aliens is that Congress wanted to prevent that conduct. I
therefore do not understand how a court could infer that Congress occupied
a field whenever it proscribes something. In my view, the exact opposite
inference is warranted: If Congress sets out to prevent certain conduct, we
should ordinarily presume that Congress welcomes state supplementation of
that federal effort.
       The Justice Department’s contrary position in this case is the height
of irony. It says Congress passed statutes prohibiting aliens from entering the
United States; the executive branch has substantially declined to enforce



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those statutes; the executive branch’s decision not to enforce Congress’s
laws field preempts Texas from enacting its own coincident statutes; so the
field Congress occupied is now a vacant, “harmonious whole” of
nothingness. I am aware of no precedent to support that understanding of
field preemption.
                                       iv.
       The fourth and final argument that I can discern in plaintiffs’
submissions is that we should infer field preemption from INA provisions like
8 U.S.C. § 1252c and § 1357(g). Plaintiffs infer from these provisions that
Congress must displaced States from the field of alien entry and removal in
all other circumstances. Plaintiffs also make much of the fact that federal law
confers upon the Secretary of Homeland Security “the power and duty to
control and guard the boundaries and borders of the United States against the
illegal entry of aliens.” 8 U.S.C. § 1103.
       In my view, these are conflict-preemption arguments—not field-
preemption ones. For example, as to § 1252c and § 1357(g), the real question
is whether Congress’s enumeration of some forms of federal-state
cooperation impliedly conflicts with any other form of unenumerated state
participation. Likewise with § 1103, the real question is whether Congress’s
enumeration of a federal duty to guard the border impliedly conflicts with any
other effort to guard the border. I turn to conflict preemption in the following
section, Part II.B.2.b.
                                       b.
       I next consider the argument that § 51.02 is implicitly conflict
preempted in every imaginable application. Plaintiffs lodge several
arguments as to why they think S.B. 4 conflicts with Congress’s immigration
goals. Most of those arguments center on S.B. 4’s re-entry provisions and
removal provisions. See Tex. Penal Code § 51.03 (reentry); Tex.




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Code Crim. Proc. art. 5B.002 (removal). But as explained above, at this
stage of the litigation, Texas need only demonstrate that one of S.B. 4’s
provisions can be applied in a constitutional way. See supra, at 76–79. Given
the exigencies of this proceeding and the legal standard, here I consider only
whether the arrest provisions in § 51.02 conflict with federal law.
                                       i.
       The only federal statutory provisions that could plausibly clash with
§ 51.02 are those that expressly authorize state officials to detain aliens under
federal law in certain circumstances. See 8 U.S.C. § 1103(a)(10) (vesting the
Attorney General with the power to authorize state officials to enforce federal
immigration law in the event of a “mass influx of aliens”); id. § 1252c
(authorizing state officials to arrest and detain some unlawfully present aliens
who have previously been convicted of a felony for a limited period of time);
id. § 1357(g) (vesting the Attorney General with power to enter into written
agreements with States authorizing state officials “to perform a function of
an immigration officer in relation to the investigation, apprehension, or
detention of aliens in the United States”). Plaintiffs contend that these
provisions authorizing state enforcement of federal immigration laws under
certain circumstances evince a congressional intent to preempt states from
enacting any laws of their own. Expressio unius est exclusio alterius. So in
plaintiffs’ view, S.B. 4 “creates an unacceptable obstacle to the
accomplishment and execution of the full purposes and objectives of
Congress.” Wyeth, 555 U.S. at 563–64 (quotation omitted).
       If plaintiffs are right, it is difficult to understand why the Supreme
Court in Arizona engaged in a provision-by-provision analysis of Arizona’s
S.B. 1070. If the INA’s state-federal cooperation provisions cited above
preempted States from passing their own immigration statutes, the Supreme
Court could’ve simply said that and been done. The Arizona Court’s analysis




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was much more nuanced, which suggests plaintiffs’ conflict preemption
argument proves too much.
        Moreover, plaintiffs’ expressio unius argument suffers from the
obvious defect that provisions like §§ 1103(a), 1252c, and 1357(g) authorize
state officials to take certain actions as a matter of federal law. They say
nothing at all about whether States can enact and enforce their own state laws.
For example, consider § 1252c, which provides:
        Notwithstanding any other provision of law, to the extent
        permitted by relevant State and local law, State and local law
        enforcement officials are authorized to arrest and detain an
        individual who—
                (1) is an alien illegally present in the United States; and
                (2) has previously been convicted of a felony in the
                United States and deported or left the United States
                after such conviction,
        but only after the State or local law enforcement officials obtain
        appropriate confirmation from the Immigration and
        Naturalization Service of the status of such individual and only
        for such period of time as may be required for the Service to
        take the individual into Federal custody for purposes of
        deporting or removing the alien from the United States.
8 U.S.C. § 1252c(a). That provision “merely creates an additional vehicle for
the enforcement of federal immigration law.” United States v. Vasquez-
Alvarez, 176 F.3d 1294, 1295 (10th Cir. 1999) (emphasis added). 7 That is, a

        _____________________
        7
         That the statute authorizes arrests “to the extent permitted by relevant state and
local law” does not suggest Congress meant States need to enact a state law analog to
§ 1252c to effectuate arrests pursuant to that provision. Rather, that language means only
that a state § 1252c arrest must comply with any generally applicable provisions of state
law governing arrests—e.g., warrantless arrest provisions. See United States v. Di Re, 332




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state official who is arresting an alien under § 1252c(a) is exercising the
federal sovereign’s power, shared under the terms Congress prescribed.
That says nothing about whether Congress wanted, expected, or would be
otherwise bothered by a State’s choice to exercise its own sovereign power
to vest arrest authority in its officials. Far from evincing an intent to preempt
all state laws touching on immigration, the statutory text suggests Congress
intended only ensure that state officials had power to make certain arrests in
reliance on federal law.
        That makes sense. In the absence of a congressional directive to the
contrary, States have inherent authority to make arrests for violations of
federal law. See Arizona, 567 U.S. at 438 (Thomas, J., concurring in part and
dissenting in part) (citing Di Re, 332 U.S. at 589); Warren, supra, 38 Harv.
L. Rev. at 548–96 (collecting examples of State enforcement of federal
criminal law). 8 So for example, absent some federal law prescribing
otherwise, Texas could arrest illegal aliens who cross the border in violation
of 8 U.S.C. § 1325—the provision proscribing crossing the border at some
point other than a lawful port of entry. And it could do so even absent S.B. 4.
        But Congress might reasonably have feared that federal courts would
“misconstrue the provisions of the INA as preempting state authority to

        _____________________
U.S. 581, 589 (1948) (holding that state law determines the validity of a warrantless arrest
for a violation of federal law “in [the] absence of an applicable federal statute”).
        8
          Charles Warren’s impressive article collects examples between the Founding and
the Civil War. He concludes: “Congress, in the first fifty years, left to the State Courts
concurrent jurisdiction with the Federal Courts over certain offenses against the criminal
and penal statutes of the United States, and trial in the State Courts of such violations of
Federal criminal law was regarded by Congress as natural, feasible, and desirable.” Warren,
supra, 38 Harv. L. Rev. at 545. Twenty-three years after Warren published that article,
in 1948, Congress expressly preempted state courts from trying federal crimes. See Act of
June 25, 1948, Pub. L. No. 80-772, 62 Stat. 683, 826 (codified as 18 U.S.C. § 3231). But it
has never preempted state police officers from making arrests.




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arrest” for immigration-related crimes. United States v. Arizona, 641 F.3d
339, 390 (9th Cir. 2011) (Bea, J., dissenting) (citing Off. Legal Couns.,
Non-Preemption, supra, at 11), aff’d in part, rev’d in part, and remanded, 567
U.S. 387 (2012). Section 1252c thus ensures that “state police at least retain[]
the authority to make such arrests of aliens who had previously been
convicted of a felony and had been deported or had left the United States
after such conviction.” Arizona, 641 F.3d at 390 (Bea, J., dissenting) (citing
Off. Legal Couns., Non-Preemption, supra, at 11). That Congress
wanted to ensure state officials could make arrests in reliance on federal law
in certain circumstances does not suggest that Congress wanted to preempt
States from enacting their own laws empowering state officials to make
immigration-related arrests in other circumstances. The United States said
so itself in proceedings before the Tenth Circuit in 1999, and the Tenth
Circuit agreed. See Vasquez-Alvarez, 176 F.3d at 1296. And OLC maintained
that was the correct position in 2002. See Off. Legal Couns., Non-
Preemption, supra, at 11 (“We agree with the Tenth Circuit that section 1252c
has no preemptive effect.”).
       In short, § 1252c exists to ensure that no court will hold federal law
precludes state officials from arresting certain aliens for violating federal law.
And even if the provision stands for something more than that—e.g., that by
specifically vesting state officials with authority to enforce federal
immigration law in some circumstances, Congress meant to preclude those
officials from enforcing federal law in other circumstances—plaintiffs’
contention would not follow. It may be true that state officials cannot enforce
federal immigration laws unless such enforcement is authorized by a federal
statute like § 1252c. But a state official enforcing a state law does not need to
rely on federal law. That means § 1252c simply has nothing to say about the
dispute before us today. Contra ante, at 40–41 (contending § 51.02 “clearly
conflicts” with § 1252c).




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       Section 1357(g) is similarly inapposite. That provision authorizes the
Attorney General to enter into agreements with States to enable state officials
to perform the functions of a federal immigration officer. 8 U.S.C.
§ 1357(g)(1). The subsection also makes clear that Congress did not intend to
preempt states from “cooperat[ing] with the Attorney General in the
identification, apprehension, detention, or removal of aliens not lawfully
present in the United States” in the absence of an agreement. Id.
§ 1357(g)(10). Congress explained that it adopted this provision out of
concern that state-federal cooperation agreements would otherwise have
been precluded by 31 U.S.C. § 1342, which generally bars the United States
from accepting “voluntary services.” See 8 U.S.C. § 1357(g)(1)
(“Notwithstanding section 1342 of Title 31, the Attorney General may enter
into a written agreement with a State . . . .”). Section 1357(g) thus makes clear
that the Federal Government can accept help from States in enforcing the
INA.
       But like § 1252c, § 1357(g) only provides a mechanism to enable state
officials to enforce federal immigration laws. Even accepting, as plaintiffs
contend, that the canon of expressio unius applies, the statute would only
preclude state officials from enforcing federal immigration law in
circumstances not contemplated by § 1357(g). That is, absent an agreement
with the Attorney General, or in a manner that otherwise constitutes
cooperation under § 1357(g), plaintiffs might be right that States cannot
enforce the INA’s federal-law arrest provisions. Section 1357(g) does not
express an intent to preclude States from enacting and enforcing state-law
arrest provisions.
       Arizona is not to the contrary. There, the Court found the INA
conflict-preempted a state-law provision authorizing state officials to make a
warrantless arrest of an alien if the official had probable cause to believe the
alien had “committed any public offense that [made] him removable from



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the United States.” 567 U.S. at 407 (citation and quotation omitted). The
state law thus purported to clothe state officials with authority to effectuate
arrests of aliens who committed offenses that made them deportable as a
matter of federal law. That is, Arizona tried to authorize its officers to
perform the duties of federal immigration officers. Id. at 408.
       But as the Court explained, “[f]ederal law specifies limited
circumstances in which state officers may perform the functions of a[]
[federal] immigration officer”—namely when a State enters into an
agreement with, or otherwise cooperates with, the Attorney General under
§§ 1252c and 1357(g). Ibid. Of course, a state official who effectuates an arrest
pursuant to a provision in state law is not performing the functions of a
federal immigration officer. He is performing the function of a state police
officer. And no provision of federal law suggests Congress intended to
preclude that. Contra ante, at 39–40 (contending § 51.02 conflicts with
§ 1357(g)).
       But even if all that is wrong—even if § 51.02 is conflict preempted to
the extent that it clothes state officials with authority to effectuate arrests that
are not affirmatively authorized by federal law—plaintiffs still could not
demonstrate that all applications of § 51.02 are preempted. That is because
Arizona suggests federal approval transforms an otherwise invalid arrest into
an arrest authorized by the cooperation provision of § 1357(g)(10). See 567
U.S. at 410.
       So imagine Texas discovers that an alien has crossed the border at a
location other than a lawful port of entry, in violation of both 8 U.S.C.
§ 1325(a) and Texas Penal Code § 51.02(a). Texas then notifies the Federal
Government that it plans to arrest and prosecute the alien for violating
§ 51.02(a). It also offers to give federal officials access to Texas facilities to
visit the alien. See Arizona, 567 U.S. at 410 (allowing “federal immigration




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officials to gain access to detainees held in state facilities” constitutes
evidence of cooperation). The Federal Government consents, so Texas
proceeds.
       If nothing else, that kind of arrest is surely authorized by
§ 1357(g)(10). That means there is at least one valid application of § 51.02(a).
And that one valid application of § 51.02(a) is enough to defeat this facial
challenge. See Wash. State Grange, 552 U.S. at 449. Thus, even if plaintiffs
are correct that Texas may not enforce S.B. 4 unless the enforcement is
expressly authorized by federal law, the district court’s injunction should be
stayed and likely vacated.
                                      ii.
       The majority does not meaningfully refute any of this. It contends
§§ 1252c and 1357(g) conflict preempt § 51.02, ante, at 39–41, but it ignores
that DOJ previously said § 1252c has no preemptive effect, see supra, at 100–
01101. Section 1252c has not changed—only DOJ’s interpretation of it has.
The same with § 1357(g). See supra, at 102. So in the majority’s view, § 51.02
is conflict preempted because it might interfere with the executive branch’s
discretion to enforce § 1325(a) or its ever-evolving understanding of § 1252c
and § 1357(g). Ante, at 32–33, 39–41. But that does not matter because “the
possibility that federal enforcement priorities might be upset is not enough to
provide a basis for preemption. The Supremacy Clause gives priority to ‘the
Laws of the United States,’ not the criminal law enforcement priorities or
preferences of federal officers.” Garcia, 140 S. Ct. at 807 (citation omitted).
       The rest of the majority’s conflict preemption argument is directed at
S.B. 4’s removal provisions and its non-abatement provision. The majority’s
argument goes like this: S.B. 4 directs state courts to enter orders of removal
against aliens who are prosecuted for crossing the border unlawfully. And
S.B. 4 has a non-abatement provision, which means that a state court may be




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compelled to enter an order of removal against an alien without allowing him
to vindicate his rights to seek asylum or CAT relief or some other right to
remain in the United States under federal law. Ante, at 36.
       Even assuming the majority is correct that S.B. 4’s removal and non-
abatement provisions are conflict preempted, those provisions are severable.
Texas courts might allow prosecutions for § 51.02 violations but decline to
enter orders of removal. In that case, an alien who crosses the border in
violation of § 51.02 would be arrested, prosecuted, imprisoned for six
months, and released. The alien’s imprisonment would not affect his ability
to pursue relief from removal because the alien could pursue that relief while
he served his § 51.02 sentence. In fact, Texas has affirmatively represented
that it will not interfere with an alien’s effort to obtain such relief. See
ROA.311–12 (explaining the Texas Department of Criminal Justice “will not
interfere with confined and incarcerated aliens’ ability to fully participate in
federal immigration proceedings or state or federal court hearings”).
       Thus, the majority’s conflict preemption argument could be right only
if federal statutes somehow preclude Texas from temporarily imprisoning
aliens while they pursue federal relief from removal. But that could not
possibly be inconsistent with federal statutes because Congress has
prescribed that aliens “shall” be detained while they pursue such relief.
8 U.S.C. § 1225(b)(1)(B)(iii)(IV). So the majority’s conflict preemption
argument is simply wrong.
                                       3.
       Because the district court enjoined S.B. 4 in full, Texas can show the
injunction is overbroad (and must be vacated) simply by showing that § 51.02
is not preempted. S.B. 4’s other provisions—including those governing
removal—are irrelevant at this juncture.




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        But in any event, Texas is likely to succeed in challenging the district
court’s facial injunction against the statute’s removal provisions. That is
because (a) there are at least some instances in which S.B. 4’s removal
provisions could be constitutionally applied. And because (b) the lingering
uncertainty with respect to those provisions invalidates the district court’s
facial, pre-enforcement injunction.
                                           a.
        There are at least some potentially constitutional applications of the
removal provision that the district court never considered.
        Take for example the common situation of an alien who is already
subject to a final order of removal under federal immigration law and not in
the custody of the federal government. 9 The Federal Government says that
in FY2023 there were 6,199,629 aliens “released from agency custody”
within the United States. U.S. Immigration and Customs
Enforcement,             Fiscal    Year     2023     ICE      Annual      Report,     23
https://perma.cc/ZX24-GUEE. Roughly 20% off these “non-detained”
aliens (1,292,830) had “completed the legal process and ha[d] been ordered
removed.” Ibid.
        So what of the 1,292,830 aliens who have been ordered removed by
the federal government after having fully “completed” their “legal
process?” Ibid. If one of those aliens otherwise violates the provisions of S.B.
4, could Texas not constitutionally facilitate their removal?
        Or consider the following hypothetical: A Mexican citizen unlawfully
enters Texas in violation of Texas Penal Code § 51.02(a) and

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        9
            For reasons discussed in Part II.B.2.a, supra, Congress has not preempted the
field of alien entry and removal.




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8 U.S.C. § 1325(a). That individual is detained by federal immigration
officials. The Department of Homeland Security serves the alien with a
Notice to Appear and charges him with removability. See 8 U.S.C. § 1227.
DHS does not detain the alien. See id. § 1226. The alien fails to appear, an
immigration judge orders him removed, and the Federal Government enters
a final order of removal in absentia. See id. § 1229a. 10 The Federal
Government never removes the alien, notwithstanding the final order of
removal. Cf. Djie v. Garland, 39 F.4th 280, 281 (5th Cir. 2022) (DHS failed
to enforce final removal order for 20 years).
        After the alien’s removal order becomes final, he gets pulled over by
Texas State Troopers for driving while intoxicated. While the alien is in
custody for the DWI charge, the State discovers the final order of removal
and the circumstances of the alien’s entry into Texas, which violated both
Texas Penal Code § 51.02(a) and 8 U.S.C. § 1325(a). With the benefit of able
counsel, the alien tells state officials that he wants to satisfy his federal
removal order and obviate state charges under S.B. 4 by voluntarily agreeing
to return to Mexico. See 8 U.S.C. § 1231(b)(2)(A); Tex. Code Crim.
Proc. art. 5B.002(c)(1) (agreed removal). Could the State remove the alien
pursuant to S.B. 4? What if Texas told the Federal Government about its
plans, and the Federal Government did not object? What if the Federal
Government affirmatively approved? See 8 U.S.C. § 1357(g)(10)(B). What if
the alien voluntarily waives any rights he might have to challenge the final

        _____________________
        10
            Plaintiffs incorrectly contend that state removal proceedings conflict with
§ 1229a. That provision makes § 1229a proceedings the exclusive means for removing
aliens who have been admitted. See id. § 1229a(3) (“[A] proceeding under this section shall
be the sole and exclusive procedure for determining whether an alien may be admitted to
the United States or, if the alien has been so admitted, removed from the United States.”
(emphasis added)). S.B. 4 applies to aliens who have not been admitted to the United
States, so § 1229a is irrelevant to the preemption analysis.




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order of removal or to seek relief under the INA’s asylum provision, the
Convention Against Torture, &c.? It is not crazy to think that the Federal
Government might approve of removing one or more of these aliens because,
after all, DHS has already ordered this alien removed—just as it has with
more than one million other aliens who are currently in the United States
notwithstanding their final orders of removal. The district court did not even
consider these questions.
                                      b.
       It is also unclear to me how S.B. 4’s removal provisions would operate
in practice. For example, the Federal Government argues that aliens could be
removed under S.B. 4 in violation of their federal rights under the
Convention Against Torture or the INA’s statutory protections for asylees.
But Texas assures us its state courts would interpret the statute to avoid any
conflict with federal law:
       [T]o the extent SB4’s text omits other defenses available under
       federal law, it does not preclude them. Texas “courts must
       determine whether federal law prevents enforcement of a
       conflicting state law,” In re Academy, Ltd., 625 S.W.3d 19, 35
       n.19 (Tex. 2021)—and those courts will construe SB4 to be
       consistent with federal law to the extent possible. See Stockton
       v. Offenbach, 336 S.W.3d 610, 618 (Tex. 2011); Lebo v. State, 90
       S.W.3d 324, 326 (Tex. Crim. App. 2002); Toledo v. State, 519
       S.W.3d 273, 279 (Tex. App.–Houston [1st Dist.] 2017) (“We
       presume that the legislature intended to enact a statute that
       comports with the Texas and federal constitutions.”) (citing
       Tex. Gov’t Code § 311.021(1)). Aliens may raise federal
       preemption as a defense in Texas courts under SB4. See Sabine
       Consol., Inc. v. State, 806 S.W.2d 553, 554–55 (Tex. Crim. App.
       1991). Indeed, facial and as-applied constitutional challenges
       are cognizable in Texas courts on pretrial habeas review. Ex
       parte Perry, 483 S.W.3d 884, 896 (Tex. Crim. App. 2016).




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ROA.227. The district court was apparently confident that no Texas court
could do that. ROA.533. But I do not see how the district court could be so
sure. And more to the point, our federal system requires us to presume that
state courts will in good faith at least try to honor federal law. See Hart, supra,
at 1363–64; Robb v. Connolly, 111 U.S. 624, 637 (1884) (emphasizing “the
principle that state courts have the solemn responsibility, equally with the
federal courts to guard, enforce, and protect every right granted or secured by
the constitution of the United States . . . .” (quotation omitted)). I am aware
of no authority that authorizes a federal injunction based on the assumption
that state courts will simply ignore federal law.
       Additional questions abound. For example, at oral argument we
discussed with counsel what would happen if Texas took an alien to the
border for removal and the Federal Government choose to re-release him
into Texas. We also discussed whether S.B. 4 applies to an alien who is
arrested in Texas but who unlawfully entered the United States by crossing
Mexico’s border with Arizona. No one knows the answers to these questions,
of course, because the law has never been enforced against anyone.
       In the face of uncertainty over whether state law can accommodate
federal rights, “abstention may be required ‘in order to avoid unnecessary
friction in federal-state relations, interference with important state functions,
tentative decisions on questions of state law, and premature constitutional
adjudication.’” Babbitt v. United Farm Workers Nat. Union, 442 U.S. 289,
306 (1979) (quoting Harman v. Forssenius, 380 U.S. 528, 534 (1965)); Railroad
Comm’n of Tex. v. Pullman Co., 312 U.S. 496, 501 (1941) (“[T]he federal
courts, exercising a wise discretion, restrain their authority because of
scrupulous regard for the rightful independence of the state governments and
the smooth working of the federal judiciary.”); see also Roy v. City of Monroe,




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950 F.3d 245, 252 (5th Cir. 2020). 11 We cannot simply assume the worst and
enjoin the State’s law on the assumption that the State’s officials and courts
will ignore federal law and the Supremacy Clause.
                                     *        *         *
        Pre-enforcement facial challenges to state laws pose unique challenges
to our federal system. That is because they “threaten to short circuit the
democratic process by preventing laws embodying the will of the people from
being implemented in a manner consistent with the Constitution.”
NetChoice, LLC v. Paxton, 49 F.4th 439, 449 (5th Cir. 2022) (quoting
Washington State Grange, 552 U.S. at 451). Thus, the burden to prevail on a
facial challenge is rightly high. See Salerno, 481 U.S. at 745 (“A facial
challenge to a legislative Act is, of course, the most difficult challenge to
mount successfully[.]”). In my view, Texas is likely to prevail in showing the
district court’s preemption holdings and facial relief are overbroad.




        _____________________
        11
         That the United State is a party in this suit does not alter Pullman’s applicability.
As the Supreme Court has explained:
        [T]he fact that the United States is not a party to the state court litigation
        does not mean that the federal court should initiate interpretation of a state
        statute. In fact, where questions of constitutionality are involved—and the
        Government contends that an application of the state statute adverse to its
        interests would be unconstitutional—our rule has been precisely the
        opposite: ‘as questions of federal constitutional power have become more
        and more intertwined with preliminary doubts about local law, we have
        insisted that federal courts do not decide questions of constitutionality on
        the basis of preliminary guesses regarding local law.
Leiter Mins., Inc. v. United States, 352 U.S. 220, 228–29 (1957); see also Federal
Practice and Procedure, supra, at § 4242 (“[A]bstention . . . may be ordered, in a
Pullman-type situation, even in a suit brought by the United States.”).




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                                       C.
       Next, the “dormant” Commerce Clause. The Justice Department
argues S.B. 4 violates that clause by criminalizing the illegal movement of
aliens across Texas’s border with Mexico. Yet again, this is a facial challenge
to all of S.B. 4, so Texas need only demonstrate that some provisions of the
bill comport with the dormant Commerce Clause. In my view, Texas is likely
to prevail on the merits of this point. That is so for at least two reasons.
       First, § 51.02 does not promote economic protectionism. As the
Supreme Court has explained, “the dormant Commerce Clause’s
fundamental objective [is] preserving a national market for competition
undisturbed by preferential advantages conferred by a State upon its
residents or resident competitors.” Gen. Motors Corp. v. Tracy, 519 U.S. 278,
299 (1997); see Nat’l Pork Producers Council v. Ross, 598 U.S. 356, 369–70
(2023) (discussing cases). Section 51.02 is not about economic
protectionism; it is about unlawful immigration. Moreover, § 51.02 does not
even limit immigration into Texas; it only mirrors the federal restrictions on
where aliens enter the State. So § 51.02 is not a discriminatory provision at
all.
       Second, to the extent that movement of persons across an
international border is commerce, § 51.02 applies only to the movement-cum-
commerce that Congress has affirmatively prohibited. See 8 U.S.C. § 1325(a).
That means the same Federal Government that is trying to enjoin § 51.02 has
banned the very “commerce” Texas purportedly banned. And there is no
basis for concluding that the dormant Foreign Commerce Clause applies to
commerce that violates federal law.
                                       D.
       The majority closes with two confounding claims. First, it contends
this case is not based on hypotheticals because Texas assures us it stands




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ready to “commence arrests, removals, and prosecutions upon the new laws
taking effect.” Ante, at 48. But whether Texas plans to enforce S.B. 4 is
beside the point. The majority does not know—because it could not possibly
know—whom Texas will arrest under S.B. 4, or what kind of federal law
conflicts that prosecution might present, or how state courts might resolve
those conflicts. All the majority knows is that the Federal Government has
lots of power over immigration. But without answers to the questions posed
above, it is unclear how the majority can say S.B. 4 has no constitutional
applications. And the Texas Legislature has dictated that any constitutional
application of any provision of S.B. 4 should be given effect. And if there is a
single constitutional application of a single provision of S.B. 4, the people of
Texas are entitled to it. The majority’s readiness to invalidate S.B. 4—even
before anyone can know how it would actually work or what actual cases or
controversies it might present—is thus exceedingly troubling.
       Second, the majority argues there is “no authority” for the
proposition that state courts should be trusted to sort the constitutional
applications of S.B. 4 from the potentially unconstitutional ones. Ante, at 48.
But there is a veritable mountain of authority for that proposition. For
example, the whole edifice of habeas procedural default doctrine rests on the
notion that it would be “unseem[ly]” for federal district courts to invalidate
convictions without giving state courts the first opportunity to cure
constitutional defects. Boerckel, 526 U.S. at 845; see ibid. (“[T]he exhaustion
doctrine is designed to give the state courts a full and fair opportunity to
resolve federal constitutional claims before those claims are presented to the
federal courts . . . .”). Parties must generally exhaust legislative and
administrative remedies afforded by state law before seeking judicial review
in federal court. Prentis v. Atlantic Coast Line, 211 U.S. 210 (1908); Porter v.
Investors Syndicate, 286 U.S. 461 (1932). And the Supreme Court has created
abstention doctrines precisely for the purpose of allowing state courts to




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interpret state law before federal courts enter the fray. See supra, at 53–55,
108–10 & n.11.
       In fact, the majority gets things exactly backwards. The majority is
evidently troubled by the idea that federal courts might sometimes have to
wait for state courts to apply the federal Constitution. The Framers were
more troubled by the idea that federal courts might overzealously interfere
with state affairs. That is why the Framers’ Constitution did not mandate the
creation of inferior federal courts at all. See Michael G. Collins, Article III
Cases, State Court Duties, and the Madisonian Compromise, 1995 Wis. L.
Rev. 39, 42 (1995). If federal courts need not exist, state courts must be
constitutionally competent to apply federal law and to honor the Supremacy
Clause. In fact, the Supremacy Clause itself contemplates this. See U.S.
Const. art. IV, cl. 2 (“This Constitution, and the Laws of the United States
which shall be made in Pursuance thereof; and all Treaties made, or which
shall be made, under the Authority of the United States, shall be the supreme
Law of the Land; and the Judges in every State shall be bound thereby, any Thing
in the Constitution or Laws of any State to the Contrary notwithstanding.”
(emphasis added)). The majority would deny Texas courts that opportunity,
at least so far as S.B. 4 is concerned. That is hard to reconcile with our
federalist system.
                                *        *         *
       In sum, to prevail on the merits, plaintiffs must demonstrate that
every conceivable application of every provision of S.B. 4 is unlawful. That
means to carry its burden on the first Nken factor, Texas must conceive of
only one valid application of one provision of S.B. 4. At the very least, Texas
has demonstrated a likelihood that § 51.02 has valid applications, so Texas
has demonstrated a likelihood of success on the merits.




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                                      III.
       Next, Texas must demonstrate that it is irreparably injured by the
district court’s preliminary injunction. Nken, 556 U.S. at 426. This showing
is so straightforward that it does not merit much explanation.
       “When a ‘State is seeking to stay a preliminary injunction, it’s
generally enough to say’ that ‘[a]ny time a State is enjoined by a court from
effectuating statutes enacted by representatives of its people, it suffers a form
of irreparable injury.’” Vote.org v. Callanen, 39 F.4th 297, 308 (5th Cir. 2022)
(quoting Valentine v. Collier, 956 F.3d 797, 803 (5th Cir. 2020)); see also
Maryland v. King, 567 U.S. 1301, 1301 (2012) (Roberts, C.J., in chambers)
(same); New Motor Vehicle Bd. of Cal. v. Orrin W. Fox Co., 434 U.S. 1345,
(1977) (Rehnquist, J., in chambers) (same). The State incurs that injury
because “[t]he district court’s injunction prevents [it] from effectuating the
Legislature’s choice . . . .” Tex. Democratic Party v. Abbott, 961 F.3d 389, 411
(5th Cir. 2020) (quoting Valentine, 956 F.3d at 803). Thus, the injunction
alone satisfies the irreparable injury requirement.
       The State’s irreparable injuries are all the more serious where the
enjoined statute concerns the State’s resources, the protection of the State’s
citizens, or a core area of state interest. Cf. Valentine, 956 F.3d at 803
(discussing state interest in the administration of prisons); Vote.org, 39 F.4th
at 308 (discussing state interest in preventing voter fraud). In this case, the
district court enjoined a provision of Texas criminal law. Few state activities
are “more intricately bound up with state laws, regulations, and procedures”
than the enforcement of criminal law. Valentine, 956 F.3d at 803 (discussing
prisons); see also Juidice v. Vail, 430 U.S. 327, 335 (1977) (implying that “the
State’s interest in the enforcement of its criminal laws” is among the most
important state interests). So Texas has shown irreparable injury arising from
the injunction.




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                                     IV.
       Lastly, we must “assess[] the harm to the opposing party and weigh[]
the public interest.” Nken, 556 U.S. at 435. The Federal Government
opposes the motion for stay, so these factors merge, and we simply consider
whether the stay is in the public interest. See id. at 435–36. Here, the public
interest weighs in favor of a stay. I first (A) explain why. Then I (B) explain
why the Federal Government’s counterarguments are unpersuasive.
                                      A.
       In my view, a stay would promote the public interest for three reasons.
       First, it appears uncontroverted on the record before us that
enforcement of S.B. 4 will decrease illegal border crossings and associated
harms like drug and human trafficking. That decrease is obviously in the
public interest, especially since the influx of illegal immigrants affects many
more States than just Texas. See, e.g., U.S. House Homeland
Security Committee, “Every State is Now a Border State”: House
Homeland Security Committee Hears Testimony from Colleagues on Impacts of
the Border Crisis (Dec. 7, 2023), https://perma.cc/HTS5-BP7U.
       Second, a stay would promote federalism by honoring the State
Legislature’s severability clause. Cf. Freedom From Religion Found., Inc. v.
Abbott, 58 F.4th 824, 836 (5th Cir. 2023) (discussing the relevance of
federalism concerns to the public interest analysis). As noted above, S.B. 4
contains an extraordinarily broad severability clause. That clause makes
severable “every provision, section, subsection, sentence, clause, phrase, or
word in th[e] Act,” and also “every application of the provisions in th[e] Act
to every person, group of persons, or circumstances.” S.B. 4 § 8. The force
of that clause is a state law question. See Jane L., 518 U.S. at 138
(“Severability is of course a matter of state law.”); Dorchy v. Kansas, 264
U.S. 286, 290 (1924) (same). And Texas law accords nearly dispositive




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weight to a severability clause. See, e.g., Builder Recovery Servs., LLC v. Town
of Westlake, 650 S.W.3d 499, 507 (Tex. 2022).
       The district court should have applied that clause, and the court’s
failure to do so undermines if not altogether invalidates its facial injunction.
See, e.g., Brockett v. Spokane Arcades, Inc., 472 U.S. 491, 501 & n.14 (1985)
(enforcing an application-severability requirement in a statute that contained
an overbroad definition of prurience, and holding that “facial invalidation of
the statute was . . . improvident”); see also Hart & Wechsler, supra, at
170 (“[T]he premise that statutes are typically ‘separable’ or ‘severable,’
and that invalid applications can somehow be severed from valid applications
without invalidating the statute as a whole . . . is deeply rooted in American
constitutional law.”).
       Yet the district court chose to ignore the severability clause with little
explanation. See ROA.587 n.57. That cannot be squared with the limited
powers afforded to federal judges by our Constitution. As Justice Alito has
explained:
       Under the Supremacy Clause, federal courts may strike down
       state laws that violate the Constitution or conflict with federal
       statutes, Art. VI, cl. 2, but in exercising this power, federal
       courts must take great care. The power to invalidate a state law
       implicates sensitive federal-state relations. Federal courts have
       no authority to carpet-bomb state laws, knocking out
       provisions that are perfectly consistent with federal law, just
       because it would be too much bother to separate them from
       unconstitutional provisions.
See Whole Woman’s Health v. Hellerstedt, 579 U.S. 582, 635 (2016) (Alito, J.,
dissenting); see also NetChoice, 49 F.4th at 449 (“The respect owed to a
sovereign State thus demands that we look particularly askance at a litigant
who wants unelected federal judges to countermand the State’s
democratically accountable policymakers.”). Given that the district court




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made no effort to narrowly tailor its interference with Texas state law, a stay
would protect the public interest in federalism.
       Third, a stay would promote the public interest by ensuing the district
court’s injunction comports with traditional equitable principles.
Nationwide injunctions have received understandable criticism for many
reasons, among them that they extend equitable relief to parties not before
the court and empower one district judge to alter the legal status quo far
outside the boundaries of his or her district or division. See, e.g., Trump v.
Hawaii, 138 S. Ct. 2392, 2424–29 (2018) (Thomas J., concurring); Dep’t of
Homeland Sec. v. New York, 140 S. Ct. 599, 599–601, (2020) (mem.)
(Gorsuch, J., concurring); Arizona v. Biden, 31 F.4th 469, 483 (6th Cir. 2022)
(Sutton, C.J., concurring) (“A valid Article III remedy ‘operate[s] with
respect to specific parties,’ not with respect to a law ‘in the abstract.’”)
(quoting California v. Texas, 141 S. Ct. 2104, 2115 (2021)); see also Samuel L.
Bray, Multiple Chancellors: Reforming the National Injunction, 131 Harv. L.
Rev. 417, 457–82 (2017).
       It is unclear to me how or why the district court’s injunction in this
case is meaningfully different. It applies far outside the Western District of
Texas. And it extends relief to countless aliens—not a single one of whom is
before the court. A stay would promote the public interest by limiting the
universal effect of the district court’s injunction.
                                       B.
       In response, the Federal Government argues that enforcement of S.B.
4 through removal of non-Mexican nationals into Mexico will impede our
Nation’s diplomatic relationships with Mexico and other Central American
nations. Of course, every judge must be sensitive to the Government’s
concerns about international affairs. Cf. Crosby v. Nat’l Foreign Trade
Council, 530 U.S. 363, 385 (2000).




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       But those concerns do not change the public interest for three reasons.
First, any concern that Mexico might have about removals could be remedied
by an injunction against S.B. 4’s removal provisions. Those concerns do not
justify enjoining the statute’s arrest provisions, as the district court did. The
State arrests aliens every day for violations of other, non-immigration-related
provisions of the Texas Penal Code. And apparently none of those arrests
trigger Mexico’s objection.
       Second, we have no reason to believe that Texas’s state courts would
be deaf to the Federal Government’s international-affairs concerns. Like
federal courts, state courts are bound to apply the federal Constitution. See
U.S. Const. art. VI, cl. 2 (“This Constitution, and the Laws of the United
States which shall be made in Pursuance thereof; and all Treaties made, or
which shall be made, under the Authority of the United States, shall be the
supreme Law of the Land; and the Judges in every State shall be bound
thereby, any Thing in the Constitution or Laws of any State to the Contrary
notwithstanding.” (emphasis added)). And Texas’s state courts could hold
S.B. 4’s removal provisions are unconstitutional in as-applied challenges that
implicate the Federal Government’s foreign-affairs concerns.
       Third, allowing S.B. 4 to take effect would not risk our obligations
under the Convention Against Torture. Contra ante, at 46. That is because
we could allow S.B. 4’s arrest provisions to go into effect without allowing a
single alien (let alone a CAT-protected alien) to be removed under the state
law’s removal provisions. Or Texas’s courts could allow aliens arrested
under S.B. 4 to vindicate their CAT claims, as the State has assured it us it
would do. The majority’s invocation of the CAT is just another manifestation
of its refusal to believe that Texas courts are willing or capable of faithfully
applying federal law.




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       In contrast, if we leave the district court’s injunction in effect, Texas
will have no other avenue to vindicate its interest in interpreting and applying
its laws. That is because a facial, pre-enforcement injunction will keep S.B. 4
on ice forever. So a real S.B. 4 case will never arise, and Texas’s sovereign
interests will be forever defeated. Thus, the public interest factor weighs in
favor of a stay.
                                *        *         *
       Many people will be understandably frustrated by today’s ruling. A
high-profile state statute—duly enacted by the people’s representatives to
address a problem that Texans personally experience—likely will never go
into effect. Why? Because a federal district judge enjoined the law in its
entirety before anyone ever used it to do anything. And because today’s
majority opinion does not let state officials and state judges attempt to
implement the state law passed by the state legislature and signed by the
Texas Governor.
       Given the stakes for federalism, federal courts doctrine, immigration,
and the ongoing border “crisis,” 12 you might reasonably expect the majority
opinion to rest on a rock-solid legal foundation. But sadly, it rests on the sands
of implication and inference:

   • DOJ has no statutory right to sue Texas. DOJ instead rests on a
     nonstatutory right to sue in equity, based on an 1895 case involving
     public nuisance and the U.S. mail. From that precedent, the majority
     infers that DOJ has a freestanding constitutional right to sue States
     whenever Justice officials think state law conflicts with federal law.

   • The non-profit plaintiffs have no statutory right to sue Texas. The
     non-profits instead rest on a nonstatutory right to sue in equity, based
     _____________________
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           President Biden’s term. See Statement from President Joe Biden, supra,
https://perma.cc/K9S8-TLZV.




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       on a 1908 case involving a railroad shareholder and the Attorney
       General of Minnesota. From that precedent, the majority infers that
       non-profits with no direct stake in this case and who can never be
       subjected to S.B. 4 nevertheless can sue the State to set aside the law.

   • We have before us no plaintiff who ever has been injured by S.B. 4 in
     any way. Nor do we have before us any plaintiff who ever could be
     subjected to S.B. 4 in the future. See Re, supra, 102 Geo. L.J. at
     1223–25. Nor do we have before us any defendant who ever did
     anything unconstitutional. That should be enough to vacate the
     preliminary injunction because it has been true since the Founding
     that a federal court cannot opine on legal questions in the absence of a
     concrete case or controversy. See Correspondence of the Justices, in
     Hart & Wechsler, supra, at 50–52. The majority nonetheless
     infers that if the law went into effect, someone would be injured by the
     law eventually—so we have power today to prevent those future cases
     from ever arising.

   • The majority cannot point to any provision of the statutes passed by
     Congress that field preempts Texas’s law. It instead infers
     congressional intent from the overall gestalt of the INA.

   • The majority cannot point to anything in Supreme Court precedent
     that requires us to hold Texas is field preempted from passing
     immigration-related laws. It instead looks at Supreme Court cases like
     Hines and Arizona—both of which involved registration rules
     applicable to aliens who had been or could be admitted to the United
     States—and infers field preemption of a Texas law that says nothing
     about registration and that applies only to aliens who are inadmissible.

   • Then the majority piles all of those inferences together to imply a
     federal judicial power to issue facial, pre-enforcement injunctions
     against a state statute that by its terms does not apply to the plaintiffs.
     No matter that no court may “lawfully enjoin the world at large” or
     enjoin “laws themselves.” Whole Women’s Health, 595 U.S. at 44.
       Beyond these inferences, the majority opinion offers the State of
Texas two bitter ironies. First, the majority does not dispute, nor could it,




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that DHS has violated the INA’s commands and abandoned large swaths of
the purportedly occupied field. See ante, at 21–22. And that means the State
is forever helpless: Texas can do nothing because Congress apparently did
everything, yet federal non-enforcement means Congress’s everything is
nothing. And second, while the dispute before us is entirely hypothetical, the
consequences of today’s decision will be very real.
       I respectfully dissent.




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                  United States Court of Appeals
                                 FIFTH CIRCUIT
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                             March 26, 2024
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 24-50149    USA v. State of Texas
                      USDC No. 1:24-CV-8
                      USDC No. 1:23-CV-1537

Enclosed is the opinion entered in the case captioned above.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk

                                  By: _________________________
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Mr. Coy Allen Westbrook
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